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         IN THE UNITED STATES DISTRICT COURT
       FOR THE EASTERN DISTRICT OF PENNSYLVANIA



                Case No.: _____________________



                        JOSEPH RIAD
                             AND
                    RIAD HOLDINGS, INC.
                                      Plaintiffs,

                             – v. –
                  WELLS FARGO BANK, N.A.,

                                          Defendant.




         COMPLAINT AND JURY DEMAND, 12 JURORS


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                                      COMPLAINT

The Plaintiffs, Joseph Edward Riad (“Riad”) and Riad Holdings (doing business as Riad
Holdings, Riad Trust & Holdings and/or Riad Holdings Inc. (“Riad Holdings”), by and
through their attorneys, Rector Law, hereby file this Complaint and in support thereof aver
as follows:

                                    INTRODUCTION


1.     This is an action against Defendant Wells Fargo Bank, N.A. (“Wells Fargo”)
       seeking damages and such other relief the Court deems just or proper.

2.     Plaintiff Riad and Plaintiff Riad Holdings each allege, as set forth herein or that
       may otherwise be proved by evidence at trial:

       (a)    Breach of contract by Defendant Wells Fargo;

       (b)    Unjust Enrichment by Defendant Wells Fargo (as an alternative to breach
              of contract);

       (c)    Conversion by Defendant Wells Fargo (as an alternative to breach of
              contract and/or unjust enrichment);

       (d)    Negligence of Defendant Wells Fargo under Respondeat Superior;

       (e)    Negligent Hiring and/or Supervision by Defendant Wells Fargo; and

       (f)    Consumer Fraud by Defendant Wells Fargo,

       in connection with the following:

2.1           Defendant Wells Fargo’s failure to credit an account held by Defendant
              Wells Fargo in the joint names of Plaintiff Riad and Plaintiff Riad Holdings
              (the “Joint Account”) and/or an account held by Defendant Wells Fargo in
              the joint names of Plaintiff Riad and Michelle Schepperd (“Schepperd”), the


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          former common law partner and mother of a daughter of Plaintiff Riad (the
          “Riad Schepperd Account”) and/or such other accounts opened and/or
          closed and/or held for the benefit of Plaintiff Riad and/or Plaintiff Riad
          Holdings, directly or indirectly, with funds deposited and used to purchase
          five (5) cashier’s checks identified herein and representing the funds
          comprising the four (4) Dollar amounts set forth in the Original Complaint.

2.2       Defendant Wells Fargo’s dealing in funds from the Joint Account and/or the
          Riad Schepperd Account and/or such other accounts opened and/or closed
          and/or held for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings,
          directly or indirectly:

          (a)    Without Riad’s knowledge, consent or bona fide signature on any of
                 the respective Wire Transfer of Funds Request forms; and/or

          (b)    Pursuant to improper conduct associated therewith conducted by
                 Defendant Wells Fargo, by and/or through an employee or
                 employees thereof acting as authorized agents of Defendant Wells
                 Fargo at the time.

2.3       Defendant Wells Fargo’s failure to return fees incorrectly and/or improperly
          deducted from accounts held by Defendant Wells Fargo for the benefit of
          Plaintiff Riad and/or Riad Holdings, directly or indirectly, arising from
          Defendant Wells Fargo’s improper withdrawal, transfer and/or other
          incorrect, improper or fraudulent dealing in such funds.

2.4       Defendant Wells Fargo’s failure to credit interest otherwise due and payable
          by Defendant Wells Fargo to Plaintiff Riad and/or Plaintiff Riad Holdings in
          respect of funds in accounts held by Defendant Wells Fargo for the benefit
          of Plaintiff Riad and/or Riad Holdings, directly or indirectly, due to Defendant
          Wells Fargo’s improper withdrawal, transfer and/or other incorrect, improper
          or fraudulent dealing in such funds.




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2.5         Defendant Wells Fargo’s opening and closing of accounts held by
            Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Riad Holdings
            without the knowledge, consent or authority of Plaintiff Riad and/or Riad
            Holdings and concurrent improper withholding, withdrawal, transfer and/or
            other incorrect, improper or fraudulent dealing in funds of Plaintiff Riad
            and/or Plaintiff Riad Holdings associated therewith to the prejudice and loss
            of Plaintiff Riad and/or Plaintiff Riad Holdings.

2.6         Such other conduct by Defendant Wells Fargo, by and/or through an
            employee or employees thereof, involving incorrect and/or improper and/or
            fraudulent dealing in respect of:

            (a)      Accounts held by Defendant Wells Fargo for the benefit of Plaintiff
                     Riad and/or Riad Holdings; and

            (b)      Funds held by Defendant Wells Fargo for the benefit of Plaintiff Riad
                     and/or Riad Holdings; and/or

            (c)      Instruments issued and/or held by Defendant Wells Fargo related to
                     funds held by Defendant Wells Fargo for the benefit of Plaintiff Riad
                     and/or Riad Holdings,

            without the knowledge, consent or authority of Plaintiff Riad and/or Riad
            Holdings.

3.    Plaintiff Riad and Plaintiff Riad Holdings request a judgment against Defendant
      Wells Fargo Bank for Counts 1 through 6 for those damages alleged in Counts 1
      through 6 as set forth herein as well as treble and punitive damages if available
      under applicable law and any and all other relief as this Honorable Court may deem
      appropriate.




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                                      THE PARTIES

4.    Plaintiff Riad is an adult individual with a residence in Chester County,
      Pennsylvania.

5.    At all relevant times to this Complaint:

5.1            Plaintiff Riad Holdings was a sole proprietorship wholly owned by Plaintiff
               Riad.

5.2            Plaintiff Riad Holdings, Inc. was incorporated in 2012 as a Delaware
               corporation solely owned by Plaintiff Riad.

6.    At all times mentioned in this Complaint, each Plaintiff was a customer of
      Defendant Wells Fargo and maintained bank account(s) with Defendant Wells
      Fargo.

7.    Defendant Wells Fargo is, and at all relevant times was:

7.1            A national banking association established in the State of South Dakota,
               having its principal place of business in the City and County of San
               Francisco and in the State of California.

7.2            Defendant Wells Fargo is a citizen of the State of South Dakota.

8.    Defendant Wells Fargo is a subsidiary of Wells Fargo & Company (“WFC”).

8.1            WFC is a public company listed on the New York Stock Exchange (“NYSE”
               under the ticker symbol ‘WFC’).

8.2            On 31 December 2008, Wachovia Corporation (“Wachovia”) merged with
               WFC (“Wells Fargo-Wachovia Merger”) with WFC as the continuing entity.

8.3            Prior to the Wachovia-Wells Fargo Merger, Defendant Wells Fargo’s
               Kennett Square Branch was a Wachovia branch.


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8.4                Starting in 2009, the Wachovia brand was absorbed into Defendant Wells
                   Fargo’s brand in a process that lasted approximately three (3) years.

8.5                Defendant Wells Fargo continued to use the Wachovia brand until the
                   Wachovia brand was retired by Defendant Wells Fargo and/or WFC on or
                   about 15 October 2011.

9.        Since all relevant acts occurred after the Wells Fargo-Wachovia Merger, any action
          taken under the Wachovia brand name was action taken by Wells Fargo. 1

10.       Unless otherwise specifically stated, all acts of the employees of Defendant Wells
          Fargo occurred at Defendant Wells Fargo’s branch located at 400 Scarlet Road,
          Kennett Square, Pennsylvania (the “Kennett Square Branch” or the “Branch”).

11.       At all times mentioned in this Complaint, Defendant Wells Fargo offered, for good
          and valuable consideration, community banking products and services.

12.       Defendant Wells Fargo’s employees routinely provided the following services to
          customers of Defendant Wells Fargo as part of their customary scope of
          employment with Defendant Wells Fargo and in furtherance of Defendant Wells
          Fargo’s provision of products and services to customers (for good and valuable
          consideration) as part of its community banking and other business segments:

          (a)      Handled customer funds, including deposits, transfers and/or withdrawals
                   of such funds;

          (b)      Opened, closed and managed deposits, withdrawals and/or transfers of
                   funds from accounts held by Defendant Wells Fargo on behalf of customers;

          (c)      Issued cashier’s checks, received unused cashier’s checks and credited
                   bank accounts, including purchasers’ bank accounts (or such other
                   accounts) and otherwise dealt with the issuance and disposition of cashier’s



1     Documents or other factual allegations identifying or otherwise referring to the Kennett Square Branch or Branch
      as “Wachovia” do not refer to a separate banking entity or to the pre-merger entity.


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             checks issued by Defendant Wells Fargo; and

       (d)   Undertook electronic transfers of funds between customers and other
             parties within and beyond the United States of America (“Wire Transfers”).

                              JURISDICTION AND VENUE

13.    This Court has subject matter jurisdiction over this case based on diversity of
       citizenship pursuant to 28 U.S.C. §1332 because the parties are diverse and the
       amount in controversy exceeds $75,000.00:

13.1         Plaintiff Riad, resides in the county of Chester in the state of Pennsylvania.

13.2         Plaintiff Riad Holdings, Inc. is a Delaware corporation with an address
             located in New Castle County, Delaware.

13.3         Defendant Wells Fargo, for the purposes of diversity jurisdiction, is solely a
             citizen of the state of South Dakota pursuant to 28 U.S.C. §1348:

             (a)    Defendant Wells Fargo is a national bank; and

             (b)    Defendant Wells Fargo, for purposes of diversity jurisdiction, is a
                    citizen only of South Dakota because its “main office” is ‘located’ in
                    the state of South Dakota. Wachovia Bank v. Schmitd, 546 U.S. 303,
                    309 (2006); Rouse v. Wachovia Mortgage, FSB, a division of Wells
                    Fargo Bank, N.A., No. 12-55278 (9th Cir. 2014).

14.    This Court has personal jurisdiction over Defendant Wells Fargo because the
       alleged controversy arises out of the Defendant’s forum related activities.

14.1         Defendant Wells Fargo purposely availed itself of conducting ongoing
             business within the Commonwealth of Pennsylvania:

             (a)    Defendant Wells Fargo continuously offers community banking
                    services within the Commonwealth of Pennsylvania including, but
                    not limited to, at the Kennett Square Branch; and


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              (b)     Plaintiff Riad and Plaintiff Riad Holdings incorporate Paragraphs 6-
                      12 by reference as if stated fully herein.

14.2         A substantial portion of the transactions and/or occurrences and/or a
             majority of the tortious actions which give rise to this Complaint occurred
             within this judicial district and in the Commonwealth of Pennsylvania.

14.3         Plaintiff Riad and Plaintiff Riad Holdings suffered harm within the
             Commonwealth of Pennsylvania and within this judicial district.

15.    Venue is proper under 12 U.S.C. § 94 in this judicial district because:

       (a)    Venue exists under 12 U.S.C. § 94, in the judicial district where the
              “association…is ‘located’”. An association is ‘located’ in all districts in which
              the bank operates a branch. Citizens & Southern National Bank v. Bougas,
              434 U.A. 35 (1977); and

       (b)    A substantial portion of the transactions and/or occurrences which give rise
              to the causes of action set forth in this Complaint arose within this judicial
              district, to wit, in the Kennett Square Branch.




                    (Background Facts Commences on Following Page)




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                                BACKGROUND FACTS

A.     FACTS RELEVANT TO CERTAIN CASHIER'S CHECKS PURCHASED BY
       PLAINTIFF RIAD AND/OR PLAINTIFF RIAD HOLDINGS

16.    At all times and places mentioned herein, Plaintiff Riad and/or Plaintiff Riad
       Holdings were and/or are a customer of Defendant Wells Fargo.

17.    At all times and places mentioned herein, Triandos Randolph (“Randolph”) was a
       Store Manager III and/or an Assistant Vice President of Defendant Wells Fargo at
       the Kennett Square Branch.

17.1         Randolph was employed by, and was an agent, servant and/or employee
             of Defendant Wells Fargo;

17.2         As part of his employment duties with Defendant Wells Fargo, Randolph
             was responsible for the supervision and/or management of employees at
             the Branch in the ordinary course of his employment;

17.3         Randolph had access to and/or the ability to input and/or manipulate data
             within Defendant Wells Fargo’s management information systems;

17.4         Randolph as issued with and used at least one (1) email address and one
             (1) email account owned, operated and maintained by Defendant Wells
             Fargo, including but not limited to triandos.randolphjr@wellsfargo.com; and

17.5         Randolph was acting within the scope of his employment with Defendant
             Wells Fargo.

18.    Upon information and belief, at a time after all times and places mentioned herein,
       the employment of Randolph with Defendant Wells Fargo was terminated for
       cause by Defendant Wells Fargo.

19.    At all times mentioned herein, Defendant Wells Fargo had a duty to exercise



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       reasonable care to its customers and ensure that its employees exercised a duty
       of reasonable care to its customers in relation to:

       (a)    The issue and cashing of cashier's checks purchased by any customer;

       (b)    The return, receipt and disposition of unused cashier’s checks purchased
              by any customer;

       (c)    The acceptance for deposit of cashier’s checks, including the deposit of
              such cashier’s checks;

       (d)    Maintaining bank account records that accurately reflect the balance of
              funds in every customer’s account with Defendant Wells Fargo;

       (e)    Correctly debiting and crediting funds deposited into and withdrawn from
              every customer’s account with Defendant Wells Fargo including, without
              limitation, cashier’s checks; and

       (f)    The detection, prevention and remedy of fraud and/or other criminal conduct
              related to any cashier’s checks and/or accounts held for the benefit of
              customers by Defendant Wells Fargo including, but not limited to, fraud
              and/or other criminal conduct committed by any employee or employees of
              Defendant Wells Fargo,

       in accordance with established procedures and/or customary banking best
       practices reasonably expected of a large financial institution in the United States
       of America.

19.1          In Nat’l Bank v. Graham, the United States Supreme Court held:

              (a)    A national bank owes its customers a duty of reasonable care in
                     connection with the banking activities it performs, including
                     accepting, safekeeping and returning deposits. Nat’l Bank v.
                     Graham, 100 U.S. 699, 701-702 (1889).




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             (b)    A national bank breaches its duty of reasonable care whereby it fails
                    and/or refuses to return the deposit or its value to the customer. “The
                    only way of escape from liability to the [plaintiff] would have been to
                    return the property to the owner…” Id.

20.    Within all times mentioned herein, Randolph introduced Plaintiff Riad and Plaintiff
       Riad Holdings to at least four (4) business entities located and/or representing
       parties located in Burkina Faso and/or other countries in Africa and/or with the
       capability to supply gold from Burkina Faso and/or other countries in Africa (the
       “Burkina Faso Companies”).

20.1         One party was called Von Atlas Consultants LLC (“Von Atlas”).

20.2         One party was called Sant Jude Mining Corp. (“Saint Jude”).

20.3         One party was called Elevation Consultants & Investments, LLC
             (“Elevation”).

20.4         One of party was called Panasoft Strategic Solutions (Panasoft”).

21.    Randolph orally encouraged Plaintiff Riad and Plaintiff Riad Holdings to enter into
       business with such entities.

21.1         Randolph explicitly represented to Plaintiff Riad that Defendant Wells Fargo
             was a bank founded upon “stage coaches and the transport of gold” and
             was a sophisticated party in this area of commerce.

21.2         Randolph explicitly represented to Plaintiff Riad that Defendant Wells Fargo
             was aware of Randolph’s provision of introductory services in respect of the
             business proposed with the Burkina Faso Companies.

21.3         Randolph explicitly represented to Plaintiff Riad that the provision of
             introductory services to the Burkina Faso Companies was within the scope
             of his employment with Defendant Wells Fargo.




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21.4          Randolph wrote several letters on Defendant Wells Fargo letterhead and
              stamped with Defendant Wells Fargo’s Branch stamp to third parties which
              represented that:

              (a)    Plaintiff Riad was and had been a customer of Defendant Wells
                     Fargo for twenty (20) years;

              (b)    Plaintiff Riad had substantial funds and assets on deposit with
                     Defendant Wells Fargo; and

              (c)    Plaintiff Riad’s funds on deposit with Defendant Wells Fargo were
                     sufficient to undertake transactions of the nature contemplated by
                     the business anticipated with such entities.

21.5          Randolph made his representations to Plaintiff Riad at the Branch and
              elsewhere and through communication channels owned, operated and
              maintained by Defendant Wells Fargo and used by Randolph in the ordinary
              course of his employment by Defendant Wells Fargo.

21.6          Randolph represented that the Burkina Faso Companies were bona fide
              companies capable of selling the commodity of gold to the Plaintiff Riad and
              Plaintiff Riad Holdings on attractive terms.

22.    Randolph suggested that if Plaintiff Riad and/or Plaintiff Riad Holdings purchased
       cashier’s checks issued by Defendant Wells Fargo, the he would send scanned
       images of such cashier’s checks to the Burkina Faso Companies to evidence that
       the Plaintiffs were qualified buyers with sufficient funds to make certain purchases.

22.1          Defendant Randolph represented to the Plaintiffs that they would not
              actually need to pay the Burkina Faso Companies until the Plaintiffs
              received the gold in the United States of America and completed the
              smelting and assaying of the same.

22.2          Randolph represented that, after images of the cashier’s checks were sent
              to the Burkina Faso Companies, such checks would be marked as “not used

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             for the intended purpose” and returned to the Plaintiffs bank accounts held
             with Defendant Wells Fargo.

23.   As such representations were made by Randolph, in part, at the Branch or through
      Defendant Wells Fargo communications channels including, but not limited to,
      letters written on Defendant Wells Fargo letterhead, Plaintiff Riad and Plaintiff Riad
      Holdings reasonably believed and relied upon such reasonable belief that:

      (a)    Randolph made such introductions as part of the services offered to
             premium customers of Defendant Wells Fargo (such as Plaintiff Riad) by
             Defendant Wells Fargo;

      (b)    Randolph’s representations were made in his capacity as an employee
             and/or authorized agent of Defendant Wells Fargo and within the permitted
             scope of his employment with Defendant Wells Fargo;

      (c)    Randolph would not be authorized to make such introductions unless such
             introductory services were authorized by Defendant Wells Fargo;

      (d)    Randolph would not be authorized to make such introductions unless the
             Burkina Faso Companies were known to Defendant Wells Fargo;

      (e)    Randolph would not be authorized to make such introductions unless
             Defendant Wells Fargo, as a regulated financial institution, had completed
             at least a cursory due diligence regarding the bona fides of the Burkina Faso
             Companies; and

      (f)    Randolph would not be authorized to make such introductions unless
             Defendant Wells Fargo, given stringent regulatory requirements governing
             Defendant Wells Fargo and the conduct of its business as a regulated
             financial institution, regarded the Burkina Faso Companies as reputable
             companies in good standing with Defendant Wells Fargo.

24.   Based on and reasonably relying upon representations made by Randolph,
      Plaintiff Riad and Plaintiff Riad Holdings made contact with the Burkina Faso

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       Companies.

25.    Based on and reasonably relying upon representations made by Randolph,
       Plaintiff Riad and Plaintiff Riad Holdings subsequently agreed to further explore
       the opportunities raised by Randolph with the Burkina Faso Companies.

26.    Facilitated and guided by Randolph and reasonably relying upon the
       representations of Randolph at all times, Plaintiff Riad transferred funds on three
       (3) occasions from other accounts held with Defendant Fargo into the Joint
       Account with a total value of $3,500,000.00.

26.1         On or about 2 December 2011, Plaintiff Riad visited the Branch and
             transferred $1,200,000.00 from another account held with Defendant Wells
             Fargo to the Joint Account (the “First Deposit”).

26.2         On or about 8 December 2011, Plaintiff Riad visited the Branch and
             transferred $1,200,000.00 from another account held with Defendant Wells
             Fargo to the Joint Account (the “Second Deposit”).

26.3         On or about 22 December 2011, Plaintiff Riad visited the Branch and
             transferred $1,100,000.00 from another account held with Defendant Wells
             Fargo to the Joint Account (the “Third Deposit”).

       (collectively the “Three Deposits”).

27.    Facilitated and guided by Randolph and reasonably relying upon the
       representations of Randolph at all times, Plaintiff Riad and/or Plaintiff Riad
       Holdings made four (4) withdrawals from the Joint Account with a total value of
       $4,600,000.00.

27.1         On or about 2 December 2011, a withdrawal of $1,200,000.00 was made
             by Plaintiff Riad from the Joint Account with Defendant Wells Fargo. The
             withdrawal ticket record made by Defendant Wells Fargo noted that such
             withdrawal was for “Elevation Consultants & Investments LLC.” (the “First
             Withdrawal”).

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27.2         On or about 8 December 2011, a withdrawal of $1,200,000.00 was made
             by Plaintiff Riad from the Joint Account with Defendant Wells Fargo. The
             withdrawal ticket made by Defendant Wells Fargo noted that such
             withdrawal was for “Saint Jude Mining Corp.” (the “Second Withdrawal”).

27.3         On or about 22 December 2011, a withdrawal of $1,100,010.00 was made
             by Plaintiff Riad from the Joint Account with Defendant Wells Fargo. The
             withdrawal ticket made by Defendant Wells Fargo noted that such
             withdrawal was for “Von Atlas Consultants LLC” (the “Third Withdrawal”).

27.4         On or about 23 December 2011, a withdrawal of $1,100,010.00 was made
             by Plaintiff Riad from the Joint Account with Defendant Wells Fargo. The
             withdrawal ticket made by Defendant Wells Fargo noted that such
             withdrawal was for “Von Atlas Consultants LLC” (the “Fourth Withdrawal”).

       (collectively the “Four Withdrawals”).

28.    Facilitated and guided by Randolph and reasonably relying upon the
       representations of Randolph at all times, Plaintiff Riad and/or Plaintiff Riad
       Holdings used proceeds of the Four Withdrawals to purchased four (4) cashier’s
       checks issued by Defendant Wells Fargo with a total value of $4,600,000.00 to
       conduct business with the Burkina Faso Companies.

28.1         On or about 2 December 2011, Plaintiff Riad used proceeds from the First
             Withdrawal to purchase a cashier’s check in or about in the amount of
             $1,200,000.00 payable to “Elevation Consultants & Investments LLC.” (the
             “First Cashier’s Check”).

28.2         On or about 8 December 2011, Plaintiff Riad used proceeds from the
             Second Withdrawal to purchase a cashier’s check in or about in the amount
             of $1,200,000.00 payable to “Saint Jude Mining Corp.” (the “Second
             Cashier’s Check”).

28.3         On or about 22 December 2011, Plaintiff Riad used proceeds from the Third


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             Withdrawal to purchase a cashier’s check in or about in the amount of
             $1,100,000.00 payable to “Von Atlas Consultants LLC” (the “Third
             Cashier’s Check”).

28.4         On or about 23 December 2011, Plaintiff Riad used proceeds from the
             Fourth Withdrawal to purchase a cashier’s check in or about in the amount
             of $1,100,000.00 payable to “Von Atlas Consultants LLC” (the “Fourth
             Cashier’s Check”).

       (collectively the “Four Cashier’s Checks”).

29.    Plaintiff Riad made the Three Deposits to collectively fund the First Withdrawal,
       the Second Withdrawal and the Third Withdrawal as Plaintiff Riad wanted a distinct
       record of each deposit to correspond with each cashier’s check. Plaintiff Riad did
       make any further deposit to fund the Fourth Withdrawal as sufficient funds existed
       in the Joint Account to cover the Fourth Withdrawal and purchase of the Fourth
       Cashier’s Check.

30.    Plaintiff Riad made the Three Deposits that funded the Four Withdrawals prior to
       purchase of any of the Four Cashier’s Checks. It appears that Defendant Wells
       Fargo did not use correct routing numbers in relation to the Three Deposits and/or
       such other deposits related to the Four Cashier’s Checks.

31.    Following purchase and receipt of each of the Four Cashier’s Checks at the
       Branch, Plaintiff Riad handed over each of the Four Cashier’s Checks to Randolph
       at the Branch.

32.    Upon receipt of each of the Four Cashier’s Checks from Plaintiff Riad at the
       Branch, Randolph left Plaintiff Riad’s presence and went to his office or elsewhere
       within the Branch with, in each instance, one of the Four Cashier’s Checks in one
       of his hands.

32.1         In each instance, Plaintiff Riad waited for Randolph in the Branch.

32.2         Upon Plaintiff Riad’s information and belief, Randolph made a photocopy or

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             otherwise scanned an image of each of the Four Cashier’s Checks using
             Defendant Wells Fargo’s facilities within the Branch.

32.3         Upon Plaintiff Riad’s information and belief, Randolph send an image of
             each of the Four Cashier’s Checks to some or all of the Burkina Faso
             Companies.

32.4         Following his receipt of each of the Four Cashier’s Checks and
             disappearance into another part of the Branch for a brief time, Randolph
             came back and, in each instance, returned each of the Four Cashier’s
             Checks to Plaintiff Riad.

33.    In each instance, upon receipt of each of the Four Cashier’s Checks from
       Randolph, Plaintiff Riad turned around and walked back to a teller or such other
       employee of Defendant Wells Fargo at the Branch and presented the applicable
       Cashier’s Check to such teller or other employee of Defendant Wells Fargo at the
       Branch to deposit the applicable cashier’s check into the Joint Bank Account.

33.1         On or about 2 December 2011, Plaintiff Riad presented the First Cashier’s
             Check to a teller or other employee of Defendant Wells Fargo at the Branch
             to deposit into the Joint Bank Account.

33.2         On or about 8 December 2011, Plaintiff Riad presented the Second
             Cashier’s Check to a teller or other employee of Defendant Wells Fargo at
             the Branch to deposit into the Joint Bank Account.

33.3         On or about 22 December 2011, Plaintiff Riad presented the Third Cashier’s
             Check to a teller or other employee of Defendant Wells Fargo at the Branch
             to deposit into the Joint Bank Account.

33.4         On or about 23 December 2011, Plaintiff Riad presented the Fourth
             Cashier’s Check to a teller or other employee of Defendant Wells Fargo at
             the Branch to deposit into the Joint Bank Account.

34.    In respect of each of the Four Cashier’s Checks presented by Plaintiff Riad to the

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       applicable teller or other employee of Defendant Wells Fargo to deposit into the
       Joint Bank Account:

       (a)   Plaintiff Riad marked each of the Four Cashier’s Checks as “for deposit
             only, not used for purposes intended” and/or marked each of the Four
             Cashier’s Checks with part or all the same or similar language above his
             endorsement in accordance with the instructions of Randolph; and

       (b)   Plaintiff Riad explicitly orally instructed the teller or other employee of
             Defendant Wells Fargo at the Branch to deposit each of the Four Cashier
             Check’s into the Joint Bank Account.

35.    Within all relevant times herein, each of the Four Cashier’s Checks did not leave
       the care, custody and possession of Plaintiff Riad other than during the time that
       each of the Four Cashier’s Checks were in the care, custody and possession of
       Randolph.

35.1         Elevation did not receive or cash the First Cashier’s Check.

35.2         Saint Jude did not receive or cash the Second Cashier’s Check.

35.3         Von Atlas did not receive or cash the Third Cashier’s Check.

35.4         Von Atlas did not receive or cash the Fourth Cashier’s Check.

36.    Given the business and standing of Defendant Wells Fargo and the routine and
       customary nature of the transactions, Plaintiff Riad and Plaintiff Riad Holdings
       reasonably believed that the Four Cashier Checks had been deposited and
       credited to the Joint Bank by a teller or other employee of Defendant Wells Fargo
       at the Branch in accordance with the instructions given by Plaintiff Riad to such
       teller or other employee of Defendant Wells Fargo at the Branch.

37.    On or about 23 December 2010, the amount of $1,100,000.00 was deposited into
       the Riad Schepperd Account by a teller or other employee of Defendant Wells
       Fargo at the Branch (the “Incorrect Deposit”).


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38.   The Incorrect Deposit was made without the knowledge, consent or authority of
      Plaintiff Riad and/or Plaintiff Riad Holdings and/ or Schepperd.

39.   On or about 9 January 2012, the amount of $1,100,000.00 was withdrawn from the
      Riad Schepperd Account by a teller or other employee of Defendant Wells Fargo
      at the Branch (the “Fraudulent Withdrawal”).

40.   The Fraudulent Withdrawal was made without the knowledge, consent or authority
      of Plaintiff Riad and/or Plaintiff Riad Holdings and/or Schepperd.

41.   On or about 9 January 2012, proceeds of the Fraudulent Withdrawal were used by
      a teller or other employee of Defendant Wells Fargo at the Branch to purchase and
      issue a cashier’s check in or about in the amount of $1,100,000.00 payable to
      “Panasoft Strategic Solutions” (the “Fraudulent Fifth Cashier’s Check”).

42.   The Fraudulent Fifth Cashier’s Check was purchased and issued without the
      knowledge, consent or authority of Plaintiff Riad and/or Plaintiff Riad Holdings
      and/or Schepperd.

43.   Schepperd confirms that the Incorrect Deposit credited to the Riad Schepperd
      Account were funds entirely owned by Plaintiff Riad and disavows any claim to the
      Incorrect Deposit.

44.   Schepperd confirms that, if any court of law deems that she has any right to the
      Incorrect Deposit, she assigns the same to Plaintiff Riad on an unconditional basis.

45.   On or about 9 January 2012, an employee or employees of Defendant Wells Fargo
      closed and/or otherwise concealed the existence of and/or deprived Plaintiff Riad
      and/or Plaintiff Riad Holdings of knowledge of and/or access to accounts held by
      Defendant Wells Fargo for the benefit of Plaintiff Riad and Plaintiff Riad Holdings,
      including the Joint Account, as well as the Riad Schepperd Account (the
      “Unauthorized Account Closures”).

46.   The Unauthorized Account Closures were conducted without the knowledge,
      consent or authority of Plaintiff Riad and/or Plaintiff Riad Holdings and/or

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      Schepperd.

47.   Upon discovering that Defendant Wells Fargo had not deposited the proceeds of
      the Four Cashier’s Checks into the Joint Bank Account, Plaintiff Riad informed
      Defendant Wells Fargo in person, via telephonic conversations and via written
      correspondence that the amount of the Four Cashier’s Checks had been returned
      for deposit as unfit for intended purposes with instructions to deposit the same into
      the Joint Account but the funds associated with the Four Cashier’s Checks had not
      been deposited or credited to the Joint Account as requested during his
      presentation of the Four Cashier Checks.

48.   Since about 2016, Plaintiff Riad repeatedly engaged with Defendant Wells Fargo
      through personal visits to the Branch, via telephonic conversations and via email
      correspondence to:

      (a)    Ascertain what happened to the proceeds of the Four Cashier’s Checks
             with a collective value of $4,600,000.00;

      (b)    Request copies of relevant records; and

      (c)    Request that any account held by Defendant Wells Fargo for the benefit of
             Plaintiff Raid and/or Plaintiff Riad Holdings be credited for the amount of
             $4,600,000.00 representing the proceeds of the Four Cashier’s Checks
             returned for deposit by the Plaintiff Riad to a bank teller or other employee
             of Defendant Wells Fargo at the Branch during December 2011.

49.   Between about 9 January 2012 and until about September 2016, Defendant Wells
      Fargo. by and/or through an employee or employees thereof:

      (a)    Did not provide any information about what happened to the proceeds of
             the Four Cashier’s Checks;

      (b)    Did not provide any copies of any relevant records;

      (c)    Did not credit the amount of $4,600,000.00 representing the proceeds of


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              the Four Cashier’s Checks returned by Plaintiff Riad to a teller or other
              employee of Defendant Wells Fargo at the Branch during December 2011
              for deposit into the Joint Account despite explicit instructions given by
              Plaintiff Riad to such teller or other employee of Defendant Wells Fargo to
              effect the same; and

       (d)    Denied and frustrated Plaintiff Riad and/or Plaintiff Riad Holdings in their
              efforts to ascertain the location of $4,600,000.00 representing the proceeds
              of the Four Cashier’s Checks between 2012 and 2016.

50.    On or about between September 2016 and about May 2018, after repeated
       requests by Plaintiff Riad and/or Plaintiff Riad in person, via telephone calls and
       via email correspondence, Defendant Wells Fargo provided Plaintiff Riad with
       copies of a limited scope of bank statements (the “Limited Bank Statements”).

50.1          The Limited Bank Statements are not complete statements and/or records
              of those accounts held by Defendant Wells Fargo for the benefit of Plaintiff
              Riad and/or Plaintiff Riad Holdings.

50.2          The Limited Bank Statements do contain material statements and/or
              records for the majority of accounts held by Defendant Wells Fargo for the
              benefit of Plaintiff Riad and/or Plaintiff Riad Holdings.

50.3          The Limited Bank Statements provided on or about September 2016 bear
              a cover note that instructs employees of Wells Fargo not to provide any
              documents to Plaintiff Riad and/or Plaintiff Riad Holdings.

51.    The Limited Bank Statements contain numerous material inconsistencies
       including, but not limited to:

       (a)    Missing time stamps;

       (b)    Different account numbers on withdrawal slips;

       (c)    Unknown handwriting; and


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      (d)    Misspelling of the name of Michelle Schepperd on deposit slips.

52.   Based on information discovered in the Limited Bank Statements provided on or
      about May 2018, Plaintiff Riad and Plaintiff Riad Holdings ascertained that a teller
      or other employee of Defendant Wells Fargo:

      (a)    Conducted the Incorrect Deposit of the Fourth Cashier’s Check into the Riad
             Schepperd Account;

      (b)    Conducted the Fraudulent Withdrawal of proceeds of the Incorrect Deposit
             out of the Riad Schepperd Account;

      (c)    Conducted the purchase and issue of the Fraudulent Fifth Cashier’s Check
             using proceeds of the Fraudulent Withdrawal; and

      (d)    Conducted the closure of the Riad Schepperd Account as part of the
             Unauthorized Account Closures,

      each without the consent, knowledge or authority of Plaintiff Riad and/or Plaintiff
      Riad Holdings and/or Schepperd.

53.   From 23 December 2011 until present time, Defendant Wells Fargo has:

      (a)    Failed to provide and/or refused to provide information about what
             happened to the $4,600,000.00 representing:

             (i)    The proceeds of the First Cashier’s Check, Second Cashier’s Check
                    and Third Cashier’s Check originally funded by the Three Deposits;
                    and

             (ii)   The proceeds of the Fraudulent Fifth Cashier’s Check funded by the
                    Incorrect Deposit.

      (b)    Failed to provide and/or refused to provide copies of complete records other
             than the Limited Bank Statements;




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      (c)    Failed to and/or refused to credit the amount of $3,500,000.00 representing
             the proceeds of the First Cashier’s Check, Second Cashier’s Check and
             Third Cashier’s Checks returned by Plaintiff Riad to a bank teller or other
             employee of Defendant Wells Fargo at the Branch for deposit into the Joint
             Account during December 2011 into any account maintained by Wells
             Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings and/or
             Schepperd (with any credit to the Joint Account or Riad Schepperd Account
             made impossible due to the Defendant Wells Fargo’s unilateral closure of
             such accounts as part of the Unauthorized Account Closures without the
             knowledge, consent or authority of Plaintiff Riad and/or Plaintiff Riad
             Holdings and/or Schepperd);

      (d)    Failed to and/or refused to credit the amount of $1,100,000.00 representing
             proceeds of the Unauthorized Withdrawal and Fraudulent Fifth Cashier’s
             Check into any account maintained by Wells Fargo for the benefit of the
             Plaintiff Riad and/or Plaintiff Riad Holdings and/or Schepperd (with any
             credit to the Joint Account or Riad Schepperd Account made impossible
             due to the Defendant Wells Fargo’s unilateral closure of such accounts as
             part of the Unauthorized Account Closures without the knowledge, consent
             or authority of Plaintiff Riad and/or Plaintiff Riad Holdings and/or
             Schepperd); and

      (e)    Continued to deny and frustrate Plaintiff Riad and/or Plaintiff Riad Holdings
             in their efforts to ascertain the location of the proceeds of the First Cashier’s
             Check, Second Cashier’s Check, Third Cashier’s Check and Fraudulent
             Fifth Cashier’s Check.

54.   The Limited Bank Statements do not reflect any credit for deposit of the First
      Cashier’s Check, Second Cashier’s Check or Third Cashier’s Check into any
      account maintained by Defendant Wells Fargo for Plaintiff Riad and/or Plaintiff
      Riad Holdings and/or Schepperd on any date following the withdrawal date and
      issue date of said cashier’s checks despite return by Plaintiff Riad to a bank teller



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       or other employee of Defendant Wells Fargo at the Branch of the same for deposit
       into the Joint Account during December 2011.

54.1         The Limited Bank Statements do not show any credit to any account held
             by Defendant Wells Fargo on behalf of Plaintiff Riad and/or Plaintiff Riad
             Holdings and/or Schepperd for the amount of $1,200,000,00 representing
             proceeds of the First Cashier’s Check on any date following the withdrawal
             date and issue date of said cashier’s check despite said check being
             returned for deposit into the Joint Account by the Plaintiff Riad to a bank
             teller or other employee of Defendant Wells Fargo at the Branch on 2
             December 2011.

54.2         The Limited Bank Statements do not show any credit to any account held
             by Defendant Wells Fargo on behalf of Plaintiff Riad and/or Plaintiff Riad
             Holdings and/or Schepperd for the amount of $1,200,000.00 representing
             proceeds of the Second Cashier’s Check on any date following the
             withdrawal date and issue date of said cashier’s check despite said check
             being returned for deposit into the Joint Account by the Plaintiff Riad to a
             bank teller or other employee of Defendant Wells Fargo on 8 December
             2011.

54.3         The Limited Bank Statements do not show any credit to any account held
             by Defendant Wells Fargo on behalf of Plaintiff Riad and/or Plaintiff Riad
             Holdings or Schepperd for the amount of $1,100,000.00 representing
             proceeds of the Third Cashier’s Check on any date following the withdrawal
             date and issue date of said cashier’s check despite said check being
             returned for deposit into the Joint Account by the Plaintiff Riad to a bank
             teller or other employee of Defendant Wells on 22 December 2011.

54.4         The Limited Bank Statements do not reflect any credit to any account held
             by Defendant Wells Fargo on behalf of Plaintiff Riad and/or Plaintiff Riad
             Holdings and/or Schepperd for the amount of $1,100,000.00 representing
             the amount of the Unauthorized Withdrawal and/or Fraudulent Fifth


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             Cashier’s Check on any date following the withdrawal date and issue date
             of said cashier’s check.

55.    On or about 27 December 2011, an employee or employees of Defendant Wells
       Fargo transferred approximately $147,754.76 from the Joint Account into the Riad
       Schepperd Account without the knowledge, consent and authority of Plaintiff Riad
       and/or Plaintiff Riad Holdings (“Original Unauthorized Transfer”) which resulted
       in a balance in the Riad Schepperd Account at the time of the Unauthorized
       Account Closures of $168,562.00 (the “Riad Schepperd Balance”).

55.1         On or about 9 January 2012, an employee or employees of Defendant Wells
             withdrew approximately $20,000 of the Riad Schepperd Balance from the
             Riad Schepperd Account (the “Accepted Transfer”) and deposited such
             funds into a new account opened with Defendant Wells Fargo for
             Schepperd with her knowledge, consent and authority (the “Accepted
             Schepperd Account”).

55.2         On or about 9 January 2012, an employee or employees of Defendant Wells
             withdrew approximately $143,462.00 of the Riad Schepperd Balance from
             the Riad Schepperd Account (the “Unauthorized Transfer”) and deposited
             such funds into another new account opened with Defendant Wells Fargo
             for Schepperd without her knowledge, consent or authority (the
             “Unauthorized Schepperd Account”).

56.    Accounting for the Accepted Transfer and the Unauthorized Transfer, the Riad
       Schepperd Account held a balance of $5,100 (the “Residual Balance”) at the time
       of its closure and/or other maladministration of such account as part of the
       Unauthorized Account Closures.

56.1         The Limited Bank Statements do not show what happened to the Residual
             Balance. It just disappears as part of the Unauthorized Account Closures.

56.2         Plaintiff Riad and/or Schepperd did not receive at the time of the
             Unauthorized Account Closures and have not received at any time


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             subsequent to the Unauthorized Account Closures the Residual Balance
             despite repeated demands to Defendant Wells Fargo for the same.

57.    On or about 27 February 2012, an employee or employees of Defendant Wells
       Fargo withdrew the amount of $143,525.29 representing $143,462.00 of original
       funds and the benefit of two interest payments from the Unauthorized Schepperd
       Account (the “Unauthorized Withdrawal of the Unauthorized Transfer”).

57.1         The Unauthorized Withdrawal of the Unauthorized Transfer was done
             without the knowledge, consent or authority of Schepperd.

57.2         Plaintiff Riad and/or Schepperd did not receive and have not received at
             any time proceeds of the Unauthorized Withdrawal of the Unauthorized
             Transfer despite repeated demands to Defendant Wells Fargo for the same.

57.3         Schepperd confirms that the funds which comprise the Unauthorized
             Withdrawal of the Unauthorized Transfer are entirely owned by Plaintiff Riad
             and disavows any claim to the same and, if any court of law deems that she
             has any right to the funds which comprise the Unauthorized Withdrawal of
             the Unauthorized Transfer, she assigns the same to Plaintiff Riad on an
             unconditional basis.

58.    On or about 27 February 2012, an employee or employees of Defendant Wells
       Fargo closed the Unauthorized Schepperd Account (the “Unauthorized Closure
       of the Unauthorized Schepperd Account”).

59.    The Unauthorized Closure of the Unauthorized Schepperd Account was done
       without the knowledge, consent or authority of Schepperd.

60.    It was known to Defendant Wells Fargo, by and/or through Randolph and/or an
       employee and/or employees of Defendant Wells Fargo at the Branch that
       Schepperd:

       (a)   Was a former employee of Wachovia;



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       (b)   Had suffered from brain tumor;

       (c)   Had undergone brain surgery in connection with the brain tumor; and

       (d)   Due to her illness and subsequent effects therefrom, had limited
             neuropsychological capacity to conduct her own affairs.

61.    Medical     records    and    reports    which        confirmed   Schepperd’s      limited
       neuropsychological capacity and her inability to manage money formed part of her
       employment records with Defendant Wells Fargo.

61.1         The following excerpts form part of the medical records and reports
             provided to Defendant Wells Fargo in connection with the craniotomy and
             brain tumor:

                     PREOPERATIVE DIAGNOSIS: Left hypothalamic brain tumor

                     POSTOPERATIVE DIAGNOSIS: Left hypothalamic brain tumor

                     “A pearly white tumor was noted to be herniating up from the
                     floor of the lateral ventricle.”

       (Operative Note, University of Pennsylvania, Department of Neurology).

61.2         The following excerpts form part of the medical records and reports
             provided to Defendant Wells Fargo:

                     [Ms. Schepperd is] “a lovely woman who underwent resection
                     of a pilocytic astrocytoma in the region of the thalamus. . .
                     [She] has remained at home caring for her infant daughter.”

       (Department    of     Neurology,   University    of     Pennsylvania   Medical     Center
       Reexamination Report issued by Dr. Gula Glosser, Ph.D., ABPP to Dr. Sean
       Grady, M.D., Chairman, Department of Neurology, pg. 1 (the “Neurology
       Report”).




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                   “Based on the neuropsychological findings I continue to be
                   very concerned about [Ms. Schepperd’s] return to work in a
                   position where she must handle large sums of money. I do
                   not believe that at this time she can be expected to perform
                   her previous duties reliably and independently. Since it has
                   been more than a year since her surgery and the onset of the
                   cognitive problems, it is unlikely that there will be much further
                   spontaneous recovery of neurological function.” (Neurology
                   Report, pg. 3)

62.   Plaintiff Riad avers that Defendant Wells Fargo and/or an employee or employees
      of Defendant Wells Fargo:

      (a)   Took advantage of their knowledge of Schepperd’s limited capacity and
            inability to manage money and money-related affairs to prejudice Plaintiff
            Riad in dealings with funds jointly held by Plaintiff Riad and Schepperd with
            Defendant Wells Fargo; and/or

      (b)   Should reasonably have known about Schepperd’s limited capacity and
            inability to manage money and money-related affairs and, notwithstanding
            the same, conducted bank transactions on behalf of Schepperd or involving
            accounts held jointly by Plaintiff Riad and Schepperd with Defendant Wells
            Fargo to prejudice Plaintiff Riad.

63.   Between 9 January 2012 when the Unauthorized Schepperd Account was opened
      by an employee or employees of Defendant Wells Fargo and 27 February 2012
      when the Unauthorized Schepperd Account was closed by an employee or
      employees of Defendant Wells Fargo, the only transactions in the Unauthorized
      Schepperd Account comprised of:

      (a)   Automatic interest payments made by Defendant Wells Fargo based on the
            balance of the account; and

      (b)   The Unauthorized Withdrawal of the Unauthorized Transfer made by an


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             employee or employees of Defendant Wells Fargo on the day that
             Defendant Wells Fargo closed the account.

64.    Between about 2010 and about 2016, Defendant Wells Fargo, by and/or through
       an employee or employees thereof, opened and/or closed and/or transacted (and
       may continue to open and/or close and/or transact) in at least twenty-five (25)
       accounts in the name of Plaintiff Riad and/or Plaintiff Riad Holdings and/or other
       accounts in which Plaintiff Riad and/or Plaintiff Riad Holdings held a beneficial
       interest (the “Fraudulent Churn Accounts”).

64.1         Defendant Wells Fargo, by and/or through an employee or employees
             thereof, opened and/or closed and/or conducted deposits, withdrawals
             and/or transfers of funds into, out of and between the Fraudulent Churn
             Accounts (and may continue to open and/or close and/or transact in such
             Fraudulent Churn Accounts) (the “Fraudulent Activities”).

64.2         Defendant Wells Fargo, by and/or through an employee or employees
             thereof, charged Plaintiff Riad and/or Plaintiff Riad Holdings fees related to
             the Fraudulent Activities (the “Fraudulent Fees”).

64.3         Defendant Wells Fargo, by and/or through an employee or employees
             thereof, opened and/or closed online banking facilities (the “Fraudulent
             Online Banking Facilities”) related to the Fraudulent Churn Accounts.

64.4         Defendant Wells Fargo, by and/or through an employee or employees
             thereof, conducted transactions (and may continue to conduct transactions)
             using the Fraudulent Online Banking Facilities (the “Fraudulent Online
             Banking Transactions”).

64.5         Defendant Wells Fargo, by and/or through an employee or employees
             thereof, may have charged Plaintiff Riad and/or Plaintiff Riad Holdings fees
             related to the Fraudulent Online Banking Facilities (the “Fraudulent Online
             Fees”).



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      (collectively the “Fraudulent Churn Activities”).

65.   Defendant Wells Fargo, by and/or through an employee or employees thereof:

      (a)   Directed, operated and undertook activities in the Fraudulent Churn
            Accounts and/or Fraudulent Online Banking Facilities;

      (b)   Directed, operated and undertook the Fraudulent Activities and/or
            Fraudulent Online Banking Transactions; and/or

      (c)   Directed, operated and charged the Fraudulent Fees and/or Fraudulent
            Online Fees,

      without the knowledge, consent or authority of Plaintiff Riad and/or Plaintiff Riad
      Holdings.

66.   Plaintiff Riad and/or Plaintiff Riad Holdings did not have access to a land-based
      internet connection between about 2011 and about 2013.

67.   Between about 2010 and until about 2018, Defendant Wells Fargo, by and/or
      through an employee or employees thereof:

      (a)   Did not disclose the existence of the Fraudulent Churn Activities;

      (b)   Did not provide copies of complete records;

      (c)   Misled Plaintiff Riad and/or Plaintiff Riad Holdings about the nature of their
            accounts with Defendant Wells Fargo; and/or

      (d)   Denied and frustrated Plaintiff Riad and/or Plaintiff Riad Holdings in their
            efforts to ascertain copies of relevant records,

      despite repeated requests by Plaintiff Riad and/or Plaintiff Riad Holdings to an
      employee and/or employees of Defendant Wells Fargo for the same.

68.   Between about 2010 and about 2018, Defendant Wells Fargo, by and/or through
      an employee or employees thereof, benefitted from the Fraudulent Churn Activities


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       to the prejudice and loss of Plaintiff Riad and/or Riad Holdings.

68.1          Defendant Wells Fargo, by and/or through an employee or employees
              thereof, charged and collected the Fraudulent Fees and/or Fraudulent
              Online Fees to the prejudice and loss of Plaintiff Riad and/or Riad Holdings.

68.2          Defendant Wells Fargo, by and/or through an employee or employees
              thereof, lost, misplaced or misappropriated funds in the Fraudulent Churn
              Accounts and/or Fraudulent Online Banking Facilities to the prejudice and
              loss of Plaintiff Riad and/or Riad Holdings.

68.3          Defendant Wells Fargo, by and/or through an employee or employees
              thereof, lost, misplaced or misappropriated funds related to the Fraudulent
              Activities and/or Fraudulent Online Banking Transactions to the prejudice
              and loss of Plaintiff Riad and/or Riad Holdings.

69.    Defendant Wells Fargo has:

       (a)    Failed to provide and/or otherwise return to Plaintiff Riad Holdings and/or
              Plaintiff Riad Holdings the benefit unlawfully derived by Defendant Wells
              Fargo of the Fraudulent Fees;

       (b)    Failed to provide and/or otherwise return to Plaintiff Riad Holdings and/or
              Plaintiff Riad Holdings the benefit unlawfully derived by Defendant Wells
              Fargo of the Fraudulent Online Fees;

       (c)    Failed to provide and/or otherwise return to Plaintiff Riad Holdings and/or
              Plaintiff Riad Holdings the benefit unlawfully deprived to Plaintiff Riad and/or
              Plaintiff Riad Holdings by Defendant Wells Fargo of funds lost, misplaced
              or misappropriated through the Fraudulent Churn Accounts to the prejudice
              and loss of Plaintiff Riad and/or Riad Holdings;

       (d)    Failed to provide and/or otherwise return to Plaintiff Riad Holdings and/or
              Plaintiff Riad Holdings the benefit unlawfully deprived to Plaintiff Riad and/or
              Plaintiff Riad Holdings by Defendant Wells Fargo of funds lost, misplaced

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            or misappropriated through the Fraudulent Online Banking Facilities to the
            prejudice and loss of Plaintiff Riad and/or Riad Holdings;

      (e)   Failed to provide and/or otherwise return to Plaintiff Riad Holdings and/or
            Plaintiff Riad Holdings the benefit unlawfully deprived to Plaintiff Riad and/or
            Plaintiff Riad Holdings by Defendant Wells Fargo of funds lost, misplaced
            or misappropriated through the Fraudulent Churn Activities to the prejudice
            and loss of Plaintiff Riad and/or Riad Holdings;

      (f)   Failed to provide and/or otherwise return to Plaintiff Riad Holdings and/or
            Plaintiff Riad Holdings the benefit unlawfully deprived to Plaintiff Riad and/or
            Plaintiff Riad Holdings by Defendant Wells Fargo of funds lost, misplaced
            and/or   misappropriated     through    the    Fraudulent    Online    Banking
            Transactions to the prejudice and loss of Plaintiff Riad and/or Riad Holdings;
            and/or

      (g)   Failed to provide and/or otherwise return to Plaintiff Riad Holdings and/or
            Plaintiff Riad Holdings the benefit unlawfully deprived to Plaintiff Riad and/or
            Plaintiff Riad Holdings by Defendant Wells Fargo of interest lost on funds
            that Plaintiff Riad and/or Riad Holdings had deposited with Defendant Wells
            Fargo due to the Fraudulent Churn Activities to the prejudice and loss of
            Plaintiff Riad and/or Riad Holdings,

      despite repeated requests by Plaintiff Riad and/or Plaintiff Riad Holdings to an
      employee and/or employees of Defendant Wells Fargo for the same.

70.   Upon information and belief, Plaintiff Riad and Plaintiff Riad Holdings aver that
      Defendant Wells Fargo, by and/or through an employee or employees thereof:

      (a)   Failed to maintain adequate policies and/or procedures;

      (b)   Failed to ensure that adequate policies and/or procedures and/or customary
            banking best practices were followed by an employee or employees of
            Defendant Wells Fargo; and/or


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       (c)   Permitted an employee or employees of Defendant Wells Fargo or,
             alternatively, failed to permit an employee or employees of Defendant Wells
             Fargo, from engaging in conduct contrary to established policies and/or
             procedures and/or customary banking best practices,

       which resulted in the Defendant Wells Fargo, by and through an employee and
       and/or employees thereof, causing prejudice and loss of Plaintiff Riad and/or Riad
       Holdings and the unjust benefit and/or enrichment of Defendant Wells Fargo
       and/or an employee or employees thereof and/or persons unknown other than
       Plaintiff Riad and/or Riad Holdings.

70.1         By and/or through an employee or employees thereof, Defendant Wells
             Fargo Opened and closed accounts in the name of Plaintiff Riad and/or
             Plaintiff Riad and/or Schepperd with Defendant Wells Fargo including, but
             not limited to, the Joint Account, Riad Schepperd Account, Unauthorized
             Schepperd Account and/or other such accounts, without the knowledge,
             consent or authority of Plaintiff Riad and/or Plaintiff Riad and/or Schepperd,
             to the prejudice and loss of Plaintiff Riad and/or Plaintiff Riad Holdings.

70.2         By and/or through an employee or employees thereof, Defendant Wells
             Fargo incorrectly and/or improperly made deposits and/or withdrawals
             and/or transfers of funds into, out of and between accounts in the name of
             Plaintiff Riad and/or Plaintiff Riad and/or Schepperd with Defendant Wells
             Fargo including, but not limited to, the Joint Account, Riad Schepperd
             Account, Unauthorized Schepperd Account and/or other such accounts,
             without the knowledge, consent or authority of Plaintiff Riad and/or Plaintiff
             Riad and/or Schepperd, to the prejudice and loss of Plaintiff Riad and/or
             Plaintiff Riad Holdings.

70.3         By and/or through an employee or employees thereof, Defendant Wells
             Fargo lost safe custody and/or proper administrative control over accounts
             in the name of Plaintiff Riad and/or Plaintiff Riad and/or Schepperd with
             Defendant Wells Fargo including, but not limited to, the Joint Account, Riad


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              Schepperd Account, Unauthorized Schepperd Account and/or other such
              accounts, without the knowledge, consent or authority of Plaintiff Riad
              and/or Plaintiff Riad and/or Schepperd, to the prejudice and loss of Plaintiff
              Riad and/or Plaintiff Riad Holdings.

71.    As a result of the Defendant Wells Fargo’s action or failure to act, Plaintiff Riad
       and Plaintiff Riad Holdings aver that Defendant Wells Fargo, by and/or through an
       employee or employees thereof, failed to correctly and/or properly deposit and/or
       credit the amount of $4,600,000.00 to any account held by Defendant Wells Fargo
       for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings to the prejudice and
       loss of Plaintiff Riad and/or Plaintiff Riad Holdings including, but not limited to, the
       loss of $4,600,000.00.

71.1          Defendant Wells Fargo failed to correctly and/or properly deposit and/or
              credit the amount of $1,200,000.00 into any bank account held by
              Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad
              Holdings representing proceeds of the First Cashier’s Check returned for
              deposit into the Joint Account by Plaintiff Riad to a teller or other employee
              of Defendant Wells Fargo at the Branch on 2 December 2011 despite
              repeated demands by Plaintiff Riad and/or Plaintiff Riad Holdings as owners
              of such funds for the same.

71.2          Defendant Wells Fargo failed to correctly and/or properly deposit and/or
              credit the amount of $1,200,000.00 into any account held by Defendant
              Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings
              representing proceeds of the Second Cashier’s Check returned for deposit
              into the Joint Account by the Plaintiff Riad to a teller or other employee of
              Defendant Wells Fargo at the Branch on 8 December 2011 despite
              repeated demands by Plaintiff Riad and/or Plaintiff Riad Holdings as owners
              of such funds for the same.

71.3          Defendant Wells Fargo failed to correctly and/or properly deposit and/or
              credit the amount of $1,100,000.00 into any account held by Defendant


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              Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings
              representing proceeds of the Third Cashier’s Check returned for deposit
              into the Joint Account by Plaintiff Riad to a teller or other employee of
              Defendant Wells Fargo at the Branch on 22 December 2011 despite
              repeated demands by Plaintiff Riad and/or Plaintiff Riad Holdings as owners
              of such funds for the same.

71.4          Defendant Wells Fargo failed to correctly and/or properly deposit and/or
              credit the amount of $1,100,010.00 into any account held by Defendant
              Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings
              and/or Schepperd representing the amount of the Fraudulent Withdrawal
              and/or proceeds of the Fraudulent Fifth Cashier’s Check despite repeated
              demands by Plaintiff Riad and/or Plaintiff Riad Holdings as owners of such
              funds for the same.

72.    In addition or alternative to any other averment herein, as a result of the Defendant
       Wells Fargo’s action or failure to act, Plaintiff Riad and Plaintiff Riad Holdings aver
       that Defendant Wells Fargo, by and/or through an employee or employees thereof,
       failed to correctly and/or properly deposit and/or credit the amount of $148,562.00
       to any account held by Defendant Wells Fargo for the benefit of Plaintiff Riad
       and/or Plaintiff Riad Holdings to the prejudice and loss of Plaintiff Riad and/or
       Plaintiff Riad Holdings including, but not limited to, the loss of $148,562.00

72.1          Defendant Wells Fargo failed to correctly and/or properly deposit and/or
              credit the amount of the $143,462.00 into any bank account held by
              Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad
              Holdings representing the Unauthorized Withdrawal of the Unauthorized
              Transfer.

72.2          Defendant Wells Fargo failed to correctly and/or properly deposit and/or
              credit the amount of the $5,100.00 into any bank account held by Defendant
              Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings
              representing the Residual Balance of the Riad Schepperd Account


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             stemming from the Unauthorized Withdrawal of the Unauthorized Transfer
             from the Riad Schepperd Account.

73.   In addition or alternative to any other averment herein, as a result of the Defendant
      Wells Fargo’s action or failure to act, Plaintiff Riad and Plaintiff Riad Holdings aver
      that Defendant Wells Fargo, by and/or through an employee or employees thereof,
      failed to correctly and/or properly deposit and/or credit the Joint Account or any
      other account held by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or
      Plaintiff Riad Holdings and/or Schepperd to the prejudice and loss of Plaintiff Riad
      and/or Plaintiff Riad Holdings with such amounts due and payable to Plaintiff Riad
      and/or Plaintiff Riad Holdings arising from fees incorrectly and/or improperly
      charged by Defendant Wells Fargo, by and/or through an employee or employees
      thereof, in respect of every unauthorized and/or fraudulent dealing by Defendant
      Wells Fargo, by and/or through an employee or employees thereof, in respect of
      the following instruments and/or transactions and/or accounts:

      (a)    The Joint Account;

      (b)    The Riad Schepperd Account;

      (c)    The Unauthorized Riad Schepperd Account:

      (d)    The Four Cashier’s Checks;

      (e)    The Three Deposits;

      (f)    The Incorrect Deposit;

      (g)    The Fraudulent Withdrawal;

      (h)    The Fraudulent Fifth Cashier’s Check;

      (i)    The Unauthorized Withdrawal;

      (j)    The Fraudulent Churn Accounts;




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      (k)    The Fraudulent Online Banking Facilities; and/or

      (l)    Every other instrument related to and/or transaction undertaken by
             Defendant Wells Fargo, by and/or through an employee or employees
             thereof, in any account held by Defendant Wells Fargo for the benefit of
             Plaintiff Riad and/or Riad Holdings and/or Schepperd which was not
             undertaken with the knowledge, consent or authority of the same to the
             prejudice and loss of Plaintiff Riad and/or Plaintiff Riad Holdings.

74.   In addition or alternative to any other averment herein, as a result of the Defendant
      Wells Fargo’s action or failure to act, Plaintiff Riad and Plaintiff Riad Holdings aver
      that Defendant Wells Fargo, by and/or through an employee or employees thereof,
      failed to correctly and/or properly credit the Joint Account, Riad Schepperd
      Account, Unauthorized Riad Schepperd Account and/or any other account held by
      Defendant Wells Fargo with interest that would have otherwise accrued to such
      accounts if it were not for the incorrect and/or improper withdrawal and/or transfer
      of funds and/or charging of fees and/or other unauthorized and/or fraudulent
      dealing by Defendant Wells Fargo, by and/or through an employee or employees
      thereof, in respect of the following instruments and/or transactions and/or
      accounts:

      (a)    The Four Cashier’s Checks;

      (b)    The Three Deposits;

      (c)    The Incorrect Deposit;

      (d)    The Fraudulent Withdrawal;

      (e)    The Fraudulent Fifth Cashier’s Check;

      (f)    The Unauthorized Withdrawal;

      (g)    The Fraudulent Churn Accounts;




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      (h)    The Fraudulent Online Banking Facilities; and/or

      (i)    Every other instrument related to and/or transactions undertaken by
             Defendant Wells Fargo, by and/or through an employee or employees
             thereof, in any account held by Defendant Wells Fargo for the benefit of
             Plaintiff Riad and/or Riad Holdings and/or Schepperd which was not
             undertaken with the knowledge, consent or authority of the same to the
             prejudice and loss of Plaintiff Riad and/or Plaintiff Riad Holdings.

75.   In addition or alternative to any other averment herein, as a result of the Defendant
      Wells Fargo’s action or failure to act, Plaintiff Riad and Plaintiff Riad Holdings aver
      that Defendant Wells Fargo, by and/or through an employee or employees thereof,
      lost, misplaced and/or misappropriated funds owned by Plaintiff Riad Holdings
      and/or Plaintiff Riad Holdings as a result of incorrect and/or improper deposit
      and/or withdrawal and/or transfer of funds and/or charging of fees and/or other
      unauthorized and/or fraudulent dealing by Defendant Wells Fargo, by and/or
      through an employee or employees thereof, in respect of the following instruments
      and/or transactions and/or accounts:

      (a)    The Four Cashier’s Checks;

      (b)    The Three Deposits;

      (c)    The Incorrect Deposit;

      (d)    The Fraudulent Withdrawal;

      (e)    The Fraudulent Fifth Cashier’s Check;

      (f)    The Unauthorized Withdrawal;

      (g)    The Fraudulent Churn Accounts;

      (h)    The Fraudulent Online Banking Facilities; and/or

      (i)    Every other instrument related to and/or transactions undertaken by


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             Defendant Wells Fargo, by and/or through an employee or employees
             thereof, in any account held by Defendant Wells Fargo for the benefit of
             Plaintiff Riad and/or Riad Holdings and/or Schepperd which was not
             undertaken with the knowledge, consent or authority of the same to the
             prejudice and loss of Plaintiff Riad and/or Plaintiff Riad Holdings.

76.   Defendant Wells Fargo, by and/or through an employee or employee thereof, has
      repeatedly frustrated Plaintiff Riad and/or Plaintiff Riad’s reasonable efforts to
      obtain records related every account held by Plaintiff Riad and/or Plaintiff Riad
      Holdings with Defendant Wells Fargo to substantiate the quantum of loss and
      damages suffered by Plaintiff Riad and/or Plaintiff Riad in respect of the same
      despite repeated demands by Plaintiff Riad and/or Plaintiff Riad Holdings for
      Defendant Wells Fargo for the same.

77.   Defendant Wells Fargo, by and/or through an employee or employees thereof, has
      failed to remedy the prejudice and loss caused to Plaintiff Riad and/or Plaintiff Riad
      Holdings by the actions or failure to act of Defendant Wells Fargo, by and/or
      through an employee or employees thereof, despite repeated demands by Plaintiff
      Riad and/or Plaintiff Riad Holdings (and Schepperd, as applicable) for Defendant
      Wells Fargo to remedy the same.




                      (Section B Commences on Following Page)




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B.    FACTS RELEVANT TO CERTAIN UNAUTHORIZED WIRES FROM PLAINTIFF
      RIAD AND/OR PLAINTIFF RIAD HOLDINGS ACCOUNTS WITH DEFENDANT
      WELLS FARGO

78.   At all times mentioned herein, Defendant Wells Fargo had a duty to exercise
      reasonable care to its customers and ensure that its employees exercised a duty
      of reasonable care to its customers in relation to:

      (a)    Providing products and/or services related to Wire Transfers;

      (b)    Maintaining bank account records that accurately reflect the balance of
             funds in every customer’s bank account with Defendant Wells Fargo;

      (c)    Correctly debiting and/or crediting funds deposited into and withdrawn out
             of every customer’s bank account with Defendant Wells Fargo including,
             without limitation, fund deposited and/or withdrawn through Wire Transfers;
             and/or

      (d)    Detecting, preventing and/or remedying acts of fraud and/or other criminal
             conduct related to any Wire Transfers and/or bank accounts held for the
             benefit of customers by Defendant Wells Fargo including, but not limited to,
             acts of fraud and/or other criminal conduct committed by an employee or
             employees of Defendant Wells Fargo,

      in accordance with established policies and/or procedures and/or customary
      banking best practices reasonably expected of a large financial institution in the
      United States of America.

79.   At all times mentioned herein, it was established procedure at Defendant Wells
      Fargo in accordance with customary banking best practices to only permit the debit
      of an account and the transmission of a Wire Transfer using proceeds from such
      debit under the express authority of the customer duly registered with Defendant
      Wells Fargo as the authorized signatory for such account.




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80.   As part of the authorization process for Wire Transfers at Defendant Wells Fargo,
      it was established procedure in accordance with customary banking best practices
      to require any customer seeking to make a Wire Transfer to complete a Write
      Transfer of Funds Request form (a “Wire Transfer Request Form”) which
      required, inter alia:

      (a)    The date of such request;

      (b)    A control number;

      (c)    A description of the type of Wire Transfer (domestic or international);

      (d)    The currency amount of the Wire Transfer;

      (e)    The value date of the Wire Transfer;

      (f)    Particulars of the originator of the Wire Transfer, including an account
             number;

      (g)    Particulars of the receiving bank for the Wire Transfer;

      (h)    Particulars of the beneficiary of the Wire Transfer, including an account
             number;

      (i)    Particulars of how the customer initiated the Wire Transfer request (phone
             or walk-in);

      (j)    The signature of the customer requesting the Wire Transfer (the “Customer
             Signature”) who, by signature thereof, agrees to the terms and conditions
             of the Wire Transfer request;

      (k)    The date of the request completed by the customer requesting the Wire
             Transfer;

      (l)    The employee number of such other identifying number of the employee of
             Defendant Wells Fargo that prepares such Wire Transfer Request Form;



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      (m)    The signature of the employee of Defendant Wells Fargo that initiates such
             Wire Transfer Request Form (the “Initiator’s Signature”);

      (n)    The signature of the employee of Defendant Wells Fargo that prepares such
             Wire Transfer Request Form (the “Preparer’s Signature”);

      (o)    The signature of the employee of Defendant Wells Fargo that verifies such
             Wire Transfer Request Form (the “Verifier’s Signature”); and

      (p)    The signature of the employee of Defendant Wells Fargo that authorizes
             such Wire Transfer Request (the “Authorized Signature”).

81.   The Wire Transfer Request Form includes a contract (the “Customer Contract”)
      at the bottom of the Wire Transfer Request Form which stipulates:

             “All of the above information is complete and correct and
             provided to Wachovia Bank, a division of Wells Fargo Bank,
             N.A. or to Wachovia Bank of Delaware, a division of Wells
             Fargo Bank, N.A. (each, the “Bank”) for it to implement a wire
             transfer of funds from my account. The Bank’s acceptance
             and execution of my wire transfer transaction is subject to the
             Terms and Conditions contained in this Wire Transfer of
             Funds Request. My signature below evidences that I have
             received a complete copy of this Request, and that I have
             received the Deposit Agreement.”

82.   The second (back) page of every Wire Transfer Request Form contains the terms
      and conditions (“Terms & Conditions”) reference in the Customer Contract on
      each Wire Transfer Request Form.

83.   Between 23 November 2010 and 18 January 2011, Defendant Wells Fargo, by
      and/or through an employee or employees thereof, made six (6) fraudulent
      withdrawals of funds from the Joint Bank Account with a total value of
      $1,068,735.00 and used proceeds of such fraudulent debits to undertake six (6)
      fraudulent wire transfers with a total value of $1,068,735.00.




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83.1        On or about 23 November 2010, Defendant Wells Fargo, by and/or through
            an employee or employees thereof, debited the amount of $53,000.00 from
            the Joint Bank Account (the “First Fraudulent Debit”) and undertook a Wire
            Transfer in a corresponding amount to a Tapsoba Emmanuel through Coris
            Bank International in Burkina Faso via Societe General du Banque in Paris
            as correspondent bank (the “First Fraudulent Wire Transfer”).

83.2        On or about 30 November 2010, Defendant Wells Fargo, by and/or through
            an employee or employees thereof, debited the amount of $53,000.00 from
            the Joint Bank Account (the “Second Fraudulent Debit”) and undertook a
            Wire Transfer in a corresponding amount to a Dipama Issaka through
            Societe Générale Bank in New York for the further credit of Banque
            Commercial du Burkina in Burkina Faso (the “Second Fraudulent Wire
            Transfer”).

83.3        On or about 9 December 2010, Defendant Wells Fargo, by and/or through
            an employee or employees thereof, debited the amount of $21,000.00 from
            the Joint Bank Account (the “Third Fraudulent Debit”) and undertook a
            Wire Transfer in a corresponding amount to a Dipama Issaka through
            Societe Générale Bank in New York for the further credit of Banque
            Commercial du Burkina in Burkina Faso (the “Third Fraudulent Wire
            Transfer”).

83.4        On or about 15 December 2010, Defendant Wells Fargo, by and/or through
            an employee or employees thereof, debited the amount of $100.00 from the
            Joint Bank Account (the “Fourth Fraudulent Debit”) and undertook a Wire
            Transfer in a corresponding amount (the “Fourth Fraudulent Wire
            Transfer”).

83.5        On or about 20 December 2010, Defendant Wells Fargo, by and/or through
            an employee or employees thereof, debited the amount of $670,000.00
            from the Joint Bank Account (the “Fifth Fraudulent Debit”) and undertook
            a Wire Transfer in a corresponding amount to Plaintiff Riad in Burkina Faso


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              through Eco Bank in Burkina Faso (the “Fifth Fraudulent Wire Transfer”).

83.6          On or about 18 January 2011, Defendant Wells Fargo, by and/or through
              an employee or employees thereof, debited the amount of $271,635.00
              from the Joint Bank Account (the “Sixth Fraudulent Debit”) and undertook
              a Wire Transfer in a corresponding amount to OBS Imports/Exports in
              Burkina Faso through Eco Bank in Burkina Faso (the “Sixth Fraudulent
              Wire Transfer”).

       (collectively the “Six Fraudulent Debits” and “Six Fraudulent Wire Transfers”).

84.    Each of the Six Fraudulent Debits and each of the Six Fraudulent Wire Transfers
       were undertaken by Defendant Wells Fargo, by and/or through an employee or
       employees thereof, without the knowledge, consent or authority of Plaintiff Riad
       and Plaintiff Riad Holdings.

85.    Despite repeated requests by Plaintiff Riad and/or Plaintiff Raid Holdings,
       Defendant Wells Fargo has been unable or unwilling to produce any SWIFT
       message related to any of the Six Fraudulent Wire Transfers to confirm the
       dispatch and/or receipt of funds related thereto.

86.    Because Defendant Wells Fargo, by and/or through an employee or employees
       thereof, has failed to produce any SWIFT messages related to any of the Six
       Fraudulent Wire Transfers, Plaintiff Riad and/or Plaintiff Riad Holdings is unable to
       ascertain whether or not:

       (a)    The First Fraudulent Wire Transfer reached its intended beneficiary;

       (b)    The Second Fraudulent Wire Transfer reached its intended beneficiary;

       (c)    The Third Wire Transfer reached its intended beneficiary;

       (d)    The Fourth Wire Transfer reached its intended beneficiary;

       (e)    The Fifth Wire Transfer reached its intended beneficiary; and



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       (f)    The Sixth Wire Transfer reached its intended beneficiary.

87.    Plaintiff Riad and Plaintiff Riad Holdings aver that Plaintiff Riad did not receive the
       Fraudulent Fifth Wire Transfer.

88.    Defendant Wells Fargo has produced three (3) versions of a Wire Transfer
       Request Form related to the First Fraudulent Wire Transfer (the “Three Versions
       of the First Fraudulent Wire Transfer Request Form”).

88.1          The First Version of the First Fraudulent Wire Transfer Request Form was
              provided to Plaintiff Riad by an employee of Defendant Wells Fargo on or
              about September 2016.

88.2          The Second Version of the First Fraudulent Wire Transfer Request Form
              was provided to Plaintiff Riad by Defendant Wells Fargo on or about May
              2018 as part of a Request for Admissions.

88.3          The Third Version of the First Fraudulent Wire Transfer Request Form was
              provided to Plaintiff Riad by Defendant Wells Fargo on or about May 2018
              as part of a Request for Admissions.

89.    Defendant Wells Fargo relies upon a Wire Transfer Request Form provided to
       Plaintiff Riad on or about September 2016 that purports to relate to the First
       Fraudulent Wire Transfer (the “First Version of the First Fraudulent Wire
       Transfer Request Form”). A true and correct copy of the First Version of the First
       Fraudulent Wire Transfer Request Form is annexed as Appendix 1.

90.    The First Fraudulent Wire Transfer Request Form in incomplete in at least eight
       (8) material respects.

90.1          It does not have a Customer Signature.

90.2          It has been dated but in the handwriting of Leesa Wyatt (“Wyatt”), an
              employee of Defendant Wells Fargo and initiator of the First Fraudulent
              Wire Transfer Request Form.


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90.3          It does not have a Preparer’s Signature.

90.4          It does not have an Authorized Signature.

90.5          It does not have a Verifier’s Signature.

90.6          It does not have an address for the Receiving Bank.

90.7          It does not have an address for the Beneficiary.

90.8          The Customer Contract, an integral term of every Wire Transfer Request
              Form, has not been signed any party, including Plaintiff Riad or Plaintiff Riad
              Holdings.

91.    The incompleteness of material provisions of the First Fraudulent Wire Transfer
       Request Form, including but not limited to the absence of any Preparer’s
       Signature, Authorized Signature, Verifier’s Signature and Customer Signature,
       demonstrates prima face disregard by Defendant Wells Fargo, by and/or through
       an employee or employees thereof, for following established policies and/or
       procedures and/or customary banking best practices.

92.    The absence of a Customer Signature on the Customer Contract voids the Terms
       & Conditions of the First Fraudulent Wire Transfer Request Form and
       demonstrates prima face disregard by Defendant Wells Fargo, by and/or through
       its employees, for following established policies and/or procedures and/or
       customary banking best practices.

93.    The First Version of the First Fraudulent Wire Transfer Request Form contains the
       signature of Wyatt as the Initiator’s Signature. It is the only signature on this Form.

94.    The First Version of the First Fraudulent Wire Transfer Request Form contains:

       (a)    Handwritten annotations in the upper right hand corner of the document (the
              “First Handwritten Notes”); and

       (b)    A handwritten scratch over the words “Paris” towards the lower left hand


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             corner of the document (the “Paris Scratch”).

95.    Defendant Wells Fargo produced another Wire Transfer Request Form to Plaintiff
       Riad on or about May 2018 that purports to relate to the First Fraudulent Wire
       Transfer (the “Second Version of the First Fraudulent Wire Transfer Request
       Form”). A true and correct copy of the Second Version of the First Fraudulent
       Wire Transfer Request Form is annexed as Appendix 2.

96.    The Second Version of the First Fraudulent Wire Transfer Request Form is
       identical to the First Version of the First Fraudulent Wire Transfer Request Form
       except in seven (7) material respects.

96.1         A Customer Signature has been added to the Second Version of the First
             Fraudulent Wire Transfer Request Form not found in the First Version of the
             First Fraudulent Wire Transfer Request Form.

96.2         The handwritten date in the lower right hand corner of the Second Version
             of the First Fraudulent Wire Transfer Request Form is written in a different
             form and in different handwriting than the form and handwriting found on
             the First Version of the First Fraudulent Wire Transfer Request Form.

96.3         The Paris Scratch found in the First Version of the First Fraudulent Wire
             Transfer Request Form is not found on the Second the Second Version of
             the First Fraudulent Wire Transfer Request Form.

96.4         A “X” mark indicating that the wire transfer request was generated on a
             “Customer Initiated” basis not found on the First Version of the First
             Fraudulent Wire Transfer Request Form has been added to the Second
             Version of the First Fraudulent Wire Transfer Request Form.

96.5         The Second Version of the First Fraudulent Wire Transfer Request Form
             contains handwritten annotations in the upper right hand corner of the
             document (the “Second Handwritten Notes”) which have the same
             information but written in a different color pen in different handwriting and in


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             different positions than the First Handwritten Notes found on the First
             Version of the First Fraudulent Wire Transfer Request Form.

96.6         The Second Version of the First Fraudulent Wire Transfer Request Form
             contains a handwritten reference to a debit card number written in a different
             color pen (the “Handwritten Debit Card Information”) which is not found
             on the First Version of the First Fraudulent Wire Transfer Request Form.

96.7         The Second Version of the First Fraudulent Wire Transfer Request Form
             contains the signature of Wyatt as the Initiator’s Signature:

             (a)    It is the only signature on the Form; and

             (b)    The Initiator’s Signature is similar but different to the Initiator’s
                    Signature found on the First Version of the First Fraudulent Wire
                    Transfer Request Form.

97.    Defendant Wells Fargo produced another Wire Transfer Request Form to Plaintiff
       Riad on or about May 2018 that purports to relate to the First Fraudulent Wire
       Transfer (the “Third Version of the First Fraudulent Wire Transfer Request
       Form”). A true and correct copy of the Third Version of the First Fraudulent Wire
       Transfer Request Form is annexed as Appendix 3.

98.    The Third Version of the First Fraudulent Wire Transfer Request Form is identical
       to the First Version of the First Fraudulent Wire Transfer Request Form and the
       Second Version of the First Fraudulent Wire Transfer Request Form except in
       eleven (11) material respects:

98.1         A Verifier’s Signature has been added to the Third Version of the First
             Fraudulent Wire Transfer Request Form which is:

             (a)    Not found in the First Version of the First Fraudulent Wire Transfer
                    Request Form or the Second Version of the First Fraudulent Wire
                    Transfer Request Form;



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            (b)    Illegible; and

            (c)    Not known to represent the signature of any employee of Defendant
                   Wells Fargo at the Branch known to Plaintiff Riad and/or Plaintiff Riad
                   Holdings.

98.2        The Customer Signature on the Third Version of the First Fraudulent Wire
            Transfer Request Form is similar but not the same as the Customer
            Signature found on the Second Version of the First Fraudulent Wire
            Transfer Request Form.

98.3        The “X” mark indicating that the wire transfer request was generated on a
            “Customer Initiated” basis found on the Third Version of the First Fraudulent
            Wire Transfer Request Form is different to the “X” mark found on the
            Second Version of the First Fraudulent Wire Transfer Request Form.

98.4        A “X” mark indicating that the wire transfer request was generated on an
            “Internal” basis has been added to the Third Version of the First Fraudulent
            Wire Transfer Request Form and then scratched out by hand. Neither of
            these marks are found in the First Version of the First Fraudulent Wire
            Transfer Request Form or the Second Version of the First Fraudulent Wire
            Transfer Request Form.

98.5        The First Handwritten Notes found on the First Version of the First
            Fraudulent Wire Transfer Request Form and the Second Handwritten Notes
            found on the Second Version of the First Fraudulent Wire Transfer Request
            Form are not found on the Third Version of the First Fraudulent Wire
            Transfer Request Form.

98.6        The Handwritten Debit Card Information found on the Second Version of
            the First Fraudulent Wire Transfer Request Form is not found on the Third
            Version of the First Fraudulent Wire Transfer Request Form.




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98.7          The Paris Scratch found on the First Version of the First Fraudulent Wire
              Transfer Request Form is not found on the Third Version of the First
              Fraudulent Wire Transfer Request Form.

98.8          The Third Version of the First Fraudulent Wire Transfer Request Form
              contains the signature of Wyatt as the Initiator’s Signature. The Initiator’s
              Signature found on the Third Version of the First Fraudulent Wire Transfer
              Request Form is similar but not the same as the Initiator’s Signature found
              on the First Version of the First Fraudulent Wire Transfer Request Form or
              Second Version of the First Fraudulent Wire Transfer Request Form.

98.9          The Third Version of the First Fraudulent Wire Transfer Request Form
              contains a date and time markings in the upper left hand corner and a page
              notation in upper right hand corner of the form that are not present in the
              First Version of the First Fraudulent Wire Transfer Request Form or Second
              Version of the First Fraudulent Wire Transfer Request Form.

98.10         The Third Version of the First Fraudulent Wire Transfer Request Form
              contains markings in the lower right hand corner and lower left hand corner
              of the form that are not present in the First Version of the First Fraudulent
              Wire Transfer Request Form or Second Version of the First Fraudulent Wire
              Transfer Request Form.

99.     Upon review of the Three Versions of the First Fraudulent Wire Transfer Request
        Form, Plaintiff Riad and Plaintiff Riad Holdings aver that each of the Three
        Versions of the First Fraudulent Wire Transfer Request Form are distinct and
        separate forms and not the same form and/or iterations of the same form.

100.    The Second Version of the First Fraudulent Wire Transfer Request Form and the
        Third Version of the First Fraudulent Wire Transfer Request Form each contain a
        Customer Signature purportedly to be that of Plaintiff Riad.

100.1         Plaintiff Riad denies that he signed the Second Version of the First
              Fraudulent Wire Transfer Request Form.


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100.2         Plaintiff Riad denies that he signed the Third Version of the First Fraudulent
              Wire Transfer Request Form.

100.3         Plaintiff Riad avers that the Customer Signature on the Second Version of
              the First Fraudulent Wire Transfer Form is an unauthorized signature,
              forgery and fraudulent signature and in violation of Title 18, Pa. C.S.A.
              Crimes and Offenses § 4201 et seq. (forgery).

100.4         Plaintiff Riad avers that the Customer Signature on the Third Version of the
              First Fraudulent Wire Transfer Form is an unauthorized signature, forgery
              and fraudulent signature and in violation of Title 18, Pa. C.S.A. Crimes and
              Offenses § 4201 et seq. (forgery).

101.    Plaintiff Riad and Plaintiff Riad Holdings deny any knowledge of the First
        Fraudulent Debit and First Fraudulent Wire Transfer prior to their undertaking.

102.    Plaintiff Riad and Plaintiff Riad Holdings did not provide any consent or authority
        for Defendant Wells Fargo, by and/or through an employee or employees thereof,
        to undertake the First Fraudulent Debit and/or First Fraudulent Wire Transfer.

103.    On or about 26 November 2010, Plaintiff Riad came to possess a copy of the First
        Version of the First Fraudulent Wire Transfer Form which was the first instance of
        his knowledge of the First Fraudulent Wire Transfer.

103.1         Plaintiff Riad immediately notified Defendant Wells Fargo that he did not
              authorize the First Fraudulent Wire Transfer.

103.2         Plaintiff Riad immediately demanded that Defendant Wells Fargo cancel the
              First Fraudulent Debit and First Fraudulent Wire Transfer and return all
              funds related thereto to the Joint Account.

104.    On or about 26 November 2010, Defendant Wells Fargo, through Randolph and/or
        another employee or employees of Defendant Wells Fargo, completed a reverse
        wire of approximately $53,000 into the Joint Account (the “Reverse Wire of the
        First Fraudulent Wire Transfer”).

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104.1         Defendant Wells Fargo debited fees from the Joint Account for performing
              the Reverse Wire of the First Fraudulent Wire Transfer to the prejudice and
              loss of Plaintiff Riad and/or Plaintiff Riad Holdings.

104.2         Defendant Wells Fargo has refused to repay Plaintiff Riad and/or Riad
              Holdings the amount of fees deducted from the Joint Account in respect of
              the Reverse Wire of the First Fraudulent Wire Transfer despite repeated
              demands by Plaintiff Riad and/or Plaintiff Riad Holdings for the same.

105.    On or about 30 November 2010, Defendant Wells Fargo, by and/or through an
        employee or employees thereof, undertook the Second Fraudulent Wire Transfer
        for $53,000.00, the exact same amount as the First Fraudulent Wire Transfer.

105.1         Defendant Wells Fargo, by and/or through an employee or employees
              thereof, undertook the Second Fraudulent Wire Transfer despite knowledge
              that Plaintiff Riad and/or Plaintiff Riad Holdings had not authorized the First
              Fraudulent Wire Transfer only seven (7) days beforehand.

105.2         Defendant Wells Fargo, by and/or through an employee or employees
              thereof, undertook the Second Fraudulent Wire Transfer despite knowledge
              and that Defendant Wells Fargo had undertaken a Reverse Wire of the First
              Fraudulent Wire Transfer only four (4) days beforehand because the First
              Fraudulent Wire Transfer was not authorized by Plaintiff Riad and/or Plaintiff
              Riad Holdings.

106.    Defendant Wells Fargo relies upon a Wire Transfer Request Form that it provided
        to Plaintiff Riad on or about May 2018 that purports to relate to the Second
        Fraudulent Wire Transfer (the “Second Fraudulent Wire Transfer Request
        Form”). A true and correct copy of the Second Fraudulent Wire Transfer Request
        Form is annexed as Appendix 4.

107.    The Second Fraudulent Wire Transfer Request Form contains:

        (a)   The signature of Randolph as the Initiator’s Signature; and


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        (b)    The signature of Wyatt as the Verifier’s Signature.

108.    The Second Fraudulent Wire Transfer Request Form is incomplete in at least four
        (4) material respects.

108.1          It does not have a Preparer’s Signature.

108.2          It does not have an Authorized Signature.

108.3          It does not have an address for the Receiving Bank.

108.4          It does not have an address for the Beneficiary.

109.    The incompleteness of material provisions of the Second Fraudulent Wire Transfer
        Request Form including, but not limited to, the absence of any Preparer’s
        Signature and Authorized Signature, demonstrates prima face disregard by
        Defendant Wells Fargo, by and/or through an employee or employees thereof, for
        following established policies and/or procedures and/or customary banking best
        practices.

110.    The Second Fraudulent Wire Transfer Request Form contains a Customer
        Signature purportedly to be that of Plaintiff Riad.

111.    Plaintiff Riad:

        (a)    Denies that he signed the Second Fraudulent Wire Transfer Request Form;
               and

        (b)    Avers that the Customer Signature on the Second Fraudulent Wire Transfer
               Form is an unauthorized signature, forgery and fraudulent signature and in
               violation of Title 18, Pa. C.S.A. Crimes and Offenses § 4201 et seq.
               (forgery).

112.    On or about between September 2016 and 2018, Plaintiff Riad and/or Plaintiff Riad
        Holdings discovered the Second Fraudulent Debit and/or Second Fraudulent Wire
        Transfer and/or the Second Fraudulent Wire Request Form when Plaintiff Riad


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        was provided with the Limited Bank Statements by an employee of Defendant
        Wells Fargo.

112.1          Plaintiff Riad immediately notified Defendant Wells Fargo, by and/or
               through an employee or employees thereof, that he did not authorize the
               Second Fraudulent Debit and/or Second Fraudulent Wire Transfer.

112.2          Plaintiff Riad immediately demanded that Defendant Wells Fargo, by and/or
               through an employee or employees thereof, cancel the Second Fraudulent
               Debit and/or Second Fraudulent Wire Transfer and return all funds related
               thereto to the Joint Account.

113.    Plaintiff Riad and/or Plaintiff Riad Holdings deny any knowledge of the Second
        Fraudulent Debit and/or Second Fraudulent Wire Transfer prior to their
        undertaking.

114.    Plaintiff Riad and/or Plaintiff Riad Holdings did not provide any consent or authority
        for Defendant Wells Fargo, by and/or through an employee or employees thereof,
        to undertake the Second Fraudulent Debit and/or Second Fraudulent Wire
        Transfer.

115.    Defendant Wells Fargo has refused to credit the Joint Account or any other
        account held by Plaintiff Riad and/or Plaintiff Riad Holdings for the amount of the
        Second Fraudulent Debit and/or Second Fraudulent Wire Transfer despite
        repeated demands by Plaintiff Riad and/or Plaintiff Riad Holdings to Defendant
        Wells Fargo for the same.

116.    Defendant Wells Fargo relies upon a Wire Transfer Request Form that it purports
        to relate to the Third Fraudulent Wire Transfer (the “Third Fraudulent Wire
        Transfer Request Form”). A true and correct copy of the Third Fraudulent Wire
        Transfer Request Form is annexed as Appendix 5.

117.    The Third Fraudulent Wire Transfer Request Form is incomplete in at least seven
        (7) material respects.


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117.1          It does not have a Customer Signature.

117.2          It does not have a Preparer’s Signature.

117.3          It does not have a Verifier’s Signature.

117.4          It does not have an Authorized Signature.

117.5          It does not have an address for the Receiving Bank.

117.6          It does not have an address for the Beneficiary.

117.7          The Customer Contract, an integral term of every Wire Transfer Request
               Form, has not been signed any party, including Plaintiff Riad or Plaintiff Riad
               Holdings.

118.    The incompleteness of material provisions of the Third Fraudulent Wire Transfer
        Request Form including, but not limited to, the absence of any Customer
        Signature, Preparer’s Signature, Verifier’s Signature and Authorized Signature,
        demonstrates prima face disregard by Defendant Wells Fargo, by and/or through
        an employee or employees thereof, for following established policies and/or
        procedures and/or customary banking best practices.

119.    The absence of a Customer Signature on the Customer Contract voids the Terms
        & Conditions of the Third Fraudulent Wire Transfer Request Form and
        demonstrates prima face disregard by Defendant Wells Fargo, by and/or through
        an employee or employees thereof, for following established policies and/or
        procedures and/or customary banking best practices.

120.    The Third Fraudulent Wire Transfer Request Form contains the signature of Wyatt
        as the Initiator’s Signature. It is the only signature on this Form.

121.    On or about September 2016, Plaintiff Riad and/or Plaintiff Riad Holdings
        discovered the Third Fraudulent Debit and/or Third Fraudulent Wire Transfer when
        Plaintiff Riad was provided with the Limited Bank Statements by an employee of



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        Defendant Wells Fargo.

121.1          Plaintiff Riad immediately notified Defendant Wells Fargo, by and/or
               through an employee or employees thereof, that he did not authorize the
               Third Fraudulent Debit and/or Third Fraudulent Wire Transfer.

121.2          Plaintiff Riad immediately demanded that Defendant Wells Fargo, by and/or
               through an employee or employees thereof, cancel the Third Fraudulent
               Debit and/or reverse the Third Fraudulent Wire Transfer and return all funds
               related thereto to the Joint Account.

122.    Plaintiff Riad and/or Plaintiff Riad Holdings:

        (a)    Deny any knowledge of the Third Fraudulent Debit and/or Third Fraudulent
               Wire Transfer prior to their undertaking; and

        (b)    Did not provide any consent or authority for Defendant Wells Fargo, by
               and/or through an employee or employees thereof, to undertake the Third
               Fraudulent Debit and/or Third Fraudulent Wire Transfer.

123.    Defendant Wells Fargo has refused to credit the Joint Account or any other
        account held by Plaintiff Riad and/or Plaintiff Riad Holdings for the amount of the
        Third Fraudulent Debit and/or Third Fraudulent Wire Transfer despite repeated
        demands by Plaintiff Riad and/or Plaintiff Riad Holdings to Defendant Wells Fargo
        for the same.

124.    Defendant Wells Fargo has been unable to produce any Wire Transfer Request
        Form that relates to the Fourth Fraudulent Wire Transfer despite repeated
        demands by Plaintiff Riad and Plaintiff Riad Holdings for Defendant Wells Fargo
        to produce the same.

125.    On or about between September 2016 and 2018, Plaintiff Riad and/or Plaintiff Riad
        Holdings discovered the Fourth Fraudulent Debit and/or Fourth Fraudulent Wire
        Transfer when Plaintiff Riad was provided with the Limited Bank Statements by an
        employee of Defendant Wells Fargo which reflected charges levied against the

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        Joint Bank Account by Defendant Wells Fargo, by and/or through an employee or
        employees thereof, in relation to the Fourth Fraudulent Debit and/or Fourth
        Fraudulent Wire Transfer.

125.1          Plaintiff Riad immediately notified Defendant Wells Fargo, by and/or
               through an employee or employees thereof, that he did not authorize the
               Fourth Fraudulent Debit and/or Fourth Fraudulent Wire Transfer.

125.2          Plaintiff Riad immediately demanded that Defendant Wells Fargo, by and/or
               through an employee or employees thereof, cancel the Fourth Fraudulent
               Debit and/or reverse the Fourth Fraudulent Wire Transfer and return all
               funds related thereto to the Joint Account.

126.    Plaintiff Riad and/or Plaintiff Riad Holdings deny any knowledge of the Fourth
        Fraudulent Debit and/or Fourth Fraudulent Wire Transfer prior to their undertaking.

127.    Plaintiff Riad and/or Plaintiff Riad Holdings did not provide any consent or authority
        for Defendant Wells Fargo, by and/or through an employee or employees thereof,
        to undertake the Fourth Fraudulent Debit and/or Fourth Fraudulent Wire Transfer.

128.    Plaintiff Riad was out of the country on the date of the Fourth Fraudulent Debit
        and/or Fourth Fraudulent Wire Transfer.

129.    Defendant Wells Fargo has refused to credit the Joint Account or any other
        account held by Plaintiff Riad and/or Plaintiff Riad Holdings for the amount of the
        Fourth Fraudulent Debit and/or Fourth Fraudulent Wire Transfer despite repeated
        demands by Plaintiff Riad and/or Plaintiff Riad Holdings to Defendant Wells Fargo
        for the same.

130.    Defendant Wells Fargo has produced two (2) versions of a Wire Transfer Request
        Form related to the Fifth Fraudulent Wire Transfer (the “Two Versions of the Fifth
        Fraudulent Wire Transfer Request Form”).

130.1          The First Version of the Fifth Fraudulent Wire Transfer Request Form was
               provided to Plaintiff Riad by an employee of Defendant Wells Fargo on or

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               about December 2018.

130.2          The Second Version of the First Fraudulent Wire Transfer Request Form
               was provided to Plaintiff Riad by Defendant Wells Fargo on or about May
               2018.

131.    Defendant Wells Fargo relies upon a Wire Transfer Request Form that it provided
        to Plaintiff Riad on or about December 2018 that purports to relate to the Fifth
        Fraudulent Wire Transfer (the “First Version of the Fifth Fraudulent Wire
        Transfer Request Form”). A true and correct copy of the First Version of the Fifth
        Fraudulent Wire Transfer Request Form is annexed as Appendix 6.

132.    The First Version of the Fifth Fraudulent Wire Transfer Request Form is incomplete
        in at least eight (8) material respects.

132.1          It does not have a Customer Signature.

132.2          It does not have an Authorized Signature.

132.3          It does not have an Initiator’s Signature.

132.4          It does not have a Verifier’s Signature.

132.5          It does not have a Preparer’s Signature.

132.6          It does not specify if the request was “Internal” or “Customer Initiated”.

132.7          It is not dated by the purported customer thereof.

132.8          It does not have an address for the Beneficiary.

133.    The incompleteness of material provisions of the Fist Version of the Fifth
        Fraudulent Wire Transfer Request Form including, but not limited to, the absence
        of any signature at all (including the Customer Signature, Authorized Signature,
        Initiator’s Signature, Verifier’s Signature and Preparer’s Signature), demonstrates
        prima face disregard by Defendant Wells Fargo, by and/or through an employee



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        or employees thereof, for following established policies and/or procedures and/or
        customary banking best practices.

134.    The absence of a Customer Signature on the Customer Contract voids the Terms
        & Conditions of the Third Fraudulent Wire Transfer Request Form and
        demonstrates prima face disregard by Defendant Wells Fargo, by and/or through
        an employee or employees thereof, for following established policies and/or
        procedures and/or customary banking best practices.

135.    Defendant Wells Fargo relies upon a Wire Transfer Request Form that it provided
        to Plaintiff Riad on or about May 2018 that purports to relate to the Fifth Fraudulent
        Wire Transfer (the “Second Version of the Fifth Fraudulent Wire Transfer
        Request Form”). A true and correct copy of the Second Version of the Fifth
        Fraudulent Wire Transfer Request Form is annexed as Appendix 7.

136.    The Second Version of the Fifth Fraudulent Wire Transfer Request Form is
        incomplete in at least four (4) material respects.

136.1          It does not have an Authorized Signature.

136.2          It does not have a Preparer’s Signature.

136.3          It is not dated by the purported customer thereof.

136.4          It does not have an address for the Beneficiary.

137.    The incompleteness of material provisions of the Second Version of the Fifth
        Fraudulent Wire Transfer Request Form including, but not limited to, the absence
        of any Preparer’s Signature and Authorized Signature, demonstrates prima face
        disregard by Defendant Wells Fargo, by and/or through an employee or employees
        thereof, for following established policies and/or procedures and/or customary
        banking best practices.

138.    The Second Version of the Fifth Fraudulent Wire Transfer Request Form contains
        a Customer Signature purportedly to be that of Plaintiff Riad.


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138.1         Plaintiff Riad denies that he signed the Second Version of the Fifth
              Fraudulent Wire Transfer Request Form.

138.2         Plaintiff Riad avers that the Customer Signature on the Second Version of
              the Fifth Fraudulent Wire Transfer Form is an unauthorized signature,
              forgery and fraudulent signature and in violation of Title 18, Pa. C.S.A.
              Crimes and Offenses § 4201 et seq. (forgery).

138.3         Plaintiff Riad was out of the country on the date of each of the Two Versions
              of the Fifth Fraudulent Debit and/or Fifth Fraudulent Wire Transfer.

139.    The Second Version of the Fifth Fraudulent Wire Transfer Request Form contains:

        (a)       The signature of Randolph as the Initiator’s Signature.

        (b)       The signature of Wyatt as the Verifier’s Signature.

140.    On or about between September 2016 and 2018, Plaintiff Riad and/or Plaintiff Riad
        Holdings discovered the Fifth Fraudulent Debit and/or Fifth Fraudulent Wire
        Transfer and/or the First Version of the Fifth Fraudulent Wire Transfer Request
        Form and/or the Second Version of the Fifth Fraudulent Wire Transfer Request
        Form when Plaintiff Riad was provided with the Limited Bank Statements by
        counsel for Defendant Wells Fargo.

140.1         Plaintiff Riad immediately notified Defendant Wells Fargo, by and/or
              through an employee or employees thereof, that he did not authorize the
              Fifth Fraudulent Debit and/or Fifth Fraudulent Wire Transfer.

140.2         Plaintiff Riad immediately demanded that Defendant Wells Fargo, by and/or
              through an employee or employees thereof, cancel the Fifth Fraudulent
              Debit and/or reverse the Fifth Fraudulent Wire Transfer and return all funds
              related thereto to the Joint Account.

141.    Plaintiff Riad and/or Plaintiff Riad Holdings deny any knowledge of the Fifth
        Fraudulent Debit and/or Fifth Fraudulent Wire Transfer prior to their undertaking.


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142.    Plaintiff Riad and/or Plaintiff Riad Holdings did not provide any consent or authority
        for Defendant Wells Fargo, by and/or through an employee or employees thereof,
        to undertake the Fifth Fraudulent Debit and/or Fifth Fraudulent Wire Transfer.

143.    Defendant Wells Fargo has refused to credit the Joint Account or any other
        account held by Plaintiff Riad and/or Plaintiff Riad Holdings for the amount of the
        Fifth Fraudulent Debit and/or Fifth Fraudulent Wire Transfer despite repeated
        demands by Plaintiff Riad and/or Plaintiff Riad Holdings to Defendant Wells Fargo
        for the same.

144.    Defendant Wells Fargo relies upon a Wire Transfer Request Form that it purports
        to relate to the Sixth Fraudulent Wire Transfer (the “Sixth Fraudulent Wire
        Transfer Request Form”). A true and correct copy of the Sixth Fraudulent Wire
        Transfer Request Form is annexed as Appendix 8.

145.    The Sixth Fraudulent Wire Transfer Request Form is incomplete in at least eight
        (8) material respects.

145.1          It does not have a Customer Signature.

145.2          It does not have an Authorized Signature.

145.3          It does not have an Initiator’s Signature.

145.4          It does not have any Preparer’s Signature.

145.5          It does not have a Verifier’s Signature.

145.6          It is not dated by the purported customer thereof.

145.7          It does not have an address for the Beneficiary.

145.8          The Customer Contract, an integral term of every Wire Transfer Request
               Form, has not been signed any party, including Plaintiff Riad or Plaintiff Riad
               Holdings.




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146.    The incompleteness of material provisions of the Sixth Fraudulent Wire Transfer
        Request Form including, but not limited to, the absence of any signature at all
        (including the Customer Signature, Preparer’s Signature, Initiator’s Signature,
        Verifier’s Signature and Authorized Signature), demonstrates prima face disregard
        by Defendant Wells Fargo, by and/or through an employee or employees thereof,
        for following established policies and/or procedures and/or customary banking
        best practices.

147.    The absence of a Customer Signature on the Customer Contract voids the Terms
        & Conditions of the Sixth Fraudulent Wire Transfer Request Form and
        demonstrates prima face disregard by Defendant Wells Fargo, by and/or through
        its employees, for following established policies and/or procedures and/or
        customary banking best practices.

148.    Plaintiff Riad was out of the country on the date of the Sixth Fraudulent Debit and/or
        Sixth Fraudulent Wire Transfer.

149.    On or about between 2016 and about 2018, Plaintiff Riad and/or Plaintiff Riad
        Holdings discovered the Sixth Fraudulent Debit and/or Sixth Fraudulent Wire
        Transfer and/or the Sixth Fraudulent Wire Transfer Request Form when Plaintiff
        Riad was provided with the Limited Bank Statements by an employee of Defendant
        Wells Fargo.

149.1          Plaintiff Riad immediately notified Defendant Wells Fargo, by and/or
               through an employee or employees thereof, that he did not authorize the
               Sixth Fraudulent Debit and/or Sixth Fraudulent Wire Transfer.

149.2          Plaintiff Riad immediately demanded that Defendant Wells Fargo, by and/or
               through an employee or employees thereof, cancel the Sixth Fraudulent
               Debit and/or reverse the Sixth Fraudulent Wire Transfer and return all funds
               related thereto to the Joint Account.

150.    Plaintiff Riad and/or Plaintiff Riad Holdings deny any knowledge of the Sixth
        Fraudulent Debit and/or Sixth Fraudulent Wire Transfer prior to their undertaking.


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151.    Plaintiff Riad and/or Plaintiff Riad Holdings did not provide any consent or authority
        for Defendant Wells Fargo, by and/or through an employee or employees thereof,
        to undertake the Sixth Fraudulent Debit and/or Sixth Fraudulent Wire Transfer.

152.    Defendant Wells Fargo has refused to credit the Joint Account or any other
        account held by Plaintiff Riad and/or Plaintiff Riad Holdings for the amount of the
        Sixth Fraudulent Debit and/or Sixth Fraudulent Wire Transfer (the “Fraudulent
        Eco Bank Wire Transfers”) despite repeated demands by Plaintiff Riad and/or
        Plaintiff Riad Holdings to Defendant Wells Fargo for the same.

153.    Randolph asserted via email correspondence to Plaintiff Riad that, inter alia:

153.1          Plaintiff Riad had requested that each of the Fraudulent Eco Bank Wire
               Transfers be reversed and Randolph had notified the Wire Operations
               Team of Defendant Wells Fargo (the “Wire Operations Team”) of the
               same.

153.2          Defendant Wells Fargo had initiated an investigation and assigned case
               workers to investigate the matter.

153.3          A claims investigation number had been assigned to each of the Six
               Fraudulent Wires; to wit:

               (a)     ‘XQR0302100429’ had been assigned to the investigation and/or
                       purported investigation related to the First Fraudulent Debit and/or
                       First Fraudulent Wire;

               (b)     'XQR0302100528’ had been assigned to the investigation and/or
                       purported investigation related to the Second Fraudulent Debit
                       and/or Second Fraudulent Wire;

               (c)     ‘XQR0302100219’ had been assigned to the investigation and/or
                       purported investigation related to the Third Fraudulent Debit and/or
                       Third Fraudulent Wire;




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               (d)    ‘XQR0302100629’ had been assigned to the investigation and/or
                      purported investigation related to the Forth Fraudulent Debit and/or
                      Forth Fraudulent Wire;

               (e)    ‘XQR0302100729’ had been assigned to the investigation and/or
                      purported investigation related to the Fifth Fraudulent Debit and/or
                      Fifth Fraudulent Wire; and

               (f)    ‘XQR0302100834’ had been assigned to the investigation and/or
                      purported investigation related to the Sixth Fraudulent Debit and/or
                      Sixth Fraudulent Wire.

153.3          The Wire Operations Team would provide feedback of the investigation to
               Randolph within two (2) days of the correspondence

153.4          Randolph would provide feedback to Plaintiff Riad once he had feedback
               from the Wire Operations Team.

154.    Neither Randolph nor any other employee of Defendant Wells Fargo has provided
        feedback to Plaintiff Riad and/or Plaintiff Riad Holdings despite repeated promises
        demands for the same from Plaintiff Riad and/or Plaintiff Riad Holdings.

155.    Plaintiff Riad avers as follows:

155.1          Plaintiff Riad denies that he initiated the Fraudulent Eco Bank Transfers,
               particularly since Plaintiff Riad was out of the country at the time of the
               Fraudulent Eco Bank Transfers.

155.2          Plaintiff Riad demanded the reversal of the Fraudulent Eco Bank Transfers
               on the ground of breach of contract by Defendant Wells Fargo, by and/or
               through an employee or employees thereof.

156.    Defendant Wells Fargo benefitted from the Three Deposits, the Six Fraudulent
        Debits, the Six Fraudulent Wire Transfers, the Reverse Wire of the First Fraudulent
        Wire Transfer and the Wire Investigation Fees to the prejudice and loss of Plaintiff


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        Riad and/or Plaintiff Riad Holdings.

156.1         Defendant Wells Fargo charged Plaintiff Riad and/or Plaintiff Riad Holdings
              fees for completing the Three Deposits, the Six Fraudulent Debits, the Six
              Fraudulent Wire Transfers and/or the Reverse Wire of the First Fraudulent
              Wire Transfer to the prejudice and loss of Plaintiff Riad and/or Plaintiff Riad
              Holdings.

156.2         Defendant Wells Fargo charged Plaintiff Riad and/or Plaintiff Riad Holdings
              fees for its promise to investigate the Fraudulent Eco Bank Wire Transfers
              and/or in connection with and/or in relation to its promise and/or duty to
              credit the Joint Account in the amount of the Fraudulent Eco Bank Wire
              Transfers (the “Wire Investigation Fees”).

156.3         Defendant Wells Fargo paid Plaintiff Riad and/or Plaintiff Riad Holdings less
              interest on the balance of funds held in the Joint Account than otherwise
              due and payable to Plaintiff Riad and/or Plaintiff Riad Holdings without the
              absence of funds and fees associated with the Six Fraudulent Debits, the
              Six Fraudulent Wire Transfers and the Reverse Wire of the First Fraudulent
              Wire Transfer to the prejudice and loss of Plaintiff Riad and/or Plaintiff Riad
              Holdings.

157.    Upon information and belief, Plaintiff Riad and Plaintiff Riad Holdings aver that
        Defendant Wells Fargo, by and/or through an employee or employees thereof:

        (a)   Failed to maintain adequate policies and/or procedures;

        (b)   Failed to ensure that adequate policies and/or procedures and/or customary
              banking best practices were followed by an employee or employees of
              Defendant Wells Fargo; and/or

        (c)   Permitted an employee or employees of Defendant Wells Fargo or,
              alternatively, failed to permit an employee or employees of Defendant Wells
              Fargo, from engaging in conduct contrary to established policies and/or


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               procedures and/or customary banking best practices,

        which enabled an employee or employees of Defendant Wells Fargo to incorrectly
        and/or improperly undertake the Six Fraudulent Debits and/or Six Fraudulent Wire
        Transfers and/or charge fees and/or withhold interest otherwise due and payable
        to Plaintiff Riad and/or Plaintiff Riad Holdings without the knowledge, consent or
        authority of Plaintiff Riad and/or Plaintiff Riad Holdings to the prejudice of Plaintiff
        Riad and/or Plaintiff Riad Holdings including, but not limited to, the loss of
        $1,015,725.00 representing the amount debited from the Joint Account through
        the Second Fraudulent Debit to the Sixth Fraudulent Debt and/or Second
        Fraudulent Wire Transfer through Sixth Fraudulent Wire Transfer.

157.1          Defendant Wells Fargo did not credit and has not credited the Joint Account
               or any other account held by Defendant Wells Fargo for the benefit of
               Plaintiff Riad and/or Plaintiff Riad Holdings in the amount of $53,000.00
               representing proceeds of the Second Fraudulent Debit and/or Second
               Fraudulent Wire Transfer to the prejudice and loss of Plaintiff Riad and/or
               Plaintiff Riad Holdings.

157.2          Defendant Wells Fargo did not credit and has not credited the Joint Account
               or any other account held by Defendant Wells Fargo for the benefit of
               Plaintiff Riad and/or Plaintiff Riad Holdings in the amount of $21,000.00
               representing proceeds of the Third Fraudulent Debit and/or Third
               Fraudulent Wire Transfer to the prejudice and loss of Plaintiff Riad and/or
               Plaintiff Riad Holdings.

157.3          Defendant Wells Fargo did not credit and has not credited the Joint Account
               or any other account held by Defendant Wells Fargo for the benefit of
               Plaintiff Riad and/or Plaintiff Riad Holdings in the amount of $100.00
               representing proceeds of the Fourth Fraudulent Debit and/or Fourth
               Fraudulent Wire Transfer to the prejudice and loss of Plaintiff Riad and/or
               Plaintiff Riad Holdings.




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157.4         Defendant Wells Fargo did not credit and has not credited the Joint Account
              or any other account held by Defendant Wells Fargo for the benefit of
              Plaintiff Riad and/or Plaintiff Riad Holdings in the amount of $670,000.00
              representing proceeds of the Fifth Fraudulent Debit and/or Fifth Fraudulent
              Wire Transfer to the prejudice and loss of Plaintiff Riad and/or Plaintiff Riad
              Holdings.

157.5         Defendant Wells Fargo did not credit and has not credited the Joint Account
              or any other account held by Defendant Wells Fargo for the benefit of
              Plaintiff Riad and/or Plaintiff Riad Holdings in the amount of $271,635.00
              representing proceeds of the Sixth Fraudulent Debit and/or Sixth Fraudulent
              Wire Transfer to the prejudice and loss of Plaintiff Riad and/or Plaintiff Riad
              Holdings.

157.6         Defendant Wells Fargo did not credit and has not credited the Joint Account
              or any other account held by Defendant Wells Fargo for the benefit of
              Plaintiff Riad and/or Plaintiff Riad the amount of those fees and/or other
              charges deducted from the Joint Account by Defendant Wells Fargo in
              respect of the Six Fraudulent Debits and/or Six Fraudulent Wire Transfers
              and/or Reverse Wire of the First Fraudulent Wire Transfer.

157.7         Defendant Wells Fargo did not credit and has not credited the Joint Account
              or any other account held by Defendant Wells Fargo for the benefit of
              Plaintiff Riad and/or Plaintiff Riad the amount of the loss of interest that
              would have otherwise accrued to Plaintiff Riad and/or Riad Holdings in
              respect of the Six Fraudulent Debits and/or Six Fraudulent Wire Transfers
              and/or Reverse Wire of the First Fraudulent Wire Transfer and/or fees
              and/or other charges deducted from the Joint Account in respect of the
              same except for the absence of funds associated with the same.

158.    In addition and/or alternative to every other averment herein, Plaintiff Riad and
        Plaintiff Riad Holdings aver that Defendant Wells Fargo, by and/or through an
        employee or employees thereof:


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        (a)    Failed to maintain adequate policies and/or procedures;

        (b)    Failed to ensure that adequate policies and/or procedures and/or customary
               banking best practices were followed by an employee or employees of
               Defendant Wells Fargo; and/or

        (c)    Permitted an employee or employees of Defendant Wells Fargo or,
               alternatively, failed to permit any employee or employees of Defendant
               Wells Fargo, from engaging in conduct contrary to established policies
               and/or procedures and/or customary banking best practices,

        which compromised Defendant Wells Fargo’s safe custody and/or proper
        administrative control over the Joint Account and/or other accounts held by
        Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings
        and caused prejudice and loss to Plaintiff Riad and/or Plaintiff Riad Holdings
        including, but not limited, to the loss of $1,015,725.00.

158.1          Defendant Wells Fargo has failed to deliver the benefit of $53,000.00
               representing proceeds of the Second Fraudulent Debit and/or Second
               Fraudulent Wire Transfer despite repeated demands from Plaintiff Riad
               and/or Plaintiff Riad Holdings as owners of such funds for the same.

158.2          Defendant Wells Fargo has failed to deliver the benefit of $21,000.00
               representing proceeds of the Third Fraudulent Debit and/or Third
               Fraudulent Wire Transfer despite repeated demands from Plaintiff Riad
               and/or Plaintiff Riad Holdings as owners of such funds for the same.

158.3          Defendant Wells Fargo has failed to deliver the benefit of $100.00
               representing proceeds of the Fourth Fraudulent Debit and/or Fourth
               Fraudulent Wire Transfer despite repeated demands from Plaintiff Riad
               and/or Plaintiff Riad Holdings as owners of such funds for the same.

158.4          Defendant Wells Fargo has failed to deliver the benefit of $670,000.00
               representing proceeds of the Fifth Fraudulent Debit and/or Fifth Fraudulent


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               Wire Transfer despite repeated demands from Plaintiff Riad and/or Plaintiff
               Riad Holdings as owners of such funds for the same.

158.5          Defendant Wells Fargo has failed to deliver the benefit of $271,635.00
               representing proceeds of the Sixth Fraudulent Debit and/or Sixth Fraudulent
               Wire Transfer despite repeated demands from Plaintiff Riad and/or Plaintiff
               Riad Holdings as owners of such funds for the same.

158.6          Defendant Wells Fargo has failed to deliver the benefit of the amount of fees
               improperly charged to Plaintiff Riad and/or Plaintiff Riad by Defendant Wells
               Fargo in respect of the Six Fraudulent Debits and/or Six Fraudulent Wire
               Transfers undertaken by Defendant Wells Fargo, by and/or through an
               employee or employees thereof, despite repeated demands from Plaintiff
               Riad and/or Plaintiff Riad Holdings for the same.

158.7          Defendant Wells Fargo has failed to deliver the benefit of the amount of
               interest incorrectly and/or improperly and/or erroneously not paid to Plaintiff
               Riad and/or Plaintiff Riad by Defendant Wells Fargo due to the lower
               balance in the Joint Account arising from the incorrect and/or improper
               withdrawal of funds associated the Six Fraudulent Debits and/or Six
               Fraudulent Wire Transfers and/or fees and/or other charges incorrectly
               and/or improperly and/or erroneously deducted from the Joint Account in
               relation to the Six Fraudulent Debits and/or Six Fraudulent Wire Transfers
               undertaken by Defendant Wells Fargo, by and/or through an employee or
               employees thereof, despite repeated demands from Plaintiff Riad and/or
               Plaintiff Riad Holdings for the same.

159. Defendant Wells Fargo, by and/or through an employee or employee thereof, has
        repeated frustrated Plaintiff Riad and/or Plaintiff Riad’s reasonable efforts to obtain
        records related every account held by Plaintiff Riad and/or Plaintiff Riad Holdings
        with Defendant Wells Fargo to substantiate the quantum of loss and damages
        suffered by Plaintiff Riad and/or Plaintiff Riad in respect of the Six Fraudulent
        Debits and/or Six Fraudulent Wire Transfers and fees and loss of interest


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       associated therewith, despite repeated demands by Plaintiff Riad and/or Plaintiff
       Riad Holdings for Defendant Wells Fargo for the same.

160.   Defendant Wells Fargo, by and/or through an employee or employees thereof, has
       failed to remedy the prejudice and loss caused to Plaintiff Riad and/or Plaintiff Riad
       Holdings by the actions or failure to act of Defendant Wells Fargo, by and/or
       through an employee or employees thereof, in respect of the Six Fraudulent Debits
       and/or Six Fraudulent Wire Transfers and fees and loss of interest associated
       therewith, despite repeated demands by Plaintiff Riad and/or Plaintiff Riad
       Holdings for Defendant Wells Fargo to remedy the same.




                        (Section C Commences on the Following Page)




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C.      FACTS RELEVANT TO CONSUMER FRAUD BY DEFENDANT WELLS FARGO
        IN RELATION TO PLAINTIFF RIAD AND PLAINTIFF RIAD HOLDINGS

161.     Between 1 May 2002 and 20 April 2017, Defendant Wells Fargo offered consumer
         financial banking products and services including, but not limited to, consumer and
         small business checking and savings accounts, credit cards, unsecured lines of
         credit, and/or online bill payment services (the “Defendant’s Products and
         Services”) to its customers including, but not limited to, Plaintiff Riad and/or
         Plaintiff Riad Holdings and/or Schepperd.

162.    Between 1 May 2002 and 20 April 2017, Defendant Wells Fargo published a
        brochure entitled ‘The Vision & Values of Wells Fargo’ which established a quota
        for employees to sell at least eight of the Defendant’s Products and Services to
        each customer (the “Quota”):

                “Going for gr-eight. Our average retail banking household has about
                six products with us. We want to get to eight…and beyond. One of
                every four already has eight or more. . . ”

163.    To encourage and incentivize employees of Defendant Wells Fargo to achieve the
        ‘Going for gr-eight’ Quota, Defendant Wells Fargo established and implemented
        an incentive compensation program whereby, until at least 30 September 2016,
        employees of Defendant Wells Fargo were materially rewarded through various
        means by Defendant Wells Fargo for selling the Defendant’s Products and
        Services to its customers (the “Cross-Selling of Defendant’s Products and
        Services”).3

164.    Employees of Defendant Wells Fargo engaged in alternative means to meet the
        Quota including, without limitation, opening unauthorized accounts and funding
        said accounts from existing and/or authorized accounts.



3
     https://www.attorneygeneral.gov/wp-content/uploads/2018/12/Wells-Fargo-Multistate-Settlement-
     Agreement-12-28-18.pdf.



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164.1            Defendant Wells Fargo, by and/or through an employee or employees
                 thereof, opened in excess of 3.5 million unauthorized bank accounts and
                 funded these accounts through the unauthorized transfer of funds from
                 authorized and/or existing accounts.4

164.2            Defendant Wells Fargo, by and/or through an employee or employees
                 thereof, “built and refined an incentive-based program and implemented
                 sales goals to boost the cross-selling of products, but did so in a way that
                 made it possible for employees to pursue unfair and abusive sales
                 practices. . . .”5

164.3            Defendant Wells Fargo, by and/or through an employee or employees
                 thereof, “[r]ather than putting its customers first . . . built and sustained a
                 program where the bank and many of its employees served themselves
                 instead, violating the basic ethics of a banking institution, including the key
                 norm of trust.”6

164.4            “The gravity of the fraud that has occurred at [Defendant] Wells Fargo
                 cannot be pushed aside as the stray misconduct of just a few bad apples.
                 As one former federal prosecutor aptly noted, the stunning nature and scale
                 of these practices reflects instead the consequences of a diseased
                 orchard.”7

165.    Governmental entities, including the Office of the Comptroller of the Currency (the
        “OCC”), the Consumer Finance Protection Bureau (“CFPB”) and every Attorney
        General in every state of the United States of America (the “State AGs”) have
        launched investigations into Defendant Wells Fargo’s sales practices.


4
    Yahoo Finance, “Every Wells Fargo Consumer Scandal Since 2015: A timeline”, (8 August 2018).
5
    Testimony of Richard Cordray, Director of the CFPB, before the United States Senate Committee on
    Banking, Housing and Urban Affairs (20 September 2016).
6
    Ibid.
7
    Ibid.


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165.1         In each of the above cited instances, every investigation concluded with
              determinations that Defendant Wells Fargo engaged in systematic and
              widespread fraudulent and deceptive practices to the detriment of
              consumers.

165.2         In each of the above cited instances, each investigation resulted in the
              payment of hundreds of millions of dollars in civil penalties or fines by
              Defendant Wells Fargo.

166.    From 2012 through 2016, the OCC examined Defendant Wells Fargo’s sales
        practices including, but not limited to, the unauthorized opening of deposit and/or
        credit card accounts and the transfer of funds from authorized and/or existing
        accounts to unauthorized accounts.

167.    The OCC commenced its investigation as a result of complaints from consumers
        and Defendant Wells Fargo employees alleging improper sales practices at
        Defendant Wells Fargo.

168.    From February 2015 to June 2015, the OCC examined Defendant Wells Fargo’s
        Community Bank Operational Risk Management:

168.1         In February 2015, the OCC concluded that Defendant Wells Fargo lacked
              a formalized governance framework to oversee sales practices and issued
              a supervisory letter that included a Matter Requiring Attention (“MRA”).

168.2         In June 2015, the OCC issued a second supervisory letter that identified,
              inter alia, the following material failures of Defendant Wells Fargo:

              (a)    Defendant Wells Fargo, by and/or through an employee or
                     employees thereof, failed to have an appropriate control or oversight
                     structure given the corporate emphasis on product sales and cross-
                     selling;

              (b)    Defendant Wells Fargo, by and/or through an employee or
                     employees thereof, failed to have an enterprise-wide sales practices

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                       program; and

               (c)     Defendant Wells Fargo, by and/or through an employee or
                       employees thereof, failed to have an effective enterprise-wide
                       customer complaint process.

169.    In 2016, the OCC issued a Report of Examination (the “OCC Report”) which
        included the following findings and conclusions:

169.1          The sales practices engaged by Defendant Wells Fargo, by and/or through
               an employee or employees thereof, were unethical.

169.2          The sales practices engaged by Defendant Wells Fargo, by and/or through
               an employee or employees thereof, harmed consumers.

169.3          Defendant Wells Fargo, by and/or through an employee or employees
               thereof, failed to promptly respond to these issues.

170.    The OCC approved the issuance of a consent order (the “Consent Order”) and
        assessment of civil monetary penalties against Defendant Wells Fargo due to
        Defendant Wells Fargo’s “reckless unsafe or unsound sales practices and
        [Defendant Wells Fargo’s] risk management and oversight of those practices.”

171.    The OCC issued the Consent Order on 8 September 2016.8 The unsafe or
        unsound sales practices identified by the OCC included:

171.1          Defendant Wells Fargo, by and/or through an employee or employees
               thereof, sold unwanted deposit or credit accounts.

171.2          Defendant Wells Fargo, by and/or through an employee or employees
               thereof, opened unauthorized deposit or credit card accounts.

171.3          Defendant Wells Fargo, by and/or through an employee or employees
               thereof, funded the unauthorized accounts through the unauthorized

8
    https://occ.gov/news-issuances/news-releases/2016/nr-occ-2016-106a.pdf.


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              transfers of funds from authorized or existing consumer accounts.

171.4         Defendant Wells Fargo, by and/or through an employee or employees
              thereof, conducted unauthorized credit inquiries for the purpose of opening
              unauthorized accounts.

172.    The OCC assessed a $35 million civil penalty against Defendant Wells Fargo as
        part of such Consent Order.

173.    The CFPB investigation determined that Defendant Wells Fargo violated sections
        1031 and 1036(a)(1)(B) of the Consumer Financial Protection Act of 2010
        (“CFPA”), 12 US.C. 5531 and 5536(a)(1)(B). This determination was based on the
        CFPB’s conclusion that Defendant Wells Fargo engaged in at least the following
        unlawful and deceptive acts and practices:

173.1         Defendant Wells Fargo, by and/or through an employee or employees
              thereof, opened unauthorized deposit accounts for existing customers and
              transferred funds to those accounts from their owners’ other accounts, all
              without the customers’ knowledge or consent.

173.2         Defendant Wells Fargo, by and/or through an employee or employees
              thereof, submitted applications for credit cards in consumers’ names using
              consumers’ information without their knowledge or consent.

173.3         Defendant Wells Fargo, by and/or through an employee or employees
              thereof, enrolled consumers in online-banking services that they did not
              request.

173.4         Defendant Wells Fargo, by and/or through an employee or employees
              thereof, ordered and activated debit cards using consumers’ information
              without their knowledge or consent.

174.    The CFPB fined Defendant “Wells Fargo $100 million for the widespread illegal
        practice of secretly opening unauthorized deposit accounts and credit card
        accounts.”

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175.     The State AGs, including the Attorney General of the Commonwealth of
         Pennsylvania, conducted investigations into certain sales practices of Defendant
         Wells Fargo including, but not limited to, the opening of unauthorized accounts
         through the funding of funds in existing accounts. 9

176.     The State AGs, including the Attorney General of the Commonwealth of
         Pennsylvania, determined that Defendant “Wells Fargo's sales goals and incentive
         compensation program created an incentive for employees to engage in improper
         sales practices to satisfy sales goals and earn financial rewards.” 10

177.     The State AGs found that the sales goals and incentive compensation program
         requirements imposed on Wells Fargo Community Bank employees contributed to
         improper sales practices that Defendant Wells Fargo failed to promptly recognize
         and adequately prevent including, but not limited to, the following improper
         practices:

               a. Defendant Wells Fargo, by and/or through an employee or employees
                  thereof, opened accounts without Customer’s knowledge or consent.11.

               b. Defendant Wells Fargo, by and/or through an employee or employees
                  thereof,   transferred    funds    between      Customers'       accounts     without
                  Customers' knowledge or consent.

               c. Defendant Wells Fargo, by and/or through an employee or employees
                  thereof, applied for credit cards without Customers' knowledge or consent.

               d. Defendant Wells Fargo, by and/or through an employee or employees


9
     https://www.attorneygeneral.gov/wp-content/uploads/2018/12/Wells-Fargo-Multistate-Settlement-
     Agreement-12-28-18.pdf \
10
     Ibid.
11
     The Attorney Generals defined "Customer" to mean any individual or small business that owns or holds
     or previously owned or held an account with Wells Fargo Community Bank and/or was sold, offered,
     referred, or enrolled in an insurance referral product by Wells Fargo Community Bank and/or Wells
     Fargo Insurance, Inc.



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                 thereof, issued debit cards without Customers' knowledge or consent.

            e. Defendant Wells Fargo, by and/or through an employee or employees
                 thereof, enrolled Customers into online banking services, including online
                 bill pay services, without Customers' knowledge or consent.

            f. Defendant Wells Fargo, by and/or through an employee or employees
                 thereof, engaged in misrepresentations and/or omissions to Customers
                 regarding accounts.

178.    State AGs, including the Attorney General of the Commonwealth of Pennsylvania,
        determined that Defendant “Wells Fargo has violated the consumer protection laws
        of the states of the respective Attorneys General based on the Attorneys General's
        Investigations.” This determination was based on the conduct set forth in the CFPB
        investigation and otherwise recorded in the Settlement Agreement. 12

179.    On 2 February 2018, the Board of Governors of the Federal Reserve System
        (“Federal Reserve”) issued a Consent Cease and Desist Order (the “Federal
        Reserve Order”) against Defendant Wells Fargo and restricted its growth based
        on the same failures, deficiencies and fraudulent and deceptive practices identified
        above.

180.    In 2018, Defendant Wells Fargo’s systematic and widespread practice of harming
        fraud victims by closing customer bank accounts came to light through an action
        brought by a whistle-blower.13 In Matthew Valles v. Wells Fargo Bank, N.A. and
        Kimberly Thrush, (Case No. 18-cv-07181), the plaintiff, a former fraud investigator
        for Defendant Wells Fargo, described “an illegal and systematic scheme to




12
     https://www.attorneygeneral.gov/wp-content/uploads/2018/12/Wells-Fargo-Multistate-Settlement-
     Agreement-12-28-18.pdf
13
     New York Times Article, “Wells Fargo Accused of Harming Fraud Victims by Closing Accounts”
     (28 February 2019); Matthew Valles v. Wells Fargo Bank, N.A. and Kimberly Thrush, (Case No. 18-cv-
     07181).



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         prematurely close certain customer accounts” 14 that included the following illegal
         practices:

180.1               “[T]he apparent directive of the Loss Prevention Line of Business Referrals
                    unit - as indicated by [Defendant] Wells Fargo management - was to meet
                    [Defendant] Wells Fargo’s metrics at all costs, even if it meant failing to
                    adequately investigate instances of fraud on accounts belonging to
                    [Defendant] Wells Fargo’s customers.”15

180.2               “Rather than conduct thorough investigations into claims of fraud, Mr. Valles
                    began to notice that [Defendant] Wells Fargo would instead save money by
                    simply closing accounts under the pretext of a ‘business decision to close’.”16

180.3               “Improperly closing customer accounts in this manner ensured that
                    customers, not [Defendant] Wells Fargo, were left to absorb the costs of
                    fraudulent and unauthorized [activities] from their checking and savings
                    accounts.”17

180.4               The decision by [Defendant] Wells Fargo’s Loss Prevention Line of
                    Business Referrals unit to prematurely close accounts also unfairly harmed
                    customers’ credit in cases where fraud had caused an account to become
                    overdrawn.”18

181.     Defendant Wells Fargo has fired over 5,300 employees for “inappropriate sales
         conduct” associated with its consumer fraud activities.19



14
     Id., Complaint, at pg. 2.

15
     Id., at ¶11.
16
     Id., at ¶11.

17
     Id., at ¶11.
18
     Id., at ¶11.
19
     https://hbr.org/2016/09/wells-fargo-and-the-slippery-slope-of-sales-incentives



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182.     In toto, Defendant Wells Fargo has entered into consent orders with federal
         authorities related to its fraudulent conduct which include, inter alia, the payment
         or commitment to pay by Defendant Wells Fargo of restitution to consumers in
         excess of $600 million in relation to those orders and settlement of a related
         consumer class action lawsuit as well as payment of more than $1 billion in civil
         penalties to the federal government.20

183.     Defendant Wells Fargo, by and/or through its CEO at the pertinent time, Timothy J.
         Sloan (“Sloan”), has testified under oath before the United States Senate,
         Committee on Banking, Housing and Urban Affairs (“U.S. Senate, Banking
         Committee”) and before the United States House of Representatives, Committee
         on Financial Serves (“U.S. House, Banking Committee”).

183.1            Sloan’s statements during the course of his testimony are representations
                 and promises by and/or on behalf of Defendant Wells Fargo. Customers and
                 investors are entitled to reasonably rely on same.21

183.2            On or about 3 October 2017, Defendant Wells Fargo, by and/or through
                 Sloan, testified before the U.S. Senate, Banking Committee, and stated
                 under oath that:

                 (a)     “We are compensating every customer who has suffered because
                         [Defendant] Wells Fargo made mistakes.”22

                 (b)     [Defendant] Wells Fargo will remedy all harm suffered by consumers
                         back through 2009, the year that Wachovia merged with [Defendant]




20
     https://www.news-sentinel.com/news/local-news/2018/12/28/wells-fargos-575-million-settlement-with-
     states-will-net-indiana-5-2m/
21
     Testimony of Timothy J. Sloan, before the United States House of Representatives, Committee on
     Financial Serves (March 12, 2019).
22
     Testimony of Timothy J. Sloan, then CEO of Defendant Wells Fargo, before the United States Senate
     Committee on Banking, Housing and Urban Affairs (Oct. 3, 2017) available at
     https://www.govinfo.gov/content/pkg/CHRG-115shrg28111/html/CHRG-115shrg28111.htm


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                       Wells Fargo.23

183.3           On or about 12 March 2019, Defendant Wells Fargo, by and/or through
                Sloan, testified before the U.S. House, Banking Committee, and stated under
                oath that:

                (a)    Defendant Wells Fargo’s information technology management
                       systems permit Defendant Wells Fargo to identify suspicious account
                       transactions indicating identity theft and/or imposter fraud:

                       (i)    The biggest risk American consumers face today is one of
                              imposter fraud24; and

                       (ii)   The following transaction would be suspicious and indicate a
                              customer was the victim of theft and/or imposter fraud:

                                     “If we see some sort of transaction that looks odd
                                     for the customer, like maybe [sic] sending a
                                     million dollars to a bank account in a country you
                                     have never had a relationship with, we would try
                                     to surface that for the customer”;25

                (c)    Defendant Wells Fargo is “dedicated to compensating every customer
                       who suffered harm because of [its] mistakes…Above all, [Defendant]
                       Wells Fargo is committed to making things right for our customers and
                       earning back the public’s trust”;26

                (d)    Defendant Wells Fargo will remedy all harm suffered by customers




23
     Id.
24
     Id.
25
     Id.
26
     Id.


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                         back through 2009. 27

184. Plaintiff Riad and/or Plaintiff Riad Holdings are victims of Defendant Wells Fargo’s
           consumer fraud and deceptive practices as perpetrated by and/or through an
           employee or employees thereof. Defendant Wells Fargo’s consumer fraud and
           deceptive practices against Plaintiff Riad and/or Plaintiff Riad include, but are not
           limited to, the Fraudulent Churn Activities.

185.       At all material times and places herein, Plaintiffs Riad and/or Riad Holdings and/or
           Schepperd were and continue to be customers of Defendant Wells Fargo and/or
           its predecessors-in-interest.

186.       Plaintiff Riad and/or Plaintiff Riad Holdings and/or Schepperd (accessing funds in
           the Riad Schepperd Account benefitting Plaintiff Riad) used the Riad Schepperd
           Account to pay household expenses.

187.       The Riad Schepperd Account was maintained with a low positive balance of
           between several hundred dollars and several thousand dollars.

188.       Along with the Riad Schepperd Account, Plaintiff Riad maintained personal
           accounts with Defendant Wells Fargo to pay his household expenses.

189.       Plaintiff Riad and/or Plaintiff Riad Holdings repeatedly requested that all funds held
           in the Joint Account, Riad Schepperd Account and all other accounts by Defendant
           Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings, and all
           statements related thereto, be regularly sent to Plaintiff Riad as evidenced, inter
           alia, by the following correspondence from Plaintiff Riad to Defendant Wells Fargo:

189.1             “I am writing to you because I understand that I have multiple accounts that
                  have been opened using the same account name that I have and I am
                  finding it confusing to keep up with all these accounts and I don’t know which
                  one has my money in it. I have spoken to the Branch manager Triandos



27
     Id.


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               Randolph at 400 Scarlet Rd, New Garden PA branch.”

189.2          “I am not happy with this and I cannot keep track of all these accounts.
               Please close all these accounts and keep my money in the two accounts
               that I opened for myself. I went to the branch to inquire where my money
               is and I can see it on the screen at the office of Triandos, yet I cannot get a
               statement showing me the money in the account. I am told my money is in
               a different account under my name. . . . I complained several times about
               this and I need to have a bank statement showing me where my money
               is. It makes no sense for the bank to open multiple accounts under my
               name. This is confusing and complicated.”

189.3          “I am tired of calling your customer service line and being put on a hold for
               a long time to hear at the end that there is nothing they can do, and to go to
               the branch. I go to the branch and they tell me the money is there. I want
               to be able to get a bank statement and see it on the ATM receipt.”

190.    Following further repeated attempts by Plaintiff Riad and/or Plaintiff Riad Holdings
        to obtain account statements and identify which accounts held their funds and
        quantify the amounts of such funds held in such accounts, Defendant Wells Fargo,
        by and/or through an employee or employees thereof, closed and/or purported to
        close all of Plaintiff Riad and Plaintiff Riad Holdings accounts held for their benefit
        by Defendant Wells Fargo (the “Second Unauthorized Account Closures”).

190.1          Defendant Wells Fargo, by and/or through an employee or employees
               thereof, undertook the Second Unauthorized Account Closures without the
               knowledge, consent or authority of Plaintiff Riad and/or Plaintiff Riad
               Holdings.

190.2          Defendant Wells Fargo, by and/or through an employee or employees
               thereof, represented to Plaintiff Riad and/or Plaintiff Riad Holdings that
               Defendant Wells Fargo was closing such accounts for “business reasons”.




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190.3         Defendant Wells Fargo, by and/or through an employee or employees
              thereof, sent Plaintiff Riad and Plaintiff Riad Holdings several checks
              purported to reflect the balance of funds held by Defendant Wells Fargo for
              the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings in the Joint
              Account, Joint Riad Schepperd Account and/or the Fraudulent Churn
              Accounts (the “Unauthorized Closing Balance Checks”).

190.4         The Unauthorized Closing Balance Checks did not reflect the funds that
              Plaintiff Riad and/or Plaintiff Riad Holdings had on deposit with Defendant
              Wells Fargo and were materially deficient in an amount greater than that
              the amount of all funds stated in this Complaint.

190.5         Defendant Wells Fargo’s information technology management systems
              permit Defendant Wells Fargo to keep open and/or re-open customer’s
              ‘closed’ bank accounts without the knowledge, consent or authority of
              customers (the “Hidden Account Management Capabilities”).

190.6         Defendant Wells Fargo’s Hidden Account Management Capabilities
              constitute a confusing and deceptive practice that, along with Defendant
              Wells Fargo’s refusal to provide complete records of accounts held by
              Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad
              Holdings, frustrated the ability of Plaintiff Riad and/or Plaintiff Riad Holdings
              to access and ascertain the status of such accounts including, but not
              limited to, whether or not such accounts were open or closed and/or
              accurately track, trace and/or determine the balances of funds held in such
              accounts for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings by
              Defendant Wells Fargo.

191.    On or about 2019, Plaintiff Riad and Plaintiff Riad Holdings discovered that
        Defendant Wells Fargo, by and/or through an employee or employees thereof,
        undertook the Fraudulent Churn Activities in relation to at least 25 Fraudulent
        Churn Accounts. The redacted bank account numbers of the Fraudulent Churn
        Accounts are set forth in Table 1 attached hereto as Appendix 9.


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192.    On or about August or September 2014, Plaintiff Riad visited the Oxford,
        Pennsylvania branch of Defendant Wells Fargo to re-assert his earlier requests for
        records related to his accounts from the branch manager thereof (the “Oxford
        Branch Manager”).

192.1         The Oxford Branch Manager invited Plaintiff Riad inside his office to wait for
              the bank statements to print.

192.2         On or about the same time that Plaintiff Riad was waiting inside the Branch
              Manager’s office and the Oxford Branch Manager was attempting to print
              out the statements of accounts for Plaintiff Riad and/or Plaintiff Riad
              Holdings, the Oxford Branch Manager received and answered a phone call
              in the presence of Plaintiff Riad.

192.3         Upon concluding such phone call, the Oxford Branch Manager represented
              to Plaintiff Riad that the phone call had been from Defendant Wells Fargo’s
              Loss Prevention Unit who had directed him not to print any documents for
              Plaintiff Riad and to further order him to leave the bank branch.




                        (Count 1 Commences on Following Page)




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                                          COUNT 1

                                 BREACH OF CONTRACT

1.    Plaintiff Riad and Plaintiff Riad Holdings incorporate each and all of the above
      paragraphs by reference as if stated in full herein.

2.    Section A (Facts Relevant to Certain Cashier’s Checks Purchased by Plaintiff Riad
      and/or Plaintiff Riad Holdings) of the Background Facts found in this Complaint is
      incorporated by reference as if stated in full herein.

3.    Section B (Facts Relevant to Certain Unauthorized Wire Transfers from Plaintiff
      Riad and/or Plaintiff Riad Holdings Accounts with Defendant Wells Fargo) of the
      Background Facts found in this Complaint is incorporated by reference as if stated
      in full herein.

4.    Plaintiff Riad and/or Plaintiff Riad Holdings, jointly and/or severally, and Defendant
      Wells Fargo,        and/or its predecessor(s)-in-interest,    entered into     various
      agreements        during   the   course   of   their   commercial   relationship   (the
      “Agreements”).

5.    The Agreements included, inter alia, the following terms and conditions:

5.1          Plaintiff Riad and Plaintiff Riad Holdings agreed to deposit funds with
             Defendant Wells Fargo from time to time.

5.2          Defendant Wells Fargo agreed to hold funds deposited with Defendant Well
             Fargo by Plaintiff Riad and/or Plaintiff Riad Holdings in safe custody and
             under its proper administrative control for the benefit of Plaintiff Riad and/or
             Plaintiff Riad Holdings for good and valuable consideration.

5.3          Defendant Wells Fargo agreed to pay Plaintiff Riad and/or Plaintiff Riad
             Holdings the benefit of interest on any positive balance of funds held by
             Defendant Wells Fargo on behalf of Plaintiff Riad and/or Plaintiff Riad
             Holdings in accordance with an interest schedule and such other terms and


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           conditions established by Defendant Wells Fargo in relation thereto from
           time to time.

5.4        Defendant Wells Fargo agreed to make such funds available to Plaintiff
           Riad and/or Plaintiff Riad Holdings for their use from time to time in
           accordance with policies and/or procedures established by Defendant Wells
           Fargo in relation thereto from time to time.

5.5        Defendant Wells Fargo agreed not to deal in any funds deposited with
           Defendant Well Fargo by Plaintiff Riad and/or Plaintiff Riad Holding for any
           purpose without the expressed prior consent and authority of Plaintiff Riad
           and/or Plaintiff Riad Holdings given in accordance with policies and/or
           procedures established by Defendant Wells Fargo in relation thereto from
           time to time.

5.6        Defendant Wells Fargo agreed to offer its products and services to Plaintiff
           Riad and/or Plaintiff Riad Holdings, for good and valuable consideration, in
           accordance with a fee schedule and such other terms and conditions
           established by Defendant Wells Fargo in relation thereto from time to time.

5.7        Plaintiff Riad and Plaintiff Riad Holdings agreed that, if they made use of
           any product and/or service offered by Defendant Wells Fargo from time to
           time, that they would pay such fees and other charges and comply with such
           terms and conditions established by Defendant Wells Fargo in respect of
           such products and/or services from time to time.

5.8        Defendant Wells Fargo agreed to provide Plaintiff Riad and/or Plaintiff Riad
           Holdings with statements regarding funds deposited by Plaintiff Riad and/or
           Plaintiff Riad Holdings with Defendant Wells Fargo including, but not limited
           to, records related to the amount, nature and movement of such funds and
           fees and other charges associated with such funds and Defendant Wells
           Fargo’s provision of products and/or services related to such funds, on a
           regular basis and/or upon reasonable demand by Plaintiff Riad and/or



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             Plaintiff Riad Holdings given in accordance with policies and/or procedures
             established by Defendant Wells Fargo in relation thereto from time to time.

6.    In addition to the terms and conditions of the Agreements, the Agreements were
      subject to applicable law.

7.    An obligation for Defendant Wells Fargo to exercise a duty of reasonable care in
      the discharge of its rights and obligations under the Agreements was an implied
      term of such Agreements pursuant to established applicable and/or common law.

8.    Plaintiff Riad and/or Plaintiff Riad performed every obligation owed to Defendant
      Wells Fargo under the Agreements at all times relevant herein.

9.    Defendant Wells Fargo, by and/or through an employee or employees thereof,
      failed to perform the following material obligations incumbent upon Defendant
      Wells Fargo under the Agreements:

9.1          Defendant Wells Fargo failed to deposit into and/or credit the Joint Account
             in the amount of $1,200,000.00 representing proceeds of the First Cashier’s
             Check.

9.2          Defendant Wells Fargo failed to deposit into and/or credit the Joint Account
             in the amount of $1,200,000.00 representing proceeds of the Second
             Cashier’s Check.

9.3          Defendant Wells Fargo failed to deposit into and/or credit the Joint Account
             in the amount of $1,100,000.00 representing proceeds of the Third
             Cashier’s Check.

9.4          Defendant Wells Fargo failed to deposit into and/or credit the Joint Account
             in the amount of $1,100,000.00 representing proceeds of the Fourth
             Cashier’s Check and subsequently undertook the Incorrect Deposit,
             Unauthorized Withdrawal and issue of the Fraudulent Fifth Cashier’s Check
             and failed to return the benefit of the $1,100,000.00 to Plaintiff Riad and/or
             Plaintiff Riad Holdings as owners of such funds.

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9.5        Defendant Wells Fargo made six (6) fraudulent withdrawals of funds from
           the Joint Bank Account with a total value of $1,068,735.00 and used
           proceeds of such fraudulent debits to undertake six (6) fraudulent wire
           transfers with a total value of $1,068,735.00 without the expressed prior
           consent and authority of Plaintiff Riad and/or Plaintiff Riad Holdings.

           (a)    Defendant Wells Fargo undertook the Second Fraudulent Debit in
                  the amount of $53,000.00 from the Joint Bank Account and
                  undertook the Second Fraudulent Wire Transfer in a corresponding
                  amount without the expressed prior consent and authority of Plaintiff
                  Riad and/or Plaintiff Riad Holdings;

           (b)    Defendant Wells Fargo undertook the Third Fraudulent Debit in the
                  amount of $21,000.00 from the Joint Bank Account and undertook
                  the Third Fraudulent Wire Transfer in a corresponding amount
                  without the expressed prior consent and authority of Plaintiff Riad
                  and/or Plaintiff Riad Holdings;

           (c)    Defendant Wells Fargo undertook the Fourth Fraudulent Debit in the
                  amount of $100.00 from the Joint Bank Account and undertook the
                  Fourth Fraudulent Wire Transfer in a corresponding amount without
                  the expressed prior consent and authority of Plaintiff Riad and/or
                  Plaintiff Riad Holdings;

           (d)    Defendant Wells Fargo undertook the Fifth Fraudulent Debit in the
                  amount of $670,000.00 from the Joint Bank Account and undertook
                  the Fifth Fraudulent Wire Transfer in a corresponding amount without
                  the expressed prior consent and authority of Plaintiff Riad and/or
                  Plaintiff Riad Holdings; and/or

           (e)    Defendant Wells Fargo undertook the Sixth Fraudulent Debit in the
                  amount of $271,635.00 from the Joint Bank Account and undertook
                  the Sixth Fraudulent Wire Transfer in a corresponding amount



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                 without the expressed prior consent and authority of Plaintiff Riad
                 and/or Plaintiff Riad Holdings.

9.6        Defendant Wells Fargo lost, misallocated, misappropriated and/or
           misplaced funds held by Defendant Wells Fargo for the benefit of Plaintiff
           Riad Holdings and/or Plaintiff Riad Holdings as a result of incorrect and/or
           improper withdrawal and/or transfer of funds (by wire transfer or otherwise)
           and/or charging of fees and/or other unauthorized and/or fraudulent dealing
           by Defendant Wells Fargo in respect of the following instruments and/or
           transactions and/or accounts:

           (a)   The Residual Balance of $5,100; and

           (b)   The Unauthorized Withdrawal of the Unauthorized Transfer of
                 $143,462.00.

9.7        Defendant Wells Fargo lost, misallocated, misappropriated and/or
           misplaced funds held by Defendant Wells Fargo for the benefit of Plaintiff
           Riad Holdings and/or Plaintiff Riad Holdings as a result of incorrect and/or
           improper withdrawal and/or transfer of funds (by wire transfer or otherwise)
           and/or charging of fees and/or other unauthorized and/or fraudulent dealing
           by Defendant Wells Fargo in respect of the following instruments and/or
           transactions and/or accounts:

           (a)   The Three Deposits;

           (b)   The Four Cashier’s Checks;

           (c)   The Incorrect Deposit;

           (d)   The Fraudulent Withdrawal;

           (e)   The Fraudulent Fifth Cashier’s Check;

           (f)   The Fraudulent Churn Accounts;



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           (g)    The Fraudulent Online Banking Facilities;

           (h)    The Second Fraudulent Debit;

           (i)    The Second Fraudulent Wire Transfer;

           (j)    The Third Fraudulent Debit;

           (k)    The Third Fraudulent Wire Transfer;

           (l)    The Fourth Fraudulent Debit;

           (m)    The Fourth Fraudulent Wire Transfer;

           (n)    The Fifth Fraudulent Debit;

           (o)    The Fifth Fraudulent Wire Transfer;

           (p)    The Sixth Fraudulent Debit;

           (q)    The Sixth Fraudulent Wire Transfer; and/or

           (r)    Every other instrument related to and/or transaction undertaken by
                  Defendant Wells Fargo, by and/or through an employee or
                  employees thereof, in any account held by Defendant Wells Fargo
                  for the benefit of Plaintiff Riad and/or Riad Holdings and/or
                  Schepperd which was not undertaken with the knowledge, consent
                  or authority of the same to the prejudice and loss of Plaintiff Riad
                  and/or Plaintiff Riad Holdings.

9.8        Defendant Wells Fargo unilaterally opened and closed all accounts held by
           Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Riad Holdings
           without the expressed prior consent and authority of Plaintiff Riad and/or
           Plaintiff Riad Holdings including, but not limited to:

           (a)    The Unauthorized Account Closures;



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           (b)   The Fraudulent Churn Accounts; and/or

           (c)   The Fraudulent Online Banking Facilities.

9.9        Defendant Wells Fargo incorrectly and/or improperly charged fees to
           Plaintiff Riad and/or Plaintiff Riad by Defendant Wells Fargo in respect of
           transactions undertaken and/or instruments issued by Defendant Wells
           Fargo in and/or related to accounts held by Defendant Wells Fargo for the
           benefit of Plaintiff Riad and/or Riad Holdings and/or Schepperd which were
           not undertaken with the knowledge, consent or authority of the same
           including, but not limited to, the Fraudulent Fees, the Fraudulent Online
           Fees and such other fees related to the following accounts, transactions
           and/or instruments:

           (a)   The Joint Account;

           (b)   The Riad Schepperd Account;

           (c)   The Unauthorized Riad Schepperd Account:

           (d)   The Four Cashier’s Checks;

           (e)   The Incorrect Deposit;

           (f)   The Fraudulent Withdrawal;

           (g)   The Fraudulent Fifth Cashier’s Check;

           (h)   The Unauthorized Withdrawal;

           (i)   The Fraudulent Churn Accounts;

           (j)   The Fraudulent Online Banking Facilities;

           (k)   The Six Fraudulent Debits;

           (l)   The Six Fraudulent Wire Transfers;


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            (m)    The Reverse Wire of the First Fraudulent Wire Transfer; and/or

            (n)    Every other transaction undertaken and/or instrument issued by
                   Defendant Wells Fargo in any account held by Defendant Wells
                   Fargo for the benefit of Plaintiff Riad and/or Riad Holdings and/or
                   Schepperd which was not undertaken with the knowledge, consent
                   or authority of the same to the prejudice and loss of Plaintiff Riad
                   and/or Plaintiff Riad Holdings.

9.10        Defendant Wells Fargo incorrectly and/or improperly and/or erroneously
            failed to pay over to Plaintiff Riad and/or Plaintiff Riad such interest
            otherwise due and payable to Plaintiff Riad and/or Plaintiff Riad Holdings by
            Defendant Well Fargo absent lower balances in accounts held by Defendant
            Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Raid Holdings
            due to the incorrect and/or improper withdrawal and/or transfer of funds
            and/or charging of fees and/or other unauthorized and/or fraudulent dealing
            by Defendant Wells Fargo in respect of the following instruments and/or
            transactions and/or accounts:

            (a)    The Joint Account;

            (b)    The Riad Schepperd Account;

            (c)    The Unauthorized Riad Schepperd Account:

            (d)    The Three Deposits;

            (e)    The Four Cashier’s Checks;

            (f)    The Incorrect Deposit;

            (g)    The Fraudulent Withdrawal;

            (h)    The Fraudulent Fifth Cashier’s Check;

            (i)    The Unauthorized Withdrawal;


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            (j)   The Fraudulent Churn Accounts;

            (k)   The Fraudulent Online Banking Facilities;

            (l)   The Six Fraudulent Debits;

            (m)   The Six Fraudulent Wire Transfers;

            (n)   The Reverse Wire of the First Fraudulent Wire Transfer;

            (o)   The Fraudulent Fees;

            (p)   The Fraudulent Online Fees; and/or

            (q)   Every other transaction undertaken and/or instrument issued by
                  Defendant Wells Fargo in any account held by Defendant Wells
                  Fargo for the benefit of Plaintiff Riad and/or Riad Holdings and/or
                  Schepperd which was not undertaken with the knowledge, consent
                  or authority of the same to the prejudice and loss of Plaintiff Riad
                  and/or Plaintiff Riad Holdings.

9.11        Defendant Wells Fargo failed to provide and/or refused to provide and/or
            failed to provide and/or refused to provide in a timely manner:

            (a)   Complete records related to accounts opened and/or closed and/or
                  all dealings in funds related to such accounts held by Defendant
                  Wells Fargo for the benefit of Plaintiff Riad and/or Riad Holdings;

            (b)   Accurate records related to accounts opened and/or closed and/or
                  all dealings in funds related to such accounts held by Defendant
                  Wells Fargo for the benefit of Plaintiff Riad and/or Riad Holdings;

            (c)   Any and/or all SWIFT messages related to any of the Six Fraudulent
                  Wire Transfers;

            (d)   Any Wire Transfer Request Form related to the Fourth Fraudulent



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                    Wire Transfer;

             (e)    Incomplete and/or incorrect and/or fraudulent Wire Transfer Request
                    Forms including, but not limited to, the Three Versions of the First
                    Fraudulent Wire Transfer Request Form, the Second Fraudulent
                    Wire Transfer Request Form, the Third Fraudulent Wire Transfer
                    Request Form, the Two Versions of the Fifth Fraudulent Wire
                    Transfer Request Form and the Sixth Fraudulent Wire Transfer
                    Request Form; and/or

             (f)    Incomplete and/or inaccurate Limited Bank Statements.

10.   Defendant Wells Fargo’s failure to comply with such obligations each constitute a
      breach of the Agreements and/or obligations imposed on Defendant Wells Fargo
      by the Agreements and/or applicable law and/or common law.

11.   As a direct and proximate result of Defendant Wells Fargo’s breach of the
      Agreements and/or obligations imposed on Defendant Wells Fargo by the
      Agreements and/or applicable law and/or common law, Plaintiff Raid and/or
      Plaintiff Riad Holdings have suffered the loss of the benefit of their funds and other
      losses, damages and prejudice in the following amounts:

      (a)    $4,600,000 representing proceeds of the Four Cashier’s Checks;

      (b)    $1,068,735 representing proceeds of the Six Fraudulent Withdrawals
             and/or Six Fraudulent Wire Transfers;

      (c)    $5,100 representing the amount of the Residual Balance;

      (d)    $143,462 representing the amount of the Unauthorized Withdrawal of the
             Unauthorized Transfer;

      (e)    The amount of all fees charged by Defendant Wells Fargo to accounts held
             by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff
             Riad Holdings as a result of Defendant Wells Fargo’s breach of contract


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            and/or obligations imposed on Defendant Wells Fargo by the Agreements
            and/or applicable law and/or common law, the exact amount to be
            determined at trial;

      (f)   The amount of all interest that Defendant Wells Fargo failed to pay Plaintiff
            Riad and/or Plaintiff Riad Holdings as a result of Defendant Wells Fargo’s
            breach of contract and/or obligations imposed on Defendant Wells Fargo by
            the Agreements and/or applicable law and/or common law, the exact
            amount to be determined at trial; and/or

      (g)   The amount of such other relief as sought herein related hereto.

WHEREFORE, Plaintiff Riad and Plaintiff Riad Holdings respectfully request entry of
      judgment in favor of Plaintiff Riad and Plaintiff Riad Holdings against Defendant
      Wells Fargo Bank, N.A. for damages in the amount of:

      (a)   Actual damages and/or compensatory damages and/or restitutionary
            damages in the following amounts:

            (i)     $4,600,000.00; and

            (ii)    $1,068,735.00; and

            (iii)   $5,100.00; and

            (iv)    $143,462.00;

      (b)   The amount of all fees charged by Defendant Wells Fargo to accounts held
            by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff
            Riad Holdings as a result of Defendant Wells Fargo’s breach of contract
            and/or obligations imposed on Defendant Wells Fargo by the Agreements
            and/or applicable law and/or common law, the exact amount to be
            determined at trial;

      (c)   The amount of all interest that Defendant Wells Fargo failed to pay Plaintiff



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            Riad and/or Plaintiff Riad Holdings as a result of Defendant Wells Fargo’s
            breach of contract and/or obligations imposed on Defendant Wells Fargo by
            the Agreements and/or applicable law and/or common law, the exact
            amount to be determined at trial;

      (d)    All attorney’s fees and litigation costs on a full indemnity basis;

      (e)    All costs;

      (f)    Interest; and

      (g)    Such other such relief as this Honorable Court may deem appropriate.

                                       COUNT 2

               UNJUST ENRICHMENT (ALTERNATIVE TO COUNT 1)

1.   Plaintiff Riad and Plaintiff Riad Holdings incorporate each and all of the above
     paragraphs by reference as if stated in full herein.

2.   Section A (Facts Relevant to Certain Cashier’s Checks Purchased by Plaintiff Riad
     and/or Plaintiff Riad Holdings) of the Background Facts found in this Complaint is
     incorporated by reference as if stated in full herein.

3.   Section B (Facts Relevant to Certain Unauthorized Wire Transfers from Plaintiff
     Riad and/or Plaintiff Riad Holdings Accounts with Defendant Wells Fargo) of the
     Background Facts found in this Complaint is incorporated by reference as if stated
     in full herein.

4.   Plaintiff Riad and Plaintiff Riad Holdings deposited funds into accounts held for
     their benefit with Defendant Wells Fargo.

5.   It was a condition of the Agreements between Plaintiff Riad and Plaintiff Riad
     Holdings with Defendant Wells Fargo, whether express or implied, that:

     (a)    Defendant Wells Fargo would keep safe custody and/or proper
            administrative control over all funds deposited with Defendant Wells Fargo

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             by Plaintiff Riad and/or Plaintiff Riad Holdings; and/or

     (b)     Defendant Wells Fargo would return all funds deposited with Defendant
             Wells Fargo by Plaintiff Riad and/or Plaintiff Riad Holdings upon reasonable
             demand for the same by the same.

6.   In addition or alternative to any condition of the Agreements (or in the event that it
     is found that no Agreements, express or implied, existed between Plaintiff Riad
     and/or Plaintiff Riad and Defendant Wells Fargo), it was an implied promise by
     Defendant Wells Fargo to Plaintiff Riad and/or Plaintiff Riad Holdings that:

     (a)     Defendant Wells Fargo would keep safe custody and/or proper
             administrative control over all funds deposited with Defendant Wells Fargo
             by Plaintiff Riad and/or Plaintiff Riad Holdings; and/or

     (b)     Defendant Wells Fargo would return all funds deposited with Defendant
             Wells Fargo by Plaintiff Riad and/or Plaintiff Riad Holdings upon reasonable
             demand for the same by the same.

7.   Whether under the Agreements or upon reliance on Defendant Wells Fargo’s
     implied promise, or both, Plaintiff Riad and/or Riad Holdings entrusted and
     provided Defendant Wells Fargo with money through the deposit of such funds into
     accounts held by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or
     Plaintiff Riad Holdings, for good and valuable consideration exchanged between
     them.

8.   By and/or through an employee or employees thereof, Defendant Wells Fargo
     acknowledged, accepted and benefitted from Plaintiff Riad and/or Plaintiff Riad’s
     deposit of money into accounts held by Defendant Wells Fargo for the benefit of
     Plaintiff Riad and/or Plaintiff Riad Holdings including, but not limited to, charging
     fees to Plaintiff Riad and/or Plaintiff Riad Holdings and otherwise using such funds
     for its benefit as permitted by laws applicable to a regulated financial institution in
     the United States of America.



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9.    Despite repeated demands by Plaintiff Riad and/or Plaintiff Riad Holdings,
      Defendant Wells Fargo, by and/or through an employee or employees thereof, has
      refused to:

      (a)    Return funds deposited by Plaintiff Riad and/or Plaintiff Riad Holdings into
             accounts held by Defendant Wells Fargo for the benefit of Plaintiff Riad
             and/or Plaintiff Riad Holdings;

      (b)    Return the amount of fees and/or other charges incorrectly and/or
             improperly debited by Defendant Wells Fargo against funds deposited by
             Plaintiff Riad and/or Plaintiff Riad Holdings into accounts held by Defendant
             Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings;
             and/or

      (c)    Credit the amount of interest due and payable by Defendant Wells Fargo to
             Plaintiff Riad and/or Plaintiff Riad Holdings for its use of funds deposited by
             Plaintiff Riad and/or Plaintiff Riad Holdings into accounts held by Defendant
             Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings.

10.   Defendant Wells Fargo has been unjustly enriched by its refusal to return such
      funds, return such fees and credit interest to Plaintiff Riad and/or Plaintiff Riad
      Holdings and further unjustly enriched by its continued benefit of such funds,
      amount of such fees and amount of such interest.

11.   Plaintiff Riad and/or Riad Holdings purchased from Defendant Wells Fargo, by
      and/or through an employee or employees thereof, five (5) cashier’s checks with
      a collective value of $4,600,000 as follows:

      (a)    The First Cashier’s Check in the amount of $1,200,000.00 payable to
             “Elevation Consultants & Investments LLC”;

      (b)    The Second Cashier’s Check in the amount of $1,200,000.00 payable to
             “Saint Jude Mining Corp.”;

      (c)    The Third Cashier’s Check in the amount of $1,100,000.00 payable to “Saint

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               Jude Mining Corp.”;

       (d)     The Fourth Cashier’s Check in the amount of $1,100,000.00 payable to
               “Von Atlas Consultants LLC”; and

       (e)     The Fifth Cashier’s Check in the amount of $1,100,000.00 payable to
               “Panasoft Strategic Solutions”.

12.    Defendant Wells Fargo debited accounts held for the benefit of Plaintiff Riad and/or
       Plaintiff Riad Holdings for $4,600,000 to issue these five cashier’s checks and,
       pursuant to applicable law and/or policies and/or procedures of Defendant Wells
       Fargo and/or customary banking best practices, transferred the same into an
       account and/or accounts owned and/or controlled and/or operated for the benefit
       of Defendant Wells Fargo to guarantee that it could pay the amount of each of the
       five cashier’s checks upon presentation for payment or return for deposit of the
       same.

13.    Paragraphs 30, 53 and 156 are incorporated, mutatis mutandis, by reference as if
       stated in full herein.

14.    No beneficiary of each of these five (5) cashier’s checks has cashed the checks.

14.1           Plaintiff Raid returned the First Cashier’s Check, the Second Cashier’s
               Check, and the Third Cashier’s Check to Defendant Wells Fargo for deposit
               into the Joint Account.

14.2           The whereabouts of the Fifth Cashier’s Check are not known to Plaintiff
               Riad and/or Plaintiff Riad Holdings as Defendant Wells Fargo has not
               provided any records to indicate the whereabouts of the Fifth Cashier’s
               Check.

15.    Defendant Wells Fargo’s policy and/or procedures for cashing cashier’s checks for
       non-account holders requires the presentation of:

       (a)     Government issued photo identification in the name of the beneficiary of the


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              cashier’s check;

       (b)    An option to require presentation of a second form of identification in the
              name of the beneficiary of the cashier’s check;

       (c)    Where cashier’s checks are drawn in favor of corporate entities (as in the
              case at hand), presentation of appropriate corporate documents for such
              corporate entities; and

       (d)    Where cashier’s checks are drawn in favor of corporate entities (as in the
              case at hand), presentation of a resolution or other similarly suitable
              corporate document in the name of the applicable corporate entity that
              evidences the power and authority of the person presenting such
              identification to present and cash such cashier’s check for the benefit of
              such corporate entity.

16.    To the knowledge of Plaintiff Riad and/or Plaintiff Riad Holdings, none of the
       beneficiaries of the five cashier’s checks reside in or have visited the United States
       of America.

17.    Defendant Wells Fargo has not produced any records to indicate that the First
       Cashier’s Check, Second Cashier’s Check, Third Cashier’s Check or Fifth
       Cashier’s Check have been cashed and/or attempted to be cashed by any party.

18.    In accordance with Defendant Wells Fargo’s policies and/or procedures, the
       validity period for cashing each of the Four Cashier’s Checks has passed.

18.1          Pursuant to policies and/or procedures of Defendant Wells Fargo, cashier’s
              checks are only valid for a specified period of time.

18.2          In 2013, Defendant Wells Fargo claimed a five year statute of limitations on
              cashing cashier’s checks which is beyond the period at hand.

18.3          Defendant Wells Fargo has failed to report the unclaimed proceeds of the
              applicable cashier’s checks to the Pennsylvania Treasury Department as


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             required by applicable law.

19.   As none of the Four Cashier’s Checks were cashed by any beneficiary thereof and
      Defendant Wells Fargo has not turned over proceeds of the Four Cashier’s Checks
      to the Pennsylvania Treasury Department, Defendant Wells Fargo continues to
      hold the amount of $4,600,000 in an account and/or accounts owned and/or
      controlled and/or operated for the benefit of Defendant Wells Fargo.

20.   By virtue of its conduct and in alternative to Count 4, Defendant Wells Fargo has
      been unjustly enriched by its refusal to return the amount of $4,600,000 and return
      fees and credit interest to Plaintiff Riad and/or Plaintiff Riad Holdings in respect
      thereof and further unjustly enriched by its continued benefit of such funds, amount
      of such fees and amount of such interest.

21.   Defendant Wells Fargo, by and/or through an employee or employees thereof,
      closed all accounts held at Defendant Wells Fargo for the benefit of Plaintiff Riad
      and Plaintiff Riad Holdings including, but not limited to, the Joint Account and the
      Riad Schepperd Account, without the knowledge, consent or authority of Plaintiff
      Riad and/or Plaintiff Riad Holdings.

22.   At the time of relevant account closures, the accounts held by Defendant Wells
      Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings contains funds
      including, but not limited to:

      (a)    The Residual Balance of $5,100; and

      (b)    The Unauthorized Withdrawal of the Unauthorized Transfer of $143,462,

      which were the property of Plaintiff Riad and/or Plaintiff Riad Holdings.

23.   By virtue of its conduct and in alternative to Count 4, Defendant Wells Fargo has
      been unjustly enriched by its refusal to return the amount of $5,100 and $143,462
      and return fees and credit interest charged to Plaintiff Riad and/or Plaintiff Riad
      Holdings in respect of all accounts held by Defendant Wells Fargo for the benefit
      of Plaintiff Riad and/or Riad Holdings and further unjustly enriched by its continued

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      benefit of such funds, amount of such fees and amount of such interest.

24.   It is inequitable, unconscionable and/or unlawful for Defendant Wells Fargo to:

      (a)   Retain the $5,100 representing the Residual Balance;

      (b)   Retain the $143,462 representing the Unauthorized Withdrawal of the
            Unauthorized Transfer;

      (c)   Retain all other funds that were in accounts held by Defendant Wells Fargo
            for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings at the time of
            the relevant account closures by Defendant Wells Fargo;

      (d)   Retain the benefit of the amount of fees improperly charged to accounts
            held by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Riad
            Holdings; and

      (e)   Retain the benefit of interest that should have been paid by Defendant Wells
            Fargo to Plaintiff Riad and/or Plaintiff Riad Holdings in respect of the $5,100
            Residual Balance and $143,462 Unauthorized Withdrawal of the
            Unauthorized Transfer.

WHEREFORE, Plaintiff Riad and Plaintiff Riad Holdings respectfully request entry of
      judgment in favor of Plaintiff Riad and Plaintiff Riad Holdings against Defendant
      Wells Fargo Bank, N.A. for damages in the amount of:

      (a)   Actual and/or compensatory damages and/or restitutionary damages in the
            following amounts:

            (i)     $4,600,000.00; and

            (ii)    $1,068,735.00; and

            (iii)   $5,100.00; and

            (iv)    $143,462.00;



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      (b)   The amount of all fees charged by Defendant Wells Fargo to accounts held
            by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff
            Riad Holdings related to the Four Cashier’s Checks, Residual Balance and
            Unauthorized Withdrawal of the Unauthorized Transfer, the exact amount
            to be determined at trial;

      (c)   The amount of all interest that Defendant Wells Fargo failed to pay Plaintiff
            Riad and/or Plaintiff Riad Holdings related to the Four Cashier’s Checks,
            Residual Balance and Unauthorized Withdrawal of the Unauthorized
            Transfer, the exact amount to be determined at trial;

      (d)    All attorney’s fees and litigation costs on a full indemnity basis;

      (e)    All costs;

      (f)   Interest; and

      (g)   Such other such relief as this Honorable Court may deem appropriate.

                                         COUNT 3

                       CONVERSION (ALTERNATIVE TO COUNT 1)

1.   Plaintiff Riad and Plaintiff Riad Holdings incorporate each and all of the above
     paragraphs by reference as if stated in full herein.

2.   Section A (Facts Relevant to Certain Cashier’s Checks Purchased by Plaintiff Riad
     and/or Plaintiff Riad Holdings) of the Background Facts found in this Complaint is
     incorporated by reference as if stated in full herein.

3.   Section B (Facts Relevant to Certain Unauthorized Wire Transfers from Plaintiff
     Riad and/or Plaintiff Riad Holdings Accounts with Defendant Wells Fargo) of the
     Background Facts found in this Complaint is incorporated by reference as if stated
     in full herein.

4.   Paragraph 9 of Count 1 is incorporated, mutatis mutandis, by reference as if stated


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     in full herein.

5.   Paragraphs 4 through 9, 11 through 17 and 19 and 20 of Count 2 are incorporated,
     mutatis mutandis, by reference as if stated in full herein.

6.   As referenced by Paragraphs 4 and 5 herein, Defendant Wells Fargo has:

     (a)    Taken and continues to possess the property of Plaintiff Riad and/or Plaintiff
            Riad Holdings; and/or

     (b)    Mistakenly delivered the property of Plaintiff Riad and/or Plaintiff Riad
            Holding to a third party; and/or

     (c)    Used the property of Plaintiff Riad and/or Plaintiff Riad Holdings; and/or

     (d)    Misused the property of Plaintiff Riad and/or Plaintiff Riad Holdings,

     without the authorization of Plaintiff Riad and/or Plaintiff Riad Holdings.

7.   Funds are tangible property and chattels that can be the subject of a conversion
     of property claim under Pennsylvania law.

8.   Plaintiff Riad and/or Plaintiff Riad Holdings have a right of possession to that
     property of Plaintiff Riad and/or Plaintiff Riad Holding which:

     (a)    Defendant Wells Fargo has taken and continues to possess; and/or

     (b)    Defendant Wells Fargo has mistakenly delivered to a third party; and/or

     (c)    Defendant Wells Fargo has used; and/or

     (d)    Defendant Wells Fargo has misused,

     without the authorization of Plaintiff Riad and/or Plaintiff Riad Holdings.

9.   Plaintiff Riad and/or Plaintiff Riad Holdings have repeatedly demanded that
     Defendant Wells Fargo return that property of Plaintiff Riad and/or Plaintiff Riad



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      Holding which:

      (a)    Defendant Wells Fargo has taken and continues to possess; and/or

      (b)    Defendant Wells Fargo has mistakenly delivered to a third party; and/or

      (c)    Defendant Wells Fargo has used; and/or

      (d)    Defendant Wells Fargo has misused,

      without the authorization of Plaintiff Riad and/or Plaintiff Riad Holdings.

10.   Defendant Wells Fargo has repeatedly refused the reasonable demands of Plaintiff
      Riad and/or Plaintiff Riad Holdings for Defendant Wells Fargo to return its
      possession of that property of Plaintiff Riad and/or Plaintiff Riad Holding which:

      (a)    Defendant Wells Fargo has taken and continues to possess; and/or

      (b)    Defendant Wells Fargo has mistakenly delivered to a third party; and/or

      (c)    Defendant Wells Fargo has used; and/or

      (d)    Defendant Wells Fargo has misused without the authorization of Plaintiff
             Riad and/or Plaintiff Riad Holdings,

      without the authorization of Plaintiff Riad and/or Plaintiff Riad Holdings.

11.   By virtue of its acts or omissions to act and in the alternative to Counts 1 and 2:

      (a)    Defendant Wells Fargo has taken and continues to possess; and/or

      (b)    Defendant Wells Fargo has mistakenly delivered to a third party; and/or

      (c)    Defendant Wells Fargo has used; and/or

      (d)    Defendant Wells Fargo has misused,

      the property of Plaintiff Riad and/or Plaintiff Riad Holding without the authorization



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       of Plaintiff Riad and/or Plaintiff Riad Holdings.

12.    By virtue of its acts and/or omissions to act, Defendant Wells Fargo has excluded
       Plaintiff Riad and/or Riad Holdings from use and enjoyment of such property and
       benefits thereof.

13.    By virtue of its acts and/or omissions to act, Defendant Wells Fargo’s conduct, by
       and/or through an employee or employees thereof, was outrageous, fraudulent
       and/or illegal, to wit:

13.1          Defendant Wells Fargo, by and/or through an employee or employees
              thereof, committed multiple violations of the federal statute relating to wire
              fraud, 18 U.S.C. § 1343, by the conduct set forth in Sections A and B.

13.2          Defendant Wells Fargo, by and/or through an employee or employees
              thereof, committed multiple violations of the federal statute relating to
              mail/wire fraud affecting a financial institution, Financial Institution Reform,
              Recovery Enforcement Act (“FIRREA”), Pub. L. No. 101-73 (1989), by the
              conduct set forth in Sections A and B.

13.3          Defendant Wells Fargo, by and/or through an employee or employees
              thereof, committed multiple violations of criminal statute relating to forgeries
              by the conduct set forth in Sections B. Pennsylvania Statutes Title 18, Pa.
              C.S.A. Crimes and Offenses §4201 et seq. (forgeries), to wit:

              (a)     Defendant Wells Fargo, by and/or through an employee or
                      employees thereof, executed the purported signature in the name of
                      Plaintiff Riad and/or the authorized representative of Plaintiff Riad
                      Holdings on the Second Version of the First Fraudulent Wire
                      Authorization Form and the Third Version of the First Fraudulent Wire
                      Authorization Form;

              (b)     Defendant Wells Fargo, by and/or through an employee or
                      employees thereof, executed the purported signature in the name of


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                     Plaintiff Riad and/or the authorized representative of Plaintiff Riad
                     Holdings on the Second Fraudulent Wire Authorization Form; and

             (c)     Defendant Wells Fargo, by and/or through an employee or
                     employees thereof, executed the purported signature in the name of
                     Plaintiff Riad and/or the authorized representative of Plaintiff Riad
                     Holdings on the Second Version of the Fifth Fraudulent Wire
                     Authorization.

13.4         Defendant Wells Fargo, by and/or through an employee or employees
             thereof, committed multiple violations of numerous other state and federal
             statutes including, but not limited to, sections 1031 and 1036(a)(1)(B) of the
             Consumer Financial Protection Act of 2010 (“CFPA”), 12 US.C. 5531 and
             5536(a)(1)(B), Unfair Trade Practices and Consumer Protection Law Act,
             73 Pa. CS 201-1 et seq. (the “UTPCPL”), the Identity Theft and Assumption
             Deterrence Act, as amended by Public Law 105-318, 11 Stat. 3007
             (October 20, 1998), and Pennsylvania Statutes Title 18 Pa. C.S.A. Crimes
             and Offenses §4120, Identity Theft.

WHEREFORE, Plaintiff Riad and Plaintiff Riad Holdings respectfully request entry of
       judgment in favor of Plaintiff Riad and Plaintiff Riad Holdings against Defendant
       Wells Fargo Bank, N.A. for damages in the amount of:

       (a)   Actual damages and/or compensatory damages and/or restitutionary
             damages in the following amounts:

             (i)     $4,600,000.00; and

             (ii)    $1,068,735.00; and

             (iii)   $5,100.00; and

             (iv)    $143,462.00;

       (b)   The amount of all fees charged by Defendant Wells Fargo to accounts held


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            by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff
            Riad Holdings related to the Four Cashier’s Checks, Residual Balance and
            Unauthorized Withdrawal of the Unauthorized Transfer, the exact amount
            to be determined at trial;

     (c)    The amount of all interest that Defendant Wells Fargo failed to pay Plaintiff
            Riad and/or Plaintiff Riad Holdings related to the Three Deposits, Four
            Cashier’s Checks, Residual Balance and Unauthorized Withdrawal of the
            Unauthorized Transfer, the exact amount to be determined at trial;

     (d)    Punitive Damages;

     (e)    All attorney’s fees and litigation costs on a full indemnity basis;

     (f)    All costs;

     (g)    Interest; and

     (h)    Such other such relief as this Honorable Court may deem appropriate.

                                         COUNT 4

NEGLIGENCE BY DEFENDANT WELLS FARGO UNDER RESPONDEAT SUPERIOR

1.   Plaintiff Riad and Plaintiff Riad Holdings incorporate each and all of the above
     paragraphs by reference as if stated in full herein.

2.   Section A (Facts Relevant to Certain Cashier’s Checks Purchased by Plaintiff Riad
     and/or Plaintiff Riad Holdings) of the Background Facts found in this Complaint is
     incorporated by reference as if stated in full herein.

3.   Section B (Facts Relevant to Certain Unauthorized Wire Transfers from Plaintiff
     Riad and/or Plaintiff Riad Holdings Accounts with Defendant Wells Fargo) of the
     Background Facts found in this Complaint is incorporated by reference as if stated
     in full herein.

4.   Paragraph 9 of Count 1 is incorporated, mutatis mutandis, by reference as if stated

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      in full herein.

5.    Paragraphs 4 through 9, 11 through 17 and 19 and 20 of Count 2 are incorporated,
      mutatis mutandis, by reference as if stated in full herein.

6.    Paragraph 13 of Count 6 is incorporated, mutatis mutandis, by reference as if
      stated in full herein.

7.    At all times and places herein, Defendant Wells Fargo, by and/or through an
      employee or employees thereof, held out its ability to offer, offered and/or provided
      a variety of products and services to its customers, including Plaintiff Riad and/or
      Plaintiff Riad Holdings which included, but was not limited to, the following products
      and services:

7.1          The ability to open and close segregated accounts for the benefit of its
             customers.

7.2          The ability to accept deposits of funds into segregated accounts opened for
             the benefit of its customers.

7.3          The ability to hold deposited funds in safe custody and under proper
             administrative control in such segregated accounts opened for the benefit
             of its customers.

7.4          The ability to pay interest on positive balances of deposited funds and credit
             such interest to applicable accounts for the benefit of relevant customers.

7.5          The ability to make funds available for withdrawal from deposited funds
             pursuant to the request of authorized customers.

7.6          The ability to transfer funds between accounts held for the benefit of its
             customers.

7.7          The ability to issue, guarantee and cash cashier’s checks.

7.8          The ability to undertake Wire Transfers.


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7.9           The ability to provide statements and/or transaction records and/or such
              other records related to the amount, nature and movement of such funds
              and fees and other charges associated with such funds and Defendant
              Wells Fargo’s provision of products and/or services related to such funds,
              on a regular basis and/or upon reasonable demand by customers.

8.     Defendant Wells Fargo, by and/or through an employee or employees thereof, held
       out its ability to offer, offered and/or provided a variety of products and services to
       its customers including, but not limited to, Plaintiff Riad and/or Plaintiff Riad
       Holdings, in accordance with:

       (a)    Policies and/or procedures established by Defendant Wells Fargo from time
              to time in respect of such products and services and the delivery thereof;

       (b)    Customary banking best practices reasonably expected to be followed by a
              large regulated financial institution in the United States of America; and/or

       (c)    Laws applicable to Defendant Wells Fargo from time to time as a large
              regulated financial institution in the United States of America.

9.     At all times and places herein, Defendant Wells Fargo had employees working at
       the Branch including, but not limited to, Randolph and Wyatt.

10.    At all times and places herein, every employee of Defendant Wells Fargo that dealt
       with Plaintiff Riad and/or Plaintiff Riad Holdings or any matter related thereto,
       directly or indirectly, was employed by, and was an agent, servant and/or
       employee of Defendant Wells Fargo, including Randolph and Wyatt.

11.    At all times and places herein, Randolph was employed by, and was an agent,
       servant and/or employee of Defendant Wells Fargo.

11.1          Randolph was an experienced professional bank manager.

11.2          Randolph was employed by Defendant Wells Fargo as the Branch’s Store
              Manager III and Assistant Vice President.


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11.3          As the Branch’s Store Manager III and Assistant Vice President, Randolph
              routinely managed and supervised employees of Defendant Wells Fargo
              who worked at the Branch including, but not limited to, Wyatt and tellers.

12.    As part of his employment duties and in the ordinary course of his employment
       with Defendant Wells Fargo as the Branch’s Store Manager III and Assistant Vice
       President, Randolph:

       (a)    Had authority to sign on behalf of Defendant Wells Fargo;

       (b)    Had authority to sign as an Initiator’s Signature on Wire Transfer Request
              Forms;

       (c)    Had access to and/or the ability to modify information and/or inputs and/or
              outputs of information into, out of and within the information management
              systems (and consequent records thereof) of Defendant Wells Fargo;
              and/or

       (d)    Had the authority to undertake and/or guide and/or authorize the
              undertaking of transactions on behalf of Defendant Wells Fargo including,
              but not limited to, the deposit, withdrawal and transfer of funds, issuing of
              cashier’s checks and/or sending of Wire Transfers.

13.    In the ordinary course of his employment with Defendant Wells Fargo as the
       Branch’s Store Manager III and Assistant Vice President, Randolph initiated and/or
       organized and/or managed and/or supervised numerous transactions, either
       directly or under his care and/or instruction and/or management and/or supervision
       and/or guidance and/or knowledge, that advanced the business of Defendant
       Wells Fargo including, but not limited to:

       (a)    The opening and closing of customer accounts;

       (b)    The acceptance of deposits into such accounts;

       (c)    The holding of deposited funds in safe custody and under proper


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            administrative control of Defendant Wells Fargo;

      (d)   The payment of interest on positive balances of deposited funds and credit
            of such interest to applicable accounts for the benefit of relevant customers;

      (e)   The making of funds available for withdrawal from deposited funds pursuant
            to the request of authorized customers;

      (f)   The transfer funds between accounts held for the benefit of its customers;

      (g)   The issue, guarantee and cashing of cashier’s checks;

      (h)   The receipt of instructions, authorization and undertaking of Wire Transfers;
            and

      (i)   The provision of statements and/or transaction records and/or such other
            records related to the amount and/or nature and/or movement of such funds
            and/or fees and/or other charges associated with such funds and/or
            Defendant Wells Fargo’s provision of products and/or services related to
            such funds, on a regular basis and/or upon reasonable demand by
            authorized customers.

14.   As part of his employment duties and in the ordinary course of his employment
      with Defendant Wells Fargo as the Branch’s Store Manager III and Assistant Vice
      President, Randolph knew or should reasonably have known about:

      (a)   Policies and/or procedures established by Defendant Wells Fargo from time
            to time in respect of products and/or services customarily and/or routinely
            offered and/or executed at the Branch and elsewhere by Defendant Wells
            Fargo;

      (b)   Customary banking best practices reasonably expected to be followed by a
            large regulated financial institution in the United States of America; and/or

      (c)   Laws applicable to Defendant Wells Fargo from time to time as a large



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             regulated financial institution in the United States of America.

15.    As part of his employment duties and in the ordinary course of his employment
       with Defendant Wells Fargo as the Branch’s Store Manager III and Assistant Vice
       President, Randolph owed a duty of care to Plaintiff Riad and/or Plaintiff Riad
       Holdings to conduct himself and fulfill his employment duties:

       (a)   In a manner expected of a reasonably competent professional bank
             manager experienced with the range of products and/or services
             customarily and routinely offered and/or delivered by Defendant Wells
             Fargo;

       (b)   To a standard established by the policies and/or procedures of the
             Defendant Wells Fargo applicable to the range of products and/or services
             customarily and routinely offered and/or delivered by Defendant Wells
             Fargo;

       (c)   To a standard of customary banking best practices reasonably known to
             bank managers or which should have reasonably been known to bank
             managers applicable to the range of products and/or services customarily
             and routinely offered and/or delivered by Defendant Wells Fargo; and/or

       (d)   To a standard required by laws applicable to the range of products and/or
             services customarily and routinely offered and/or delivered by Defendant
             Wells Fargo as reasonably known to bank managers or which should have
             reasonably been known to bank managers.

16.    At all times and places herein, Wyatt was employed by, and was an agent, servant
       and/or employee of Defendant Wells Fargo.

16.1         Wyatt was an experienced employee in her area of employment.

16.2         As part of her employment duties and in the ordinary course of her
             employment with Defendant Wells Fargo, Wyatt had the authority, among
             other duties, to:

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             (a)    Prepare Wire Transfer Request Forms; and/or

             (b)    Sign as an Initiator’s Signature on Wire Transfer Request Forms;
                    and/or

             (c)    Sign as a Verifier’s Signature on Wire Transfer Request Forms.

17.   As part of her employment duties and in the ordinary course of her employment
      with Defendant Wells Fargo, Wyatt knew or should reasonably have known about:

      (a)    Policies and/or procedures established by Defendant Wells Fargo from time
             to time in respect of Wire Transfers;

      (b)    Customary banking best practices reasonably expected to be followed by a
             large regulated financial institution in the United States of America in
             respect of Wire Transfers; and/or

      (c)    Laws applicable to Defendant Wells Fargo from time to time as a large
             regulated financial institution in the United States of America in respect of
             Wire Transfers.

18.   As part of her employment duties and in the ordinary course of her employment
      with Defendant Wells Fargo, Wyatt owed a duty of care to Plaintiff Riad and/or
      Plaintiff Riad Holdings to conduct herself and fulfill her employment duties:

      (a)    In a manner expected of a reasonably competent professional bank
             employee experienced in the preparation and/or authorization and/or
             processing of Wire Transfers customarily and routinely offered and/or
             processed by Defendant Wells Fargo;

      (b)    To a standard established by the policies and/or procedures of the
             Defendant Wells Fargo related to the preparation and/or authorization
             and/or processing of Wire Transfers customarily and routinely offered
             and/or processed by Defendant Wells Fargo;




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      (c)    To a standard of customary banking best practices reasonably known to
             experienced employees or which should have reasonably been known to
             experienced employees related to the preparation and/or authorization
             and/or processing of Wire Transfers customarily and routinely offered
             and/or processed by Defendant Wells Fargo; and/or

      (d)    To a standard required by laws applicable to related to the preparation
             and/or authorization and/or processing of Wire Transfers customarily and
             routinely offered and/or processed by Defendant Wells Fargo as reasonably
             known to experienced employees or which should have reasonably been
             known to experienced employees.

19.   In addition to specific employment duties conducted in the ordinary course of their
      employment with Defendant Wells Fargo by Randolph and Wyatt, every other
      employee of Defendant Wells Fargo, as part of their employment duties
      undertaken in the ordinary course of their employment with Defendant Wells
      Fargo, owed a duty of care to Plaintiff Riad and/or Plaintiff Riad Holdings to conduct
      themselves and fulfill their employment duties:

      (a)    In a manner expected of a reasonably competent bank employee;

      (b)    To a standard established by the policies and/or procedures of the
             Defendant Wells Fargo in respect of their duties;

      (c)    To a standard of customary banking best practices as reasonably known to
             bank employees or which should have reasonably been known to bank
             employees in respect of their duties; and/or

      (d)    To a standard required by applicable law as reasonably known to bank
             employees or which should have reasonably been known to bank
             employees.

20.   The duty of care of employees of Defendant Wells Fargo to Plaintiff Riad and/or
      Plaintiff Riad Holdings included, but was not limited to, a duty of care in respect of


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the Defendant Wells Fargo’s provision of the following products and/or services
provided to Plaintiff Riad and/or Plaintiff Riad Holdings by Defendant Wells Fargo
in the ordinary course of their employment:

(a)   The opening and closing of accounts;

(b)   The acceptance of deposits into such accounts;

(c)   The holding of deposited funds in safe custody and under proper
      administrative control of Defendant Wells Fargo for the benefit of Plaintiff
      Riad and/or Plaintiff Riad Holdings;

(d)   The payment of interest on positive balances of deposited funds and credit
      of such interest to applicable accounts for the benefit of Plaintiff Riad and/or
      Plaintiff Riad Holdings;

(e)   The charging of only relevant and applicable fees related to dealings in
      accounts or transactions authorized by Plaintiff Riad and/or Plaintiff Riad
      Holdings;

(f)   The making of funds available for withdrawal by Plaintiff Riad and/or Plaintiff
      Raid Holdings from balances of funds deposited by Plaintiff Riad and/or
      Plaintiff Riad Holdings with Defendant Wells Fargo;

(g)   The receipt of instructions, authorization and undertaking of Wire Transfers
      only in accordance with their duty of care;

(h)   Maintaining bank account records that accurately reflect the balance of
      funds in accounts held by Defendant Wells Fargo for the benefit of Plaintiff
      Riad and/or Plaintiff Riad Holdings;

(i)   Correctly debiting and/or transferring and/or crediting funds deposited into
      and/or withdrawn out of accounts held by Defendant Wells Fargo for the
      benefit of Plaintiff Riad and/or Plaintiff Riad Holdings including, without
      limitation, funds deposited and/or withdrawn through cashier’s checks


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             and/or Wire Transfers;

      (j)    Detecting, preventing and/or remedying acts of fraud and/or other criminal
             conduct related to any Wire Transfers and/or activities in any accounts held
             by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff
             Riad Holdings including, but not limited to, acts of fraud and/or other criminal
             conduct committed by an employee or employees of Defendant Wells
             Fargo;

      (k)    The issue and cashing of cashier's checks purchased by Plaintiff Riad
             and/or Plaintiff Riad Holdings in accordance with the reasonable
             instructions of Plaintiff Riad and/or Plaintiff Riad Holdings;

      (l)    The return, receipt, acceptance for deposit and/or disposition of unused
             cashier’s checks purchased by Plaintiff Riad and/or Plaintiff Riad Holdings
             in accordance with their instructions; and/or

      (m)    The provision of statements and/or transaction records and/or such other
             records related to the amount and/or nature and/or movement of funds
             and/or fees and/or other charges and/or interest associated with accounts
             held by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Riad
             Holdings, on a regular basis and/or upon reasonable demand by Plaintiff
             Riad and/or Plaintiff Riad Holdings.

21.   By his acts and/or his omissions to act in the discharge of his duties including, but
      not limited to, his management duties, Randolph breached his duty of reasonable
      care to Plaintiff Riad and/or Plaintiff Riad Holdings to conduct himself and fulfill his
      employment duties:

      (a)    In a manner expected of a reasonably competent professional bank
             manager experienced with the range of products and/or services
             customarily and routinely offered and/or delivered by Defendant Wells
             Fargo;



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       (b)   To a standard established by the policies and/or procedures of the
             Defendant Wells Fargo applicable to the range of products and/or services
             customarily and routinely offered and/or delivered by Defendant Wells
             Fargo;

       (c)   To a standard of customary banking best practices reasonably known to
             bank managers or which should have reasonably been known to bank
             managers applicable to the range of products and/or services customarily
             and routinely offered and/or delivered by Defendant Wells Fargo; and/or

       (d)   To a standard required by laws applicable to the range of products and/or
             services customarily and routinely offered and/or delivered by Defendant
             Wells Fargo as reasonably known to bank managers or which should have
             reasonably been known to bank managers.

21.1         Section A (Facts Relevant to Certain Cashier’s Checks Purchased by
             Plaintiff Riad and/or Plaintiff Riad Holdings) of the Background Facts found
             in this Complaint is incorporated, mutatis mutandis, by reference as if stated
             in full herein.

21.2         Section B (Facts Relevant to Certain Unauthorized Wire Transfers from
             Plaintiff Riad and/or Plaintiff Riad Holdings Accounts with Defendant Wells
             Fargo) of the Background Facts found in this Complaint is incorporated,
             mutatis mutandis, by reference as if stated in full herein.

21.3         Paragraph 9 of Count 1 is incorporated, mutatis mutandis, by reference as
             if stated in full herein.

21.4         Paragraphs 4 through 9, 11 through 17 and 19 and 20 of Count 2 are
             incorporated, mutatis mutandis, by reference as if stated in full herein.

21.5         Paragraph 13 of Count 3 is incorporated, mutatis mutandis, by reference as
             if stated in full herein.

22.    By her acts and/or her omissions to act in the discharge of her duties, including,

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       but not limited to, ensuring that Wire Transfer Forms were properly filled out and/or
       completed and/or signed by relevant persons (including, but not limited to, Plaintiff
       Riad and/or Plaintiff Riad Holdings), Wyatt breached her duty of reasonable care
       to Plaintiff Riad and/or Plaintiff Riad Holdings to conduct herself and fulfill her
       employment duties:

       (a)    In a manner expected of a reasonably competent professional bank
              employee experienced in the preparation and/or authorization and/or
              processing of Wire Transfers customarily and routinely offered and/or
              processed by Defendant Wells Fargo;

       (b)    To a standard established by the policies and/or procedures of the
              Defendant Wells Fargo related to the preparation and/or authorization
              and/or processing of Wire Transfers customarily and routinely offered
              and/or processed by Defendant Wells Fargo;

       (c)    To a standard of customary banking best practices reasonably known to
              experienced employees or which should have reasonably been known to
              experienced employees related to the preparation and/or authorization
              and/or processing of Wire Transfers customarily and routinely offered
              and/or processed by Defendant Wells Fargo; and/or

       (d)    To a standard required by laws applicable to related to the preparation
              and/or authorization and/or processing of Wire Transfers customarily and
              routinely offered and/or processed by Defendant Wells Fargo as reasonably
              known to experienced employees which should have reasonably been
              known to experienced employees.

22.1          Wyatt failed to ensure that one (1) or more of the Wire Transfer Request
              Forms related to the Six Fraudulent Wire Transfers contained complete
              information.

22.2          Wyatt failed to ensure that one (1) or more of the Wire Transfer Request
              Forms related to the Six Fraudulent Wire Transfers contained accurate


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             information.

22.3         Wyatt failed to ensure that Plaintiff Riad and/or Riad Holdings signed one
             (1) or more of the Wire Transfer Request Forms related to the Six
             Fraudulent Wire Transfers (Customer Signature).

22.4         Wyatt failed to ensure that one (1) or more of the Wire Transfer Request
             Forms related to the Six Fraudulent Wire Transfers was signed by Plaintiff
             Riad in the presence of an employee of Defendant Wells Fargo.

22.5         Wyatt failed to ensure that the preparer of one (1) or more of the Wire
             Transfer Request Forms related to the Six Fraudulent Wire Transfers
             signed such form (Preparer’s Signature).

22.6         Wyatt failed to ensure that the initiator of one (1) or more of the Wire
             Transfer Request Forms related to the Six Fraudulent Wire Transfers
             signed such form (Initiator’s Signature).

22.7         Wyatt failed to ensure that the verifier of one (1) or more of the Wire Transfer
             Request Forms related to the Six Fraudulent Wire Transfers signed such
             form (Verifier’s Signature).

22.8         Wyatt failed to ensure that a bank officer with authority to authorize of one
             (1) or more of the Wire Transfer Request Forms related to the Six
             Fraudulent Wire Transfers signed such form (Authorized Signature).

22.9         Wyatt failed to ensure that one (1) or more of the Wire Transfer Request
             Forms related to the Six Fraudulent Wire Transfers was dated.

22.10        Wyatt failed to ensure that one (1) or more of the Wire Transfer Request
             Forms related to the Six Fraudulent Wire Transfers had an address for the
             Receiving Bank.

22.11        Wyatt failed to ensure that one (1) or more of the Wire Transfer Request
             Forms related to the Six Fraudulent Wire Transfers had an address for the


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               Beneficiary thereof.

22.12          Wyatt failed to ensure that one (1) or more of the Wire Transfer Request
               Forms related to the Six Fraudulent Wire Transfers specified whether or not
               the wire was conducted on an internal or customer initiated basis.

22.13          Section B (Facts Relevant to Certain Unauthorized Wire Transfers from
               Plaintiff Riad and/or Plaintiff Riad Holdings Accounts with Defendant Wells
               Fargo) of the Background Facts found in this Complaint is incorporated,
               mutatis mutandis, by reference as if stated in full herein.

22.14          Sub-Paragraphs 9(c), 9(d) and 9(e) of Count 4 are incorporated, mutatis
               mutandis, by reference as if stated in full herein.

23.     By their acts and/or their omissions to act in the discharge of their duties,
        employees of Defendant Wells Fargo breached their duty of reasonable care to
        Plaintiff Riad and/or Plaintiff Riad Holdings, when dealing with accounts and/or
        funds and/or instruments related to such accounts and/or derived from such funds
        associated with Plaintiff Riad and/or Riad Holdings, to conduct themselves and
        fulfill their employment duties:

        (a)    In a manner expected of a reasonably competent bank employee;

        (b)    To a standard established by the policies and/or procedures of Defendant
               Wells Fargo in respect of their duties;

        (c)    To a standard of customary banking best practices as reasonably known to
               bank employees or which should have reasonably been known to bank
               employees in respect of their duties; and/or

        (d)    To a standard required by applicable law as reasonably known to bank
               employees or which should have reasonably been known to bank
               employees.

23.1           Section A (Facts Relevant to Certain Cashier’s Checks Purchased by


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              Plaintiff Riad and/or Plaintiff Riad Holdings) of the Background Facts found
              in this Complaint is incorporated, mutatis mutandis, by reference as if stated
              in full herein.

23.2          Section B (Facts Relevant to Certain Unauthorized Wire Transfers from
              Plaintiff Riad and/or Plaintiff Riad Holdings Accounts with Defendant Wells
              Fargo) of the Background Facts found in this Complaint is incorporated,
              mutatis mutandis, by reference as if stated in full herein.

23.3          Paragraph 9 of Count 1 is incorporated, mutatis mutandis, by reference as
              if stated in full herein.

23.4          Paragraphs 4 through 9, 11 through 17 and 19 and 20 of Count 2 are
              incorporated, mutatis mutandis, by reference as if stated in full herein.

23.5          Paragraph 13 of Count 3 is incorporated, mutatis mutandis, by reference as
              if stated in full herein.

24.    The negligent conduct of Randolph and/or Wyatt and/or other employees of
       Defendant Wells Fargo in dealing with Plaintiff Riad and/or Riad Holdings, while
       acting within the scope of their employment duties and in the ordinary course of
       their employment with Defendant Wells Fargo, was a direct and proximate cause
       of harm to Plaintiff Riad and/or Plaintiff Riad including, but not limited to, the loss
       of the benefit of their funds and other losses, damages and prejudice related
       thereto.

25.    As the employer of:

       (a)    Randolph; and/or

       (b)    Wyatt; and/or

       (c)    The other employees who dealt with accounts and/or funds and/or
              instruments related to such accounts and/or derived from such funds
              associated with Plaintiff Riad and/or Riad Holdings,


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      at all relevant times and places herein, Defendant Wells Fargo is responsible for
      all of the negligent acts and/or omissions to act committed by Randolph and/or
      Wyatt and/or such other employees within the scope of their employment with
      Defendant Wells Fargo.

WHEREFORE, Plaintiff Riad and Plaintiff Riad Holdings respectfully request entry of
      judgment in favor of Plaintiff Riad and Plaintiff Riad Holdings against Defendant
      Wells Fargo Bank, N.A. for damages in the amount of:

      (a)   Actual damages and/or compensatory damages and/or restitutionary
            damages in the following amounts:

            (i)     $4,600,000.00; and

            (ii)    $1,068,735.00; and

            (iii)   $5,100.00; and

            (iv)    $143,462.00;

      (b)   The amount of all fees charged by Defendant Wells Fargo to accounts held
            by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff
            Riad Holdings related to the Four Cashier’s Checks, Residual Balance and
            Unauthorized Withdrawal of the Unauthorized Transfer, the exact amount
            to be determined at trial;

      (c)   The amount of all interest that Defendant Wells Fargo failed to pay Plaintiff
            Riad and/or Plaintiff Riad Holdings related to the Three Deposits, Four
            Cashier’s Checks, Residual Balance and Unauthorized Withdrawal of the
            Unauthorized Transfer, the exact amount to be determined at trial;

      (d)   Punitive Damages;

      (e)   All attorney’s fees and litigation costs on a full indemnity basis;

      (f)   All costs;


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      (g)    Interest; and

      (h)    Such other such relief as this Honorable Court may deem appropriate.


                                         COUNT 5

                          NEGLIGENT HIRING/SUPERVISION

1.    Plaintiff Riad and Plaintiff Riad Holdings incorporate each and all of the above
      paragraphs by reference as if stated in full herein.

2.    Section A (Facts Relevant to Certain Cashier’s Checks Purchased by Plaintiff Riad
      and/or Plaintiff Riad Holdings) of the Background Facts found in this Complaint is
      incorporated by reference as if stated in full herein.

3.    Section B (Facts Relevant to Certain Unauthorized Wire Transfers from Plaintiff
      Riad and/or Plaintiff Riad Holdings Accounts with Defendant Wells Fargo) of the
      Background Facts found in this Complaint is incorporated by reference as if stated
      in full herein.

4.    Paragraph 9 of Count 1 is incorporated, mutatis mutandis, by reference as if stated
      in full herein.

5.    Paragraphs 4 through 9, 11 through 17 and 19 and 20 of Count 2 are incorporated,
      mutatis mutandis, by reference as if stated in full herein.

6.    Paragraph 13 of Count 3 is incorporated, mutatis mutandis, by reference as if
      stated in full herein.

7.    Paragraphs 6 through 25 of Count 4 are incorporated, mutatis mutandis, by
      reference as if stated in full herein.

8.    At all times and places herein:

8.1          Randolph:



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            (a)      Was employed by, and was an agent, servant and/or employee of
                     Defendant Wells Fargo;

            (b)      Randolph was employed by Defendant Wells Fargo as the Branch’s
                     Store Manager III and Assistant Vice President; and

            (c)      Acted within the scope of his employment with Defendant Wells
                     Fargo.

8.2         Wyatt:

            (a)      Was employed by, and was an agent, servant and/or employee of
                     Defendant Wells Fargo; and

            (b)      Acted within the scope of her employment with Defendant Wells
                     Fargo.

8.3         Every other employee of Defendant Wells Fargo who dealt with accounts
            and/or funds and/or instruments related to such accounts and/or derived
            from such funds associated with Plaintiff Riad and/or Riad Holdings:

            (a)      Was employed by, and was an agent, servant and/or employee of
                     Defendant Wells Fargo; and

            (b)      Acted within the scope of their employment with Defendant Wells
                     Fargo.

9.    Defendant Wells Fargo is responsible for:

      (a)   The negligent acts performed by Randolph within the scope of his
            employment with Defendant Wells Fargo; and

      (b)   The negligent acts performed by Wyatt within the scope of her employment
            with Defendant Wells Fargo; and

      (c)   The negligent acts performed by such other employees of Defendant Wells



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            Fargo who dealt with accounts and/or funds and/or instruments related to
            such accounts and/or derived from such funds associated with Plaintiff Riad
            and/or Riad Holdings.

10.   Defendant Wells Fargo had a duty to train Randolph and/or provide Randolph with
      an adequate awareness of and/or access to policies and/or procedures and/or
      controls to ensure that he was able to undertake his employment duties as the
      Branch’s Store Manager III and Assistant Vice President in respect of the
      supervision and/or management of Wyatt in her execution of the Six Fraudulent
      Wire Transfers and/or provision of Wire Transfer services on behalf of Defendant
      Wells Fargo to ensure that the same was conducted:

      (a)   In a manner expected of a reasonably competent professional bank
            employee experienced in the preparation and/or authorization and/or
            processing of Wire Transfers customarily and routinely offered and/or
            processed by Defendant Wells Fargo;

      (b)   To a standard established by the policies and/or procedures of the
            Defendant Wells Fargo related to the preparation and/or authorization
            and/or processing of Wire Transfers customarily and routinely offered
            and/or processed by Defendant Wells Fargo;

      (c)   To a standard of customary banking best practices reasonably known to
            experienced employees or which should have reasonably been known to
            experienced employees related to the preparation and/or authorization
            and/or processing of Wire Transfers customarily and routinely offered
            and/or processed by Defendant Wells Fargo; and/or

      (d)   To a standard required by laws applicable to related to the preparation
            and/or authorization and/or processing of Wire Transfers customarily and
            routinely offered and/or processed by Defendant Wells Fargo as reasonably
            known to experienced employees or which should have reasonably been
            known to experienced employees.



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11.   Defendant Wells Fargo had a duty to train Wyatt to ensure that she was able to
      undertake her employment duties with Defendant Wells Fargo:

      (a)    In a manner expected of a reasonably competent professional bank
             employee experienced in the preparation and/or authorization and/or
             processing of Wire Transfers customarily and routinely offered and/or
             processed by Defendant Wells Fargo;

      (b)    To a standard established by the policies and/or procedures of the
             Defendant Wells Fargo related to the preparation and/or authorization
             and/or processing of Wire Transfers customarily and routinely offered
             and/or processed by Defendant Wells Fargo;

      (c)    To a standard of customary banking best practices reasonably known to
             experienced employees or which should have reasonably been known to
             experienced employees related to the preparation and/or authorization
             and/or processing of Wire Transfers customarily and routinely offered
             and/or processed by Defendant Wells Fargo; and/or

      (d)    To a standard required by laws applicable to related to the preparation
             and/or authorization and/or processing of Wire Transfers customarily and
             routinely offered and/or processed by Defendant Wells Fargo as reasonably
             known to experienced employees or which should have reasonably been
             known to experienced employees.

12.   Defendant Wells Fargo had a duty to train Randolph and/or provide Randolph with
      an adequate awareness of and/or access to policies and/or procedures and/or
      controls to ensure that he was able to undertake his employment duties as the
      Branch’s Store Manager III and Assistant Vice President in respect of the
      supervision and/or management of employees and/or undertaking of transactions
      on behalf of Defendant Wells Fargo for Plaintiff Riad and/or Plaintiff Riad Holdings:

       (a)    In a manner expected of a reasonably competent professional bank
              manager experienced with the range of products and/or services


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               customarily and routinely offered and/or delivered by Defendant Wells
               Fargo;

       (b)     To a standard established by the policies and/or procedures of the
               Defendant Wells Fargo applicable to the range of products and/or services
               customarily and routinely offered and/or delivered by Defendant Wells
               Fargo;

       (c)     To a standard of customary banking best practices reasonably known to
               bank managers or which should have reasonably been known to bank
               managers applicable to the range of products and/or services customarily
               and routinely offered and/or delivered by Defendant Wells Fargo; and/or

       (d)     To a standard required by laws applicable to the range of products and/or
               services customarily and routinely offered and/or delivered by Defendant
               Wells Fargo as reasonably known to bank managers or which should have
               reasonably been known to bank managers.

      Without limiting the generality of every other paragraph herein, Paragraphs 11
      through 14 of Count 4 are incorporated, mutatis mutandis, by reference as if stated
      in full herein.

13.   Defendant Wells Fargo had a duty to train other employees of Defendant Wells
      Fargo who dealt with Plaintiff Riad and/or Plaintiff Riad Holdings and/or accounts
      and/or instruments held for the benefit of Plaintiff Riad and/or Plaintiff Riad
      Holdings with Defendant Wells Fargo to ensure that they were able to undertake
      their employment duties with Defendant Wells Fargo:

      (a)    In a manner expected of a reasonably competent bank employee;

      (b)    To a standard established by the policies and/or procedures of the
             Defendant Wells Fargo in respect of their duties;

      (c)    To a standard of customary banking best practices as reasonably known to
             bank employees or which should have reasonably been known to bank

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              employees in respect of their duties; and/or

       (d)    To a standard required by applicable law as reasonably known to bank
              employees or which should have reasonably been known to bank
              employees.

14.    Defendant Wells Fargo failed to provide any and/or adequate training and/or
       awareness of and/or access to policies and/or procedures and/or controls and/or
       supervision of Wyatt, Randolph and other employees who dealt with Plaintiff Riad
       and/or Plaintiff Riad Holdings and/or accounts and/or instruments held for the
       benefit of Plaintiff Riad and/or Plaintiff Riad Holdings with Defendant Wells Fargo
       to the required standard of care reasonably expected of a large regulated financial
       institution in the United States of America.

14.1          Defendant Wells Fargo failed to provide any and/or adequate training and/or
              awareness of and/or access to policies and/or procedures and/or controls
              and/or supervision of Wyatt to enable Wyatt to discharge of her employment
              duties to organize Wire Transfers and/or provide Wire Transfer services to
              require standards of care.

14.2          Defendant Wells Fargo failed to provide any and/or adequate training and/or
              awareness of and/or access to policies and/or procedures and/or controls
              and/or supervision of Randolph to enable Randolph to discharge of his
              employment duties to:

              (a)    Undertake various transactions;

              (b)    Supervise and/or manage the organization and/or undertaking of
                     various transactions;

              (c)    Manage and/or supervise employees of Defendant Wells Fargo at
                     the Branch in their conduct of various activities and transactions;

              (d)    Supervise and/or manage the organization and/or undertaking of
                     Wire Transfers;

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              (e)    Supervise employees of Defendant Wells Fargo in the organization
                     and/or undertaking of Wire Transfers;

              (f)    Supervise and/or manage the organization and/or disposition and/or
                     deposit of and/or other dealing in cashier’s checks; and/or

              (g)    Supervise employees of Defendant Wells Fargo in the organization
                     and/or disposition and/or deposit of and/or other dealing in cashier’s
                     checks,

              to require standards of care.

14.3          Defendant Wells Fargo failed to provide any and/or adequate training and/or
              awareness of and/or access to policies and/or procedures and/or controls
              and/or supervision of such other employees of Defendant Wells Fargo who
              dealt with Plaintiff Riad and/or Plaintiff Riad Holdings and/or accounts
              and/or instruments held for the benefit of Plaintiff Riad and/or Plaintiff Riad
              Holdings with Defendant Wells Fargo to enable such employees to:

              (a)    Undertake various transactions; and

              (b)    Manage the organization and/or undertaking of various transactions,

                     to require standards of care.

15.    The negligence of Defendant Wells Fargo in failing to provide any and/or adequate
       training and/or supervision for:

       (a)    Randolph;

       (b)    Wyatt; and/or

       (c)    Such other employees of Defendant Wells Fargo who dealt with Plaintiff
              Riad and/or Plaintiff Riad Holdings and/or accounts and/or instruments held
              for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings with Defendant
              Wells Fargo,


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      is a direct and proximate cause of damages caused to Plaintiff Riad and/or Plaintiff
      Riad Holdings.

WHEREFORE, Plaintiff Riad and Plaintiff Riad Holdings respectfully request entry of
      judgment in favor of Plaintiff Riad and Plaintiff Riad Holdings against Defendant
      Wells Fargo Bank, N.A. for damages in the amount of:

      (a)    Actual damages and/or compensatory damages and/or restitutionary
             damages in the following amounts:

             (i)     $4,600,000.00; and

             (ii)    $1,068,735.00; and

             (iii)   $5,100.00; and

             (iv)    $143,462.00;

      (b)   The amount of all fees charged by Defendant Wells Fargo to accounts held
             by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff
             Riad Holdings related to the Four Cashier’s Checks, Residual Balance and
             Unauthorized Withdrawal of the Unauthorized Transfer, the exact amount
             to be determined at trial;

      (c)   The amount of all interest that Defendant Wells Fargo failed to pay Plaintiff
             Riad and/or Plaintiff Riad Holdings related to the Three Deposits, Four
             Cashier’s Checks, Residual Balance and Unauthorized Withdrawal of the
             Unauthorized Transfer, the exact amount to be determined at trial;

      (d)    Punitive Damages;

      (e)   All attorney’s fees and litigation costs on a full indemnity basis;

      (f)   All costs;

      (g)   Interest; and



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     (h)    Such other such relief as this Honorable Court may deem appropriate.


                                       COUNT 6

               CONSUMER FRAUD BY DEFENDANT WELLS FARGO

1.   Plaintiff Riad and Plaintiff Riad Holdings incorporate each and all of the above
     paragraphs by reference as if stated in full herein.

2.   Section A (Facts Relevant to Certain Cashier’s Checks Purchased by Plaintiff Riad
     and/or Plaintiff Riad Holdings) of the Background Facts found in this Complaint is
     incorporated by reference as if stated in full herein including.

3.   Section B (Facts Relevant to Certain Unauthorized Wire Transfers from Plaintiff
     Riad and/or Plaintiff Riad Holdings Accounts with Defendant Wells Fargo) of the
     Background Facts found in this Complaint is incorporated by reference as if stated
     in full herein.

4.   Section C (Facts Relevant to Consumer Fraud by Defendant Wells Fargo in
     relation to Plaintiff Riad and/or Riad Holdings) of the Background Facts found in
     this Complaint is incorporated by reference as if stated in full herein.

5.   Paragraph 13 of Count 3 is incorporated, mutatis mutandis, by reference as if
     stated in full herein.

6.   At all times and places herein, Plaintiff Riad and/or Riad Holdings and/or
     Schepperd were customers of Defendant Wells Fargo.

7.   The Unfair Trade Practices and Consumer Protection Law Act, 73 Pa. CS 201-1
     et seq. (the “UTPCPL”) defines “unfair methods of competition” and “unfair or
     deceptive acts or practices to include, inter alia, “engaging in any other fraudulent
     or deceptive conduct       which creates a        likelihood of    confusion   or of
     misunderstanding” and makes the same unlawful.

8.   As affirmed in the above paragraphs as incorporated by reference herein,


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      Defendant Wells Fargo engaged in fraudulent and/or deceptive conduct in its acts
      and/or omissions to act in respect of its dealings with Plaintiff Riad and/or Plaintiff
      Riad in respect of accounts held by Defendant Wells Fargo for the benefit of
      Plaintiff Riad and/or Plaintiff Riad Holdings.

8.1          The Defendant Wells Fargo’s opening and/or closing and/or transacting in
             the Fraudulent Churn Accounts and every other account held by Defendant
             Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings
             without their knowledge, consent and authority and Defendant Wells
             Fargo’s unwillingness and/or inability to provide complete records of such
             accounts, the amount of funds held in such accounts, the fees and charges
             debited from such accounts and the interest credited to such accounts, if
             any, caused Plaintiff Riad and/or Plaintiff Riad Holdings to become
             confused about the nature and/or variety of the Defendant’s Products and
             Services allocated to Plaintiff Riad and/or Plaintiff Riad Holdings by
             Defendant Wells Fargo (without the consent, knowledge and authority of
             Plaintiff Riad and/or Plaintiff Riad Holdings), the nature and amount of funds
             held by Defendant Wells Fargo for the benefit of Plaintiff Riad and/or Riad
             Holdings, the nature and/or amount of fees and/or other charges charged
             by Defendant Wells Fargo in respect of such accounts and the nature and/or
             amounts of interest paid, if any, by Defendant Wells Fargo in respect of
             such accounts, to the prejudice and loss of Plaintiff Riad and/or Plaintiff Riad
             Holdings.

8.2          The Defendant Wells Fargo’s opening and/or closing and/or transacting in
             the Fraudulent Churn Accounts and every other account held by Defendant
             Wells Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings
             without their knowledge, consent and authority and Defendant Wells
             Fargo’s unwillingness or inability to provide complete records of such
             accounts, the amount of funds held in such accounts, the fees and charges
             debited from such accounts and the interest credited to such accounts, if
             any, caused Plaintiff Riad and/or Plaintiff Riad Holdings to misunderstand


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             the nature and/or variety of the Defendant’s Products and Services
             allocated to Plaintiff Riad and/or Plaintiff Riad Holdings by Defendant Wells
             Fargo (without the consent, knowledge and authority of Plaintiff Riad and/or
             Plaintiff Riad Holdings), the nature and amount of funds held by Defendant
             Wells Fargo for the benefit of Plaintiff Riad and/or Riad Holdings, the nature
             and/or amount of fees and/or other charges charged by Defendant Wells
             Fargo in respect of such accounts and the nature and/or amounts of interest
             paid, if any, by Defendant Wells Fargo in respect of such accounts, to the
             prejudice and loss of Plaintiff Riad and/or Plaintiff Riad Holdings.

9.    In addition to and/or alternative to Paragraph 8 herein, Defendant Wells Fargo,
      engaged in fraudulent and/or deceptive conduct in its acts and/or omissions to act
      in respect of its dealings with Plaintiff Riad and/or Plaintiff Riad in respect to the
      Riad Schepperd Account and/or such other accounts held by Defendant Wells
      Fargo for the benefit of Plaintiff Riad and/or Plaintiff Riad Holdings.

9.1          Defendant Wells Fargo took advantage of the knowledge of Schepperd’s
             limited capacity and inability to manage money and/or money-related affairs
             to prejudice Plaintiff Riad in dealings with funds jointly held by Plaintiff Riad
             and Schepperd with Defendant Wells Fargo; and/or

9.2          Defendant Wells Fargo should reasonably have known about Schepperd’s
             limited capacity and/or inability to manage money and/or money-related
             affairs and, notwithstanding the same, conducted bank transactions on
             behalf of Schepperd and/or involving accounts held jointly by Plaintiff Riad
             and Schepperd with Defendant Wells Fargo to prejudice Plaintiff Riad.

10.   It was known to Defendant Wells Fargo, by and/or through Randolph and/or an
      employee or employees of Defendant Wells Fargo at the Branch that Schepperd:

             (a)      Was a former employee of Wachovia;

             (b)      Had suffered from brain tumor;



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             (c)       Had undergone brain surgery in connection with the brain tumor;
                       and

             (d)       Due to her illness and subsequent effects therefrom, had limited
                       neuropsychological capacity to conduct her own affairs.

11.    Medical     records   and     reports    which   confirmed   Schepperd’s      limited
       neuropsychological capacity and her inability to manage money formed part of her
       employment records with Defendant Wells Fargo.

11.1         The following excerpts form part of the medical records and reports
             provided to Defendant Wells Fargo in connection with the craniotomy and
             brain tumor:

                     PREOPERATIVE DIAGNOSIS: Left hypothalamic brain tumor

                     POSTOPERATIVE DIAGNOSIS: Left hypothalamic brain tumor

                     “A pearly white tumor was noted to be herniating up from the
                     floor of the lateral ventricle.”

       (Operative Note, University of Pennsylvania, Department of Neurology).

11.2         The following excerpts form part of the medical records and reports
             provided to Defendant Wells Fargo:

                     [Ms. Schepperd is] “a lovely woman who underwent resection
                     of a pilocytic astrocytoma in the region of the thalamus. . .
                     [She] has remained at home caring for her infant daughter.”

                     (Neurology Report, pg. 1).

                     “Based on the neuropsychological findings I continue to be
                     very concerned about [Ms. Schepperd’s] return to work in a
                     position where she must handle large sums of money. I do
                     not believe that at this time she can be expected to perform


                                                                                 Page | 136
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                    her previous duties reliably and independently. Since it has
                    been more than a year since her surgery and the onset of the
                    cognitive problems, it is unlikely that there will be much further
                    spontaneous recovery of neurological function.” (Neurology
                    Report, pg. 3)

12.   In addition to and/or alternative to Paragraphs 8 and/or 9 through 11 herein,
      Defendant Wells Fargo, by and/or through an employee or employees thereof,
      committed multiple instances of identity theft under Pennsylvania Statutes Title 18
      Pa. C.S.A. Crimes and Offenses §4120, Identity Theft, by possessing and/or using
      the identifying information of Plaintiff Riad and/or Plaintiff Riad Holdings without
      the consent of Plaintiff Riad and/or Plaintiff Riad to further unlawful purposes
      including, but not limited to, the opening and/or closing and/or transacting in the
      Fraudulent Churn Accounts and every other account opened and/or closed and/or
      transacted in on behalf of Plaintiff Riad and/or Plaintiff Riad Holdings without their
      knowledge, consent and authority and:

      (a)    Misallocating funds and/or failing to return funds held by Defendant Wells
             Fargo for the benefit of Plaintiff Riad and/or Riad Holdings to the financial
             benefit of Defendant Wells Fargo and/or other third parties and to the
             prejudice and loss of Plaintiff Riad and/or Plaintiff Riad Holdings;

      (b)    Generating fees for the financial benefit of Defendant Wells Fargo through
             the opening and/or closing and/or transacting in such accounts to the
             prejudice and loss of Plaintiff Riad and/or Plaintiff Riad Holdings; and/or

      (c)    Depriving Plaintiff Riad and/or Plaintiff Riad Holdings of the benefit of
             interest otherwise due and payable to Plaintiff Riad and/or Plaintiff Riad
             Holdings by Defendant Wells Fargo absent the opening and/or closing
             and/or transacting in such accounts which created a financial benefit of
             Defendant Wells Fargo.

13.   In addition to and/or alternative to Paragraphs 8 and/or 9 through 11 and/or 12



                                                                                    Page | 137
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      herein, Defendant Wells Fargo, by and/or through an employee or employees
      thereof, committed multiple instances of identity theft under the Identity Theft and
      Assumption Deterrence Act, as amended by Public Law 105-318, 11 Stat. 3007
      (October 20, 1998), by knowingly transferring and/or using the identifying
      information of Plaintiff Riad and/or Plaintiff Riad Holdings without the consent of
      Plaintiff Riad and/or Plaintiff Riad with the intent to commit, aid or abet activities
      that violate federal law and/or constitute a felony under state law including, but not
      limited to, the opening and/or closing and/or transacting in the Fraudulent Churn
      Accounts and every other account opened and/or closed and/or transacted in on
      behalf of Plaintiff Riad and/or Plaintiff Riad Holdings without their knowledge,
      consent and authority and:

      (a)    Misallocating funds and/or failing to return funds held by Defendant Wells
             Fargo for the benefit of Plaintiff Riad and/or Riad Holdings to the financial
             benefit of Defendant Wells Fargo and/or other third parties and to the
             prejudice and loss of Plaintiff Riad and/or Plaintiff Riad Holdings;

      (b)    Generating fees for the financial benefit of Defendant Wells Fargo through
             the opening and/or closing and/or transacting in such accounts to the
             prejudice and loss of Plaintiff Riad and/or Plaintiff Riad Holdings; and/or

      (c)    Depriving Plaintiff Riad and/or Plaintiff Riad Holdings of the benefit of
             interest otherwise due and payable to Plaintiff Riad and/or Plaintiff Riad
             Holdings by Defendant Wells Fargo absent the opening and/or closing
             and/or transacting in such accounts which created a financial benefit of
             Defendant Wells Fargo.

14.   Despite Defendant Wells Fargo’s well documented public record of:

      (a)    Its illegal abuse of its customers;

      (b)    Its unlawful conduct;

      (c)    Its fraudulent and deceptive practices against its customers including, but


                                                                                    Page | 138
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              not limited to, the use of consumer information without their consent or
              knowledge; and

       (d)    Its payment of substantial fines and penalties,

       as evidenced in Section C of the Background Facts of this Complaint, Defendant
       Wells Fargo was not deterred in engaging in similar fraud, deceptive practices and
       use of the identifying information of Plaintiff Riad and/or Plaintiff Riad without their
       consent, knowledge or authority.

15.    Defendant Wells Fargo has repeatedly and deliberately frustrated and/or
       demonstrated an inability and/or unwillingness to remedy its unlawful, deceptive
       and fraudulent practices in relation to Plaintiff Riad and/or Plaintiff Riad Holdings.

16.    In Schwartz v. Rockey et al., No. 2036 WDA 2004, slip op. at 14-15, 897 A.2d 528
       (Pa.Super.2006), the Supreme Court of Pennsylvania lowered the standard for
       plaintiffs to win treble damages in a private action under the UTPCPL apart from
       any determination of punitive damages.

16.1          The Supreme Court found that treble damages should be awarded more
              generously than punitive damages.

16.2          The Supreme Court found that an award of treble damages under a
              consumer protection statute is both punitive and remedial and should not
              be bound by the stricter punitive considerations.

16.3          The Supreme Court found that a prayer for relief that seeks contract-based
              remedies does not foreclose subsequent amendments for relief that include
              equitable remedies as a plaintiff may not know the extent of damages at the
              time that the complaint is filed (as the case in the matter at hand).

17.    Given the above, Defendant Wells Fargo’s egregious conduct in relation to Plaintiff
       Riad and/or Plaintiff Riad Holdings including, but not limited, to, Defendant Wells
       Fargo’s conduct in connection with the Schepperd Riad Account, the forged
       signatures on the Second Version of the First Wire Authorization Form, Third

                                                                                    Page | 139
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      Version of the First Wire Authorization Form, the Second Wire Authorization Form
      and the Second Version of the Fifth Wire Authorization Form, and its willful
      withholding of account records, in the context of its broader record of similar
      violations with other customers, reasonably and justifiably warrants an award of
      treble damages in accordance with the rationale for the award of treble damages
      as permitted by applicable law and confirmed by judicial precedent.

WHEREFORE, Plaintiff Riad and Plaintiff Riad Holdings respectfully request entry of
      judgment in favor of Plaintiff Riad and Plaintiff Riad Holdings against Defendant
      Wells Fargo Bank, N.A. for damages in the amount of:

      (a)   The amount of all funds that Defendant Wells Fargo transferred into and/or
            out of the Fraudulent Churn Accounts including, but not limited to:

            (j)     $4,600,000.00; and

            (ii)    $1,068,735.00; and

            (iii)   $5,100.00; and

            (iv)    $143,462.00; and

            (iv)    Such other funds in every other account opened and/or closed and/or
                    transacted in by Defendant Wells Fargo without the consent,
                    knowledge or authority of Plaintiff Riad and/or Plaintiff Riad Holdings
                    and/or Schepperd that it has failed to return to Plaintiff Riad and/or
                    Plaintiff Riad Holdings and/or Schepperd, the exact amount to be
                    determined at trial;

      (b)   The amount of all fees and other charges that Defendant Wells Fargo
            debited Plaintiff Riad and/or Plaintiff Riad Holdings and/or Schepperd in
            relation to every transaction and other activity related to the Fraudulent
            Churn Accounts and every other account opened and/or closed and/or
            transacted in by Defendant Wells Fargo without the consent, knowledge or
            authority of Plaintiff Riad and/or Plaintiff Riad Holdings and/or Schepperd,

                                                                                Page | 140
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APPENDICES




                 APPENDICES COMMENCE ON FOLLOWING PAGE




                                      Joseph Riad and Riad Holdings, Inc. v. Wells Fargo Bank, N.A.
                                                                          Appendices to Complaint
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APPENDIX 1. First Version of the First Fraudulent Wire Transfer Request Form




                                                  Joseph Riad and Riad Holdings, Inc. v. Wells Fargo Bank, N.A.
                                                                                      Appendices to Complaint
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WACHOVIA                                                                                                                                :;. 1:.,. -� 7'6'-   �ooo
Wire Transfer of Funds                                         Preparer's Signature                                            Authorized Signature
Request                                                         061506                  Account Status                        NSF Only
                                                                                        Sufficient (Audio Checked)
                                                                                        Not Sufficient (NSF)                   NSF Source of Funds
Callback NO
Required                                                                                    SUFFICIENT
(Yes or No)                                                                                                                    Credit Approver Name (Please Print)


                      Customer Accepting Call Back/Phone Number                                                                Credit Approver Signature


                                                                                                                               Date                             Time of Call
                    Verifier's Signature

 Wire Transfer of Funds                                                                                    Current Date                  Control Number

 Wachovia, a div of WellsFargoBankNA                                                                       11/23/10                        400415

 Domestic or International              Non-Repetitive or Repetitive          Line Number                  Amt Verify Cd                 Verify I.D.           Type (Fed, Book. OIiier)
 INTERNATIONAL                             NON-REPETITIVE                                                        N

 Caller                                                                                       Financial Center or Department                           Request Type (Phone or Walk in)
                                                                                              0802888                                                   WALK-IN
 Description 2 (GL)                                                Execution Date                                             Domestic Transfer Amount
                                                                   11/23/10                                               $
 Type Currency                                             Value Date                   Foreign Amount                                                 Exchange Rate
 US DOLLAR                                                  11/23/10                                                                                   1.0000000000
 Contract Number / Provided By


 U.S. Dollar Amount                                                                                                           Foreign Currency Transfer Amount
                                                                                                                      =
 $53,000.00                                                                                                                   53,000.00
               Name                               Check One                           Customer Initiated                          Org              Account Number
               RIAD HOLDINGS                                                                                                      75               [Redacted]1413
               Address
               509 SCHOOLHOUSE RD KENNETT SQUARE PA
               City/State/Zip/Country
               193480000
               ID 22655607                                        ID Source   PA       ID Type   DL                                              Expiration Date   120430
               Name                                                                                                               R/T Number
 �             CORIS BANK INTERNATIONAL
  �            Address
  Cl
 ·s;:          City/State/Zip/Country
 ·a:;          OUAGADOUGOU BURKINA FASO
  u
  a,
                          Advice NONE
                          (No Phone Advice Required, Credit and Phone Advice, Notify and Pay, Pay Upon Proper I.D.)
               Name                                                                                        Org                Account Number
               TAPSOBA EMMANUEL                                                                                               [Redacted]
  Q)           Address

  >,
  C1J
 Q.            City/State/Zip/Country
               BURKINA FASO
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       C1J
               Other Payment Information
               SWIFT CODE CORIBFBF CORRESPONDANT BANK IS SOCIETE GENERAL DU BANQU
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  Q)    ....


               CHARGE
                                                                                             Customer Contract
Fee Method                        All of the above information is complete and correct and provided to Wachovia Bank, a divis:on of Wells Fargo Bank, N./l.. or to
(Waive/Charge)                    Wachovia Bank of Delaware, a division of Wells Fargo Bank, N.A. (each, the "Bank") for it to implement a wire transfer of funds
                                  from my account. The Bank's acceptance and execution of my wire transfer transaction is subject to the Terms and Conditions
                                  contained in this Wire Transfer of Funds Request. My signature below evidences that I have received a complete copy of this
                                  Request, and that I have received the Deposit Agreement.

                                             X ---------------------
                                               customer Signature
562283 (Rev 04) Page 1 of 2                                   COPY 1 - FINANCIAL CENTER COPY 2 - CUSTOMER
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APPENDIX 2. Second Version of the First Fraudulent Wire Transfer Request Form




                                                Joseph Riad and Riad Holdings, Inc. v. Wells Fargo Bank, N.A.
                                                                                    Appendices to Complaint
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                                                                                                   (\ 13 f\ ±:l. 0;) b C,()                ��          fhN :#
WACHOVIA                                                       For Use by CMG Field Personnel Only (Not for Financial Center use)


Wire Transfer of Funds                                           Preparers Signature                                                 Authorized Signature
Request                                                           061506                      Account Status                        NSF Only
                                                                                              Sufficient (Audio Checked)




                                                                                                                                                                                               t
                                                                                              Not Sufficient (NSF)                   NSF Source of Funds
Callback NO
Required                                                                                      SUFFICIENT
(Yes or No)                                                                                                                          Credit Approver Name (Please Print)


                       Customer Accepting Call Back/Phone Number                                                                    Credit Approver Signature

                                                                                                                                                                                               ,.
                                                                                                                                    Date                                 Time of Call
                       Verifier's Signature

Wire Transfer of Funds                                                                                          Current Date                   Control Number

Wachovia, a div of WellsFargoBankNA                                                                             11/23/10                        400415

 Domestic or International                Non-Repetitive or Repetitive          Line Number                     Arnt Verify Cd                 Verify I.D.           Type (Fed, Book, Other)
 INTERNATIONAL                                NON-REPETITIVE                                                          N

 Caller                                                                                            Financial Center or Department                            Request Type (Phone or Walk in)
                                                                                                   0802888                                                    WALK-IN
 Description 2 (GL)                                                  Execution Date                                                Domestic Transfer Amount
                                                                     11/23/10                                                  $
 Type Currency                                               Value Date                   Foreign Amount                                                     Exchange Rate
 US DOLLAR                                                   11/23/10                                                                                        1.0000000000
 Contract Number/ Provided By




                                                                                                                                                                                               '
 U.S. Dollar Amount                                                                                                                Foreign Currency Transfer Amount
 $53,000.00
                                                                                                                           =       53,000.00
                Name                                Check One                           Customer Initiated                              Org             Account Number
                RIAD HOLDINGS                                                                                                           75               [Redacted]1413
  0             Address
 iv
  C:
                509 SCHOOLHOUSE RD KENNETT SQUARE PA
  Cl            City/State/Zip/Country
 ·;::           193480000
                ID 22655607                                         ID Source   PA       ID Type    DL                                                 Expiration Date   120430
                Name                                                                                                                    R/T Number
                CORIS BANK INTERNATIONAL
                Address


                City/State/Zip/Country
                OUAGADOUGOU BURKINA FASO
                           Advice NONE
                           (No Phone Advice Required, Credit and Phone Advice, Notify and Pay, Pay Upon Proper I.D.)
                Name                                                                                            Org                Account Number
                TAPSOBA EMMANUEL                                                                                                   [Redacted]
                Address

  >,
 c..n:I         City/State/Zip/Country


 ·-�g...
                BURKINA FASO
  n:I ·­ Other Payment Information

 �e
  () n:I SWIFT CODE CORIBFBF CORRESPONDANT BANK IS SOCIETE GENERAL DU BANQU
  Q)      ...   E PARIS
          0
          -=
  C:
  Q)      -
 al
                CHARGE
                                                                                                 Customer Contract
 Fee Method                          All of the above information is complete and correct and provided to Wachovia Bank, a division of Wells Fargo Bank, N.A. or to
(Waive/Charge)                       Wachovia Bank of Delaware, a division of Wells Fargo Bank, N.A. (each, the "Bank") for it to implement a wire transfer of funds
                                     from my account. The Bank's acceptance and execution of my wire transfer transaction is subject to the Terms and Conditions
                                     contained in this Wire Transfer of Funds Request. My signature below evidences that I have received a complete copy of this
                                     Request, and t     I n,.,.,,,_.....,�,·ved the Depo it Agr ent.


                                                                                                                                                Date
                                                                                                                                                       \\-13-2010
562283 (Rev 04) Page 1 of 2                                     COPY 1 - FINANCIAL CENTER COPY 2 • CUSTOMER
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APPENDIX 3. Third Version of the First Fraudulent Wire Transfer Request Form




                                                 Joseph Riad and Riad Holdings, Inc. v. Wells Fargo Bank, N.A.
                                                                                     Appendices to Complaint
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                                                     WellsFargo 000637
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APPENDIX 4. Second Fraudulent Wire Transfer Request Form




                                              Joseph Riad and Riad Holdings, Inc. v. Wells Fargo Bank, N.A.
                                                                                  Appendices to Complaint
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WACHOVIA                                                  For Use by CMG Field Personnel Only (Not for Financial Center use)


Wire Transfer of F                                                                                                             Authorized Signature
Request                                                                                                                     NSF Only
                                                                                         Sufficient (Audio Checked)
                                                                                         Not Sufficient (NSF)                  NSF Source of Funds

                                                                                         SUFFICIENT
                                                                                                                               Credit Approver Name (Please Print)
                                                                                                                \
                                                                                                                               Credit Approver Signature


                                                                                                                               Date                                Time of Call

 Wire Transfer of Funds                                                                                    Current Date                   Control Number

 Wachovia, a div of WellsFargoBankNA                                                                       11/30/10                        400091

 Domestic or International           Non-Repetitive or Repetitive          Line Number                     Amt Verify Cd                  Verify 1.0.          Type (Fed, Sook. Other)
 DOMESTIC                            NON-REPETITIVE                                                             N                                                        FED

 Caller                                                                                       Financial Center or Department                            RequestType (Phone or Walk In)
                                                                                              0802888                                                    WALK-IN
 Description 2 ( GL)                                            Execution Date                                              Domestic Transfer Amount
                                                                11/30/10                                                  $ 53,000.00
 Type Currency                                          Value Date                  Foreign Amount                                                      Exchange Rate


 Contract Number / Provided By


 U.S. Dollar Amount                                                                                                        Foreign Currency Transfer Amount
 $                                                                                                                    =
            Name                               Check One                                                                         Org               Account Number


  -
             RIAD HOLDINGS                                                                                                       75                [Redacted]1413
            Address


                                                                                                                                 - oi{t >-
            509 SCHOOLHOUSE RD KENNETT SQUARE PA
 ·s,
 ·;:
            City/State/Zip/Country
            19348000
            ID2265607                                          ID Source   PA      IDType      DL                                                Expiration Date   120430
            Name                                                                                                                 R/TNumber
            SOCIETE GENERALE                                                                                                      026004226
            Address


            City/State/Zip/Country
            NEW YORK NY
                       Advice NONE
                       (No Phone Advice Required, Credit and Phone Advice. Notify and Pay, Pay Upon Proper 1.0.)
            Name                                                                                          Org               Account Number
            DIPAMA ISSAKA                                                                                                   [Redacted]
            Address

  >,
 ta


 -�g-
 CL         City/State/Zip/Country

  ta ·­ Other Payment Information
  " ta FOR FURTHER CREDIT TO BANQUE COMMERCIAL DU BURKINA SWIFT
 iC 0
       e    CODE BNCFBFBF

 m
  Cl)-
       -=
            CHARGE
                               All of the above information is complete and correct and provided to Wachovia Bank, a division of Wells Fargo Bank, N.A. or to
                                                                                           Customer Contract
 Fee Method
                               Wachovia Bank of Delaware, a division of Wells Fargo Bank, N.A. (each, the "Bank") for it to implement a wire transfer of funds
                               from my account. The Bank's acceptance and execution of my wire transfer transaction is subject to e Terms and Conditions
(WaivelCharge)
                               contained in this Wire Transfer of Funds Request. My signature below evidences that I have receiv a com lete copy of this
                               Request, and tha              ·ved the eposit Agreement.

                                                                                                                                      X                     3d          l o
                                                                                                                                          Date
562283 (Rev 04) Page 1 of 2                                COPY 1 • FINANCIAL CENTER COPY 2 • CUSTOMER
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APPENDIX 5. Third Fraudulent Wire Transfer Request Form




                                               Joseph Riad and Riad Holdings, Inc. v. Wells Fargo Bank, N.A.
                                                                                   Appendices to Complaint
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WACHOVIA                                                        For Use by CMG Field Personnel Only (Not for Financial Center use)


Wire Transfer of Funds                                            Preparer's Signature                                         Authorized Signature
Request                                                            061506                  Account Status                     NSF Only
                                                                                           Sufficient (Audio Checked)
                                                                                           Not Sufficient (NSF)                NSF Source of Funds
Callback NO
Required                                                                                       SUFFICIENT
(Yes or No)                                                                                                                    Credit Approver Name (Please Print)


                    Customer Accepting Call Back/Phone Number                                                                  Credit Approver Signature


                                                                                                                                  Date                                 Time of Call
                    Verifier's Signature

 Wire Transfer of Funds                                                                                       Current Date                Control Number

Wachovia, a div of WellsFargoBankNA                                                                           12/09/10                         400043

 Domestic or International              Non-Repetitive or Repetitive             Line Number                  Amt Verify Cd                   Verify I.D.             Type (Fed, Book, Other)
 DOMESTIC                               NON-REPETITIVE                                                              N                                                        FED

 Caller                                                                                          Financial Center or Department                               Request Type (Phone or Walk in)
                                                                                                 0802888                                                      WALK-IN
 Description 2 (GL)                                                   Execution Date                                          Domestic Transfer Amount
                                                                      12/09/10                                              $ 21,000.00
 Type Currency                                                 Value Date                 Foreign Amount                                                     Exchange Rate


 Contract Number / Provided By


 U.S. Dollar Amount                                                                                                           Foreign Currency Transfer Amount
                                                                                                                        =
 $
               Name                               Check One                              Customer Initiated                         Org                 Account Number
               RIAD HOLDINGS                                                                                                         75                     [Redacted]1413
  0            Address
  Ill          509 SCHOOLHOUSE RD KENNETT SQUARE PA
  C
  Cl           City/State/Zip/Country
 ·.:           19348000
               ID2265607                                             ID Source   PA       IDType   LO                                                  Expiration Date   120430
               Name                                                                                                                  R/T Number
  C            SOCIETE GENERALE                                                                                                      026004226
               Address
  Cl
  C
 ·;;           City/State/Zip/Country
 'iii          NEW YORK NY
                         Advice NONE
                         (No Phone Advice Required, Credit and Phone Advice, Notify and Pay, Pay Upon Proper I.D.)
               Name                                                                                           Org              Account Number

  C
               DIPAMA ISSAKA                                                                                                  [Redacted]
               Address

  Ill
               City/State/Zip/Country
  �
         :;:; Other Payment Information
         0
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  ·c:;         FORF
  Cl)
         E      URTH ER CREDI T TO BANQUE COMM ERC A
                                                   I L DU BURKINA SWIFT CODE BN CFBFBF
          0
         .._
  Q)
  a)     C
               CHARGE
                                                           .                                    Customer Contract
 Fee Method                       All of the above information is complete and correct and provided to Wachovia Bank, a division cf Wells Fargo Bank, N.A. or to
 (Waive/Charge)                   Wachovia Bank of Delaware, a division of Wells Fargo Bank, N.A. (each, the "Bank") for it to implement a wire transfer of funds
                                  from my account. The Bank's acceptance and execution of my wire transfer transaction is subject to the Terms and Conditions
                                  contained in this Wire Transfer of Funds Request. My signature below evidences that I have received a complete. copy of this

                                                                                                                                                                   q\\
                                  Request, d that I have received the Deposit Agreement.
                                            ;                                                                                                    D
                                                                                                                                          X                 \�\
                                                  Customer Signature                                                                            Dale
562283 (Rev 04) Page 1 of 2                                       COPY 1 - FINANCIAL CENTER COPY 2 - CUSTOMER
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APPENDIX 6. First Version of the Fifth Fraudulent Wire Transfer Request Form




                                                  Joseph Riad and Riad Holdings, Inc. v. Wells Fargo Bank, N.A.
                                                                                      Appendices to Complaint
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                                                     WellsFargo 000643
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APPENDIX 7. Second Version of the Fifth Fraudulent Wire Transfer Request Form




                                                Joseph Riad and Riad Holdings, Inc. v. Wells Fargo Bank, N.A.
                                                                                    Appendices to Complaint
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                                                                     For Use by CMG Field Personnel Only (Not for Financial Center use)
    WACHOVIA
    Wire Transfer of Fu                                                               ature                                                 Authorized Signature
t   Request J?                                                                                      Account Status                         NSF Only
                                                                                                    Sufficient (Audio Checked)
                                                                                                    Not Sufficient (NSF)                    NSF Source of Funds
    Callb�ck NO                      .....
                                      _) _
    Required                Initiator's Signature                                                   SUFFICIENT
    (Yes or No)                                                                                                                             Credit Approver Name (Please Print)


    Q                 Oro    Custo                                                                                                          Credit Approver Signature
                  ,
                  0
                                                                                                                                            Date                                Time of Call
�/\.�
    Wire Transfer of Funds                                                                                              Current Date                  Control Number

    Wachovia, a div of WellsFargoBankNA                                                                                 12/20/10                        400140

        Domestic or International               Non-Repetitive or Repetitive          Line Number                       Amt Verify Cd                 Verify 1.0.           Type (Fed, Book, Other)
        INTERNATIONAL                               NON-REPETITIVE                                                            N

        Caller                                                                                             Financial Center or Department                           Request Type {Phone or Walk in)
                                                                                                           0802888                                                   WALK-IN
        Description 2 (GL)                                                 Execution Date                                                 Domestic Transfer Amount
                                                                           12/20/10                                                   $
        Type Currency                                              Value Date                  Foreign Amount                                                       Exchange Rate
        US DOLLAR                                                   12/20/10                                                                                        1.0000000000
        Contract Number / Provided By


        U.S. Dollar Amount                                                                                                                Foreign Currency Transfer Amount
                                                                                                                                  =
        $670,000.00                                                                                                                       670,000.00
                      Name                                Check One                                                                            Org             Account Number

         �
                      RIAD HOLDINGS                                                                                                            75               [Redacted]1413
         0            Address
                      509 SCHOOLHOUSE RD KENNETT SQUARE PA
                      City/State/Zip/Country
        ·.:::Cl       193480000
                      ID2265607                                           ID Source   PA       IDType       DL                                                Expiration Date   120430
                      Name                                                                                                                     R/T Number
                      ECO BANK
                                                                                         C... 601) E'"f.-P
                      Address
                      01 BP 145 OUAGADOUGOU 01
                      City/State/Zip/Country
                      BURKINA FASO
                                 Advice NONE
                                 (No Phone Advice Required, Credit and Phone Advice. Notify and Pay, Pay Upon Proper 1.0.)
                      Name                                                                                              Org                Account Number
                      JOSEPH RIAD                                                                                                         [Redacted]
         GI           Address

          >,
          IV
         Q.           City/State/Zip/Country


         ·-�g
                      BURKINA FASO
            -
         IV·.., Other Payment Information
         () IV SWIFT CODE: ECOCBFBF
         ..: E
          GI �
         C: 0
         GI ..,_
         co .5
                      CHARGE
                                                                                                       Customer Contract
        Fee Method                        All of the above information is complete and correct and provided to Wachovia Bank, a division of Wells Fargo Bank, N.A. or to
     (Waive/Charge)                       Wachovia Bank of Delaware, a division of Wells Fargo Bank, N.A. (each, the "Bank") for it to implement a wire transfer of funds
                                          from my account. The Bank's acceptance and execution of my wire transfer transaction is subject to the Terms and Conditions
                                          contained in this Wire Transfer of Funds Req     t. My signature below evidences that I have received a complete copy of this
                                          Request, and that I nave rec ·      e e sit - ement.
                                                                                       �
                                                      X                                               '-                                             X-  - - ___________
                                                          Gusto                                                                                         Date
    562283 (Rev 04) Page 1 of 2                                        COPY 1 - FINANCIAL CENTER COPY 2 - CUSTOMER
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APPENDIX 8. Sixth Fraudulent Wire Transfer Request Form




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 V�CHOVIA                                                      For Use by CMG Field Personnel Only (Not for Financial Center use)


Wire Transfer of Funds                                           Preparer's Signature                                                Authorized Signature
Request                                                           486749                      Account Status                        NSF Only
                                                                                              Sufficient (Audio Checked)
                                                                                              Not Sufficient (NSF)                   NSF Source of Funds
Callback NO
Required              Initiator's Signature                                                   SUFFICIENT
(Yes or No)                                                                                                                          Credit Approver Name (Please Print)


                      Customer Accepting Call Back/Phone Number                                                                      Credit Approver Signature


                                                                                                                                     Date                               Time of Call
                      Verifier's Signature

 Wire Transfer of Funds                                                                                         Current Date                   Control Number
 Wachovia, a div of WellsFargoBankNA                                                                            01/18/11                         400185

 Domestic or International                Non-Repetitive or Repetitive          Line Number                     Amt Verify Cd                  Verify I.D.           Type (Fed, Book, Other)
 INTERNATIONAL                               NON-REPETITIVE                                                           N

 Caller                                                                                            Financial Center or Department                            Request Type (Phone or Walk in)
                                                                                                   0802888                                                    WALK-IN
 Description 2 (GL)                                                  Execution Date                                                Domestic Transfer Amount
                                                                     01/18/11                                                  $
 Type Currency                                               Value Date                  Foreign Amount                                                      Exchange Rate
 US DOLLAR                                                    01/18/11                                                                                       1.0000000000
 Contract Number / Provided By


 U.S. Dollar Amount                                                                                                                Foreign Currency Transfer Amount
                                                                                                                           =
 $271,635.00                                                                                                                       271,635.00
               Name                                 Check One                           Customer Initiated                              Org             Account Number
                RIAD HOLDINGS                                                                                                           75               [Redacted]1413
   o
  1ii
               Address
                509 SCHOOLHOUSE RD KENNETT SQUARE PA
   C:
 '6,           City/State/Zip/Country
 ·.:            193480000
 0
               ID                                                   ID Source   PA       IDType     DL                                                Expiration Date
               Name                                                                                                                     R/T Number
               ECO BANK
               Address
               633, RUE ILBOUDO
               City/State/Zip/Country
                OUGADOUGOU BURKINA FASO
                          Advice NONE
                          (No Phone Advice Required, Credit and Phone Advice, Notify and Pay, Pay Upon Proper I.D.)


  -
  C:
               Name
               OBS IMPORTS/EXPORTS
               Address
                                                                                                                Org                Account Number
                                                                                                                                   [Redacted]

 . >,
               City/State/Zip/Country


 -�u s
  �c:
               BURKINA FASO
              Other Payment Information
          C1I SWIFT CODE: ECOCBFBF
 'filC:
      0
          E
  QI ....
 al       -=   CHARGE
                                                                                                Customer Contract
Fee Method                          All of the above information is complete and correct and provided to Wachovia Bank, a division of Wells Fargo Bank, N.A. or to
(Waive/Charge)                      Wachovia Bank of Delaware, a division of Wells Fargo Bank, N.A. (each, the "Bank") for it to implement a wire transfer of funds
                                    from my account. The Bank's acceptance and execution of my wire transfer transaction is subject to the Terms and Conditions
                                    contained in this Wire Transfer of Funds Request. My signature below evidences that I have r�ceived a complete copy of this
                                    Request, and that I have received the Deposit Agreement.

                                               x _________________
                                                   Customer Signature
                                                                                                                                              X ________
                                                                                                                                                Date
                                                                                                                                                        _
562283 (Rev 04) Page 1 of 2                                     COPY 1 - FINANCIAL CENTER COPY 2 - CUSTOMER
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APPENDIX 9. Table 1.1, The Fraudulent Churn Accounts, Redacted Account Numbers




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                                                                                   Appendices to Complaint
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                                    Redacted Account Number
Account #1                          ****1413
Account #2                          ****7764
Account #3                          ****7416

Account #4                          ****7756
Account #5                          ****0908
Account #6                          ****3314
Account #7                          ****1668

Account #8                          ****3199
Account #9                          ****1426
Account #10                         ****1439
Account #11                         ****2947

Account #12                         ****0594
Account #13                         ****4562
Account #14                         ****7014
Account #15                         ****5312

Account #16                         ****5309
Account #17                         ****1743
Account #18                         ****5354
Account #19                         ****5341

Account #20                         ****5274
Account #21                         ****8092
Account #22                         ****7819
Account #23                         ****5000

Account #24                         ****1030
Account #25                         ****1990
Account #26                         ****5632
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                                    Redacted Account Number
Account #27                         ****5402
Account #28                         ****3620
Account #29                         ****4670

Account #30                         ****8884
Account #31                         ****7815
Account #32                         ****5175
Account #33                         ****2435

Account #34                         ****8345
